                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                   Case No. 23-43403-mlo
                                                       Chapter 11
            Debtor.                                    Hon, Maria L. Oxholm
____________________________________/


               COVER SHEET FOR MOTION TO APPROVE SALE PROCEDURES ORDER


       The debtor has filed a motion for approval of procedures for the sale of assets, which is

attached to this cover sheet. Pursuant to E.D. Mich. L.B.R. 60041, the debtor has identified

below, by page and paragraph number, the location in the proposed Sale Procedures Order

accompanying the motion of each of the following provisions:


                                                        Contained in
                                                         proposed            Location in
                  PROVISION                                order           proposed order
(1) Provisions concerning the qualifications of the      x Yes
bidding parties.                                                           Page _3__, ¶ 4
                                                              No

(2) Provisions concerning the criteria for a
qualifying bid and any deadlines for (i) submitting      x    Yes         Page _3__, ¶ _3__
such a bid, and (ii) notification of whether the bid                     In Exhibit C Bidding
made constitutes a qualifying bid.                            No              Procedures
                                                                          Page _3__, ¶ _2__
(3) Provisions that require qualified bids to             x   Yes
identify points of variation from the stalking horse                     In Exhibit C Bidding
bid (including price and other terms).                        No              Procedures
                                                                          Page _2__, ¶ _1__
(4) Provisions pertaining to the conditions to the        x   Yes
qualified bidders’ obligation to consummate the                          In Exhibit C Bidding
purchase (including the time period within which              No              Procedures
the purchaser must close the transaction).                                Page _5__, ¶ _4__

(5) Provisions pertaining to the amount required          x   Yes
for a good faith deposit.                                                In Exhibit C Bidding
                                                              No              Procedures
                                                                          Page _3__, ¶ _4__

23-43403-mlo        Doc 145    Filed 06/23/23      Entered 06/23/23 03:38:13    Page 1 of 136
(6) Provisions that relate to a "Back-Up Buyer"          x        Yes
should the first winning bidder fail to close the                          In Exhibit C Bidding
transaction within a specified period of time.                   No             Procedures
                                                                            Page _5__, ¶ _4__

(7) No-shop or No-Solicitation provisions                        Yes
including the justification for such provision.                              Page ___, ¶ ___
                                                          x       No

(8) Provisions relating to BreakUp fees, Topping                 Yes
fees, and/or Expense Reimbursement (including                                Page ___, ¶ ___
the waiver of such fees due to rebidding).                   x    No

(9) Provisions specifying the bidding increments.         x       Yes
                                                                            Page _5__, ¶ _8__
                                                                 No

(10) Provisions relating to auction procedures               x    Yes
including manner in which auction is to be                                  Page _4__, ¶ _5__
conducted and when the auction will be open and                  No
when it will close.

(11) Provisions relating to whether the auction will         x    Yes
occur and the termination of the auction process                            Page _4__, ¶ _5__
and/or sale.                                                     No

(12) Provision whether 14 day stay of                    x        Yes
F.R.Bankr.P. 6004(h) and 6006(d) is waived.                                Page _6__, ¶ _14__
                                                                 No

(13) Provisions regarding timing for notice,                 x    Yes
submission of bids, objections to sale and other                            Page 4___, ¶ __6_
key events.                                                      No



                                                       Respectfully submitted,

                                                        __/s/ Robert Bassel ___________
                                                       ROBERT N. BASSEL (P48420)
                                                       Attorneys for Debtor
                                                       P.O. Box T
                                                       Clinton, MI 49236
                                                       (248) 677-1234
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23-43403-mlo       Doc 145     Filed 06/23/23       Entered 06/23/23 03:38:13     Page 2 of 136
                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                      Case No. 23-43403-mlo
                                                          Chapter 11
          Debtor.                                         Hon, Maria L. Oxholm
____________________________________/

   MOTION TO APPROVE (1) BIDDING PROCEDURES AND FORM OF
            ASSET PURCHASE AGREEMENT RELATING TO
     SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS;
     (2) THE SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S
   ASSETS FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS AND
    ENCUMBRANCES PURSUANT TO 11 U.S.C. §§ 105(A) AND 363;
        (3) ASSUMPTION AND ASSIGNMENT OF EXECUTORY
       CONTRACTS AND UNEXPIRED LEASES PURSUANT TO
         11 U.S.C. § 365; AND (4) GRANTING RELATED RELIEF

                    Pursuant to Sections 105(a), 363, and 365 of title 11, United States

Code (the “Bankruptcy Code”) and Rules 2002, 6004, 9007, and 9014 of the

Federal Rules of Bankruptcy Procedure, (the “Bankruptcy Rules”), Ark

Laboratory, LLC (the “Debtor” and “Seller”), hereby requests that this Court enter

orders authorizing and approving (i) bidding procedures and a form of asset

purchase agreement relating to the Debtor’s sale of substantially all of its assets;

(ii) the sale of substantially all of the Debtor’s assets free and clear of all liens,

claims, interests and encumbrances to Auxo Investment Partners, LLC (“Auxo”

and “Buyer”), subject to higher and better bids; (iii) the assumption and assignment




4894-1520-1386.v2
23-43403-mlo          Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 3 of 136
of executory contracts and unexpired leases; and (iv) other related relief. In

support of its Motion, the Debtor respectfully represents as follows:

                           Background and Jurisdiction

      1.     The Debtor is a CLIA certified, CAP proficient, COLA accredited,

medical laboratory in Waterford, Michigan. Debtor specializes in substance abuse,

blood and molecular testing.

      2.     On April 12, 2023, (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code.

      3.     The Debtor continues to manage and operate its business as a

Debtor-in-Possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

      4.     No trustee or examiner has been appointed in the Debtors’ chapter 11

case. An unsecured creditors committee (the “Creditors’ Committee”) was

appointed by the Office of the United States Trustee (“UST”) on May 1, 2023

[ECF Nos. 68 and 70].

      5.     The statutory predicates for relief requested herein are 11 U.S.C.

§§ 105(a), 363, and 365.

                               Proposed Sale of Assets

      6.     The Debtor has now received an offer to purchase substantially all of

its assets (the “Property”) through a sale conducted under Section 363 of the

Bankruptcy Code.


                                            2
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 4 of 136
      7.    The offer is memorialized in an Asset Purchase Agreement (the

“Agreement”) dated June 22, 2023 between the Debtor and Auxo for the sale and

purchase of the Property. A copy of the Agreement is attached as Exhibit A.

      8.    Prior to the Petition Date, the Debtor entered into a master revolving

            note, a security agreement and a forbearance agreement with

            Comerica Bank (“Comerica”) and a personal guaranty (the

            “Guaranty”) with Jim Grossi (“Grossi”), a principal and the managing

            member of the Debtor that granted Comerica Bank a security interest

            and lien on substantially all of the Property (collectively, the

            “Comerica Loan Documents”)

      9.    As of the Petition Date, the Debtor owed Comerica $6,536,566.07,

comprised of principal in the amount of $6,376,908.51, interest of $23,360.32, plus

costs, fees and expenses that continue to accrue (the “Indebtedness”).

      10.   Debtor is obligated to The Peninsula Fund VII Limited Partnership

(“Peninsula”) under a certain Note Purchase Agreement and other loan and

collateral documents (“Subordinate Loan Documents”). The liabilities evidenced

by the Subordinate Loan Documents, including interest, costs, fees and expenses,

are identified as the “Subordinate Debt”.




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23-43403-mlo    Doc 145   Filed 06/23/23    Entered 06/23/23 03:38:13    Page 5 of 136
      11.    As of the Petition Date, the Debtor owed Peninsula no less than

$14,940,749.14, plus costs, fees and expenses that continue to accrue (the

“Subordinated Indebtedness”).

      12.    Auxo acquired the Indebtedness from Comerica and the Subordinated

Indebtedness from Peninsula such that it is now the primary lender and secured

creditor of the Debtor, with a first perfected lien in all of the Property of the

Debtor. Auxo, however, is not an affiliate of the Debtor and neither it nor any of

its owners are related to the Debtor.

      13.    The Debtor hereby requests authority to sell to Auxo the Property free

and clear of liens, claims, interests and encumbrances. As a preliminary matter, the

Debtor requests the entry of an order establishing the procedures for conducting the

proposed sale (the “Sale Procedures Order”), the form of which is attached to this

Motion as Exhibit B. The Sales Procedure Order seeks approval of: (i) the form of

the Purchase and Sale Agreement and (ii) certain bidding procedures (the “Bidding

Procedures”), a copy of which is attached to this Motion as Exhibit C, for the

auction of the Property.

      14.    The Debtor also requests that the Court approve the form of notice to

all creditors of the sale (the “Notice of Sale”), attached to this Motion as Exhibit

D.




                                            4
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 6 of 136
      15.     The Debtor also requests that the Court approve the form of notice of

assumption of executory contracts and unexpired leases (the “Notice of

Assumption”), attached to this Motion as Exhibit E.

      16.     The Debtor hereby requests that the Court schedule a hearing on June

29, at 11:00 a.m. Eastern Prevailing Time, or as soon thereafter as the Court is

available, to approve the Bidding Procedures, Notice of Sale, and Notice of

Assumption.

      17.     Additionally, the Debtor requests that this Court schedule a hearing on

August 3, 2023 at 11:00 a.m. Eastern Prevailing Time, or as soon thereafter as the

Court is available (the “Sale Hearing”), to approve the sale of the Property to the

highest bidder pursuant to the Bidding Procedures. The Debtor requests that the

Court enter an order at the Sale Hearing substantially in the form attached to this

Motion as Exhibit F (the “Sale Order”) authorizing the Debtor to sell the Property

free and clear of all liens, claims, interests and encumbrances on substantially the

same terms and conditions as are set forth in the Agreement.

      A.      The Agreement




                                            5
23-43403-mlo     Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 7 of 136
      18.   The Debtor and Auxo have reached agreement regarding the terms of

the sale of the Property to Auxo, as reflected in the Agreement, attached as Exhibit

A. The principal terms and conditions of the Agreement are as follows:1

      a.    At the Closing,2 on and subject to the terms and conditions of the

            Agreement, the Buyer agrees to purchase from the Seller, and the

            Seller agrees to sell, assign, transfer, convey and deliver to the Buyer,

            except for the Excluded Assets set forth on Schedule A, all of the

            assets of the Seller, wherever located, including without limitation

            assets of the types described on Schedule B hereto (the "Purchased

            Assets").

      b.    Under the Agreement, Auxo is not paying cash but rather as the

            secured creditor of the Debtor is making a credit bid in the amount of

            $6,536,566.07 to acquire the Property, subject to higher and better

            offers.

      c.    Under the Agreement, Auxo is also agreeing to assume certain

            executory contracts and unexpired leases pursuant to Section 365 of



1
 Reference should be made to the Agreement for all the terms and conditions. To
the extent of any inconsistency between the summary description contained below
and the Agreement, the Agreement shall control.

2
 All capitalized terms not defined herein shall have the meanings ascribed to them
in the Agreement.
                                           6
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 8 of 136
             the Bankruptcy Code, subject to agreeing to pay such cure amounts

             that may be due to such counterparties as of the Petition Date.

      d.     Under the Agreement, Auxo is assuming certain liabilities, as

             expressly provided for therein.

      B.     Proposed Bidding Procedures

      19.    In order to insure the highest and best offer for the Property, the

Debtor has developed the Bidding Procedures as a means of allowing competitive

bidding. As set forth more specifically in the Bidding Procedures, in order to

participate in the sales process, a party must first execute a nondisclosure

agreement in a form acceptable to the Debtor to be considered a potential bidder (a

“Potential Bidder”).

      20.    To be deemed a Qualified Bidder, the Potential Bidder must submit its

bid to (i) the Debtor, (ii) counsel for the Creditors’ Committee, (iii) counsel for the

UST, and (v) Auxo, no later than 4:00 p.m. Eastern Prevailing Time on July 28,

2023 (the “Bid Deadline”), which bid must include evidence of the Potential

Bidder’s ability to close on a sale of the Property on or before August 4, 2023, and

also a Two Hundred Thousand and 00/100 Dollars ($200,000.00) deposit, in the

form of a cashier’s check or wire transfer (or other form acceptable to the Debtor in

its sole discretion), payable to the Debtor’s Bankruptcy Estate and delivered to

O’Keefe & Associates, Attn. Russell D. Long, the Debtor’s financial adviser (the


                                            7
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 9 of 136
“Debtor’s Financial Advisor”) to be held in escrow (the “Deposit” and, collectively

with the other items described above, the “Bid Package”).            Only “Qualified

Bidders” will be permitted to participate in the sales process.

      21.    After reviewing any Bid Packages, the Debtor, in consultation with

the Creditors’ Committee, will determine who is a “Qualified Bidder” for the

Property. Under the Bidding Procedures, a Qualified Bidder is a Potential Bidder

that delivers the Potential Bid Package to the Debtor and the Deposit to the

Debtor’s Financial Advisor, that the Debtor, in consultation with the Creditors’

Committee, determines is reasonably likely to close on a sale of the Property on or

before August 4, 2023, if selected as the successful bidder. Auxo is automatically

deemed a Qualified Bidder based on its willingness to act as stalking horse bidder

in connection with the auction for the Property, its status as the first perfected

secured creditor in the Property, and the Debtor’s prior determination of Auxo’s

financial qualifications.

      22.    Auxo, having already submitted its bid for the Property in the form of

its entry into the Purchase and Sale Agreement, shall not be required to submit any

additional bid, but may submit an additional bid in response to the bid of any other

Qualified Bidder on or before the Bid Deadline. To the extent Auxo submits an

additional bid in response to the bid of any other Qualified Bidder, the Debtor shall

share the terms of such additional bid of Auxo with the other Qualified Bidders and


                                             8
23-43403-mlo    Doc 145     Filed 06/23/23   Entered 06/23/23 03:38:13   Page 10 of 136
the Creditors’ Committee. The Debtor may extend the Bid Deadline once or

successively, but is not obligated to do so. All initial bids by Qualified Bidders,

other than Auxo, must also include the following documents (the “Required Bid

Documents”):

      a.    A letter stating that the Bidder’s offer is irrevocable until thirty (30)

      days after the Sale Hearing, currently scheduled for August 3, 2023.

      b.    An executed copy of an asset purchase agreement in a form

      substantially the same as the Agreement. Any changes to the Agreement

      must be (i) non-material, (ii) made to and marked on such form of

      agreement, and (iii) agreed to by the Debtor after consultation with the

      Creditors’ Committee. The agreement cannot contain any consideration,

      other than cash and assumption of liabilities of the Debtor, and shall not be

      subject to any financing or other conditions not set forth in the Agreement.

      c.    Written evidence of a commitment for financing or other evidence of

      ability to consummate the proposed transaction satisfactory to the Debtor,

      after consultation with the Creditors’ Committee.

      d.    Written acknowledgment that the bid is not subject to due diligence

      review, board approval, obtaining financing, or the receipt of any

      non-governmental consents.




                                          9
23-43403-mlo   Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 11 of 136
      23.    After all Qualified Bids have been received, the Debtor intends to

conduct an auction (the “Auction”) with respect to the Property if a Qualified Bid

other than that of Auxo has been received. Subject to the Court’s approval, the

Auction shall take place July 31, 2023, at 10:00 a.m. at the offices of Miller

Johnson, 500 Woodward Avenue, Suite 2800, Detroit, MI 48226, or such later time

or other place as the Debtor shall notify all Qualified Bidders who have submitted

Qualified Bids. Only Auxo and any other Qualified Bidders who have submitted

the Required Bid Documents in form and substance satisfactory to the Debtor, after

consultation with the Creditors’ Committee, by the Bid Deadline will be eligible to

participate in the Auction. Based upon the terms of the Qualified Bids received,

the level of interest expressed as to the Property, and such other information as the

Debtor, after consultation with the Creditors’ Committee, determines is relevant,

the Debtor, in consultation with the UST and the Creditors’ Committee, will

conduct the Auction in the manner it determines will result in the highest or

otherwise best offer for the Property. If there is not a timely Qualified Bidder other

than Auxo, then Auxo shall be deemed the Successful Bidder, and the Auction

shall not be held.

      24.    If an Auction is held, upon the Auction’s conclusion, the Debtor, in

consultation with its advisors, representatives of the Creditors’ Committee and the

UST shall (i) review each Qualified Bid on the basis of financial and contractual


                                           10
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 12 of 136
terms and the factors relevant to the sale process, including those factors affecting

the speed and certainty of consummating the sale, and (ii) identify the highest and

otherwise best offer (the “Successful Bid”). At the Sale Hearing, the Debtor shall

present the Successful Bid to the Court for approval.

      25.    If the Successful Bidder fails to consummate the transaction by the

Closing Date, as defined in Agreement, the Debtor shall (i) retain such bidder’s

Deposit; and (ii) be free to consummate the proposed sale of the Property with the

next highest and best bidder (the “Back Up Bidder”) at the final price bid by the

Back Up Bidder at the Auction (the “Back Up Bid”) (or, if that competing bidder is

unable to consummate the purchase of the Property at that price, the Debtor may

retain such Back Up Bidder’s deposit and then consummate the transaction with

the next highest and best competing bidder, and so forth) without the need for an

additional hearing or order of the Court.

      C.     Notice of Sale

      26.    Within one (1) business day after entry of the Sale Procedures Order,

the Debtor will serve the Notice of Sale on all of its known creditors by first class

United States mail, postage prepaid, and also serve the Notice of Sale and the

Bidding Procedures by first class, United States mail, postage prepaid, upon (i) all

entities known to have asserted any lien, claim, interest or encumbrance in or upon

the Property; (ii) all federal, state, and local regulatory or taxing authorities or


                                            11
23-43403-mlo   Doc 145    Filed 06/23/23    Entered 06/23/23 03:38:13   Page 13 of 136
recording offices which have a reasonably known interest in the relief requested

herein; (iii) counsel for the Creditors’ Committee; (iv) counsel for the UST, (v),

counsel for the United States Department of Justice, (vi) counsel for the Internal

Revenue Service; (vii) counsel for Auxo; (viii) all parties requesting notice

pursuant to Bankruptcy Rule 2002; and (ix) all parties known to the Debtor to have

expressed an interest in acquiring the Property and other potential purchasers. If

any of the above entities receive electronic notices through the ECF system, Debtor

may email the relevant documents to those entities, or file the relevant documents

on the Court’s ECF website so that those entities get notice through the Court’s

ECF noticing system.

      D.    Executory Contracts and Unexpired Leases

      27.   Within one (1) business day after entry of the Sale Procedures Order,

the Debtor will serve the Notice of Assumption of Executory Contracts and

Unexpired Leases on all of its known creditors by first class United States mail,

postage prepaid, and also serve (i) all entities known to have asserted any lien,

claim, interest or encumbrance in or upon the Property; (ii) all entities known to

have executory contracts with the Debtor (iii) counsel for the Creditors’

Committee; (iv) counsel for the UST, (v) counsel for Auxo; (vi) all parties

requesting notice pursuant to Bankruptcy Rule 2002; and (vii) all parties known to

the Debtor to have expressed an interest in acquiring the Property and other


                                          12
23-43403-mlo   Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 14 of 136
potential purchasers. If any of the above entities receive electronic notices through

the ECF system, Debtor may email the relevant documents to those entities, or file

the relevant documents on the Court’s ECF website so that those entities get notice

through the Court’s ECF noticing system.

                                      Legal Authority

      A.     Sales Outside the Ordinary Course of Business

      28.    Section 363 of the Bankruptcy Code provides that the Debtor, “after

notice and a hearing, may use, sell or lease, other than in the ordinary course of

business, property of the estate.” See 11 U.S.C. § 363(b). To approve the use, sale

or lease of property outside the ordinary course of business, this Court need only

determine that the Debtor’s decision is supported by “some articulated business

justification.” See, e.g., Stephens Ind., Inc. v. McClung, 789 F.2d 386, 389-90 (6th

Cir. 1986); Fulton State Bank v. Schipper, 933 F.2d 513, 515 (7th Cir. 1991);

Committee of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F2d

1063, 1070 (2d Cir. 1983); see also In re Abbotts Dairies of Pa., Inc., 788 F.2d 143,

145-47 (3d Cir. 1986); In re Telesphere Communications, Inc., 179 B.R. 544, 552

(Bankr. N.D. Ill. 1999); In re Delaware & Hudson Ry. Co., 124 B.R. 169, 175-76

(D.Del. 1991).

      29.    Once the debtor articulates a valid business justification, “[t]he

business judgment rule is a presumption that in making a business decision the


                                            13
23-43403-mlo     Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 15 of 136
directors of a corporation acted on an informed basis, in good faith and in the

honest belief that the action was in the best interests of the company.” In re S.N.A.

Nut Company, 186 B.R. 98 (Bankr. N.D. Ill. 1995); In re Integrated Resources.

Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992); In re Johns-Manville Corp., 60 B.R. 612,

615-16 (Bankr. S.D.N.Y. 1986) (“a presumption of reasonableness attaches to a

Debtor’s management decisions.”)

      30.    Indeed, when applying the “business judgment” rule, courts show

great deference to the debtor’s decision-making. See Summit Land Co. v. Allen (In

re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981). Accordingly, this

Court should grant the relief requested in this Motion if the Debtor demonstrates a

sound business justification therefore. See Stephens Ind., Inc., 789 F.2d at 389-90;

Schipper, 933 F.2d at 515; In re Lionel Corp., 722 F.2d at 1071; In re Delaware

Hudson Ry. Co., 124 B.R. 169 at 179.

      31.    While the holding of Stephens Industries merely requires articulation

of a sound business justification for a sale outside the ordinary course of business,

other courts have offered additional guidance by citing various factors that they

consider in determining whether a sound business justification exists. These factors

include: (i) whether a sound business reason exists for the proposed transaction;

(ii) whether adequate consideration is provided; (iii) whether the transaction has

been proposed and negotiated in good faith; and (iv) whether adequate and


                                           14
23-43403-mlo   Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 16 of 136
reasonable notice is provided. See Abbotts Dairies of Pa., Inc., 788 F.2d 143;

Plabell Rubber Prods., Inc., 149 B.R. 475, 479 (Bankr. N.D. Ohio 1992) (citing In

re Titusville Country Club, 128 B.R. 396 (Bankr. W.D. Pa. 1991)).

      32.      The Debtor has a sound business justification for selling the Property

at this time, namely that the Property must be sold in order to maximize the value

of the assets as a going concern, and the Debtor believes that the value of the assets

will drastically decline if Debtor is unable to secure post-petition financing through

a further cash collateral order or debtor in possession financing, each of which is

likely to be contested or unavailable.

      33.      Additionally, the terms of the sale of the Property that the Debtor has

reached with Auxo were proposed and negotiated in good faith, the consideration

proposed to be paid by Auxo is adequate and reasonable under the circumstances

and the Debtor proposes to provide reasonable notice of the proposed sale under

the Bidding Procedures. For these reasons, the Debtor has determined, in the

exercise of its business judgment, that the most viable option for maximizing the

value of the estate is through a sale of the Property in the manner and in the time

frame set forth in the Bidding Procedures. The Debtor’s request for approval to

sell the Property in accordance with the Bidding Procedures should be allowed

accordingly.

      B.       Sales Free and Clear of Liens, Claims and Encumbrances


                                            15
23-43403-mlo     Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 17 of 136
      34.    Under Section 363(f) of the Bankruptcy Code, a debtor-in-possession

may sell property free and clear of any lien, claim, interest or encumbrance in such

property if, among other things: (i) applicable nonbankruptcy law permits sale of

such property free and clear of such interest; (ii) such entity consents; (iii) such

interest is a lien and the price at which such property is sold is greater than the

aggregate value of all liens on such property; (iv) such interest is in bona fide

dispute; or (v) such entity could be compelled, in a legal or equitable proceeding,

to accept a money satisfaction of such interest.

      35.    Because Section 363(f) of the Bankruptcy Code is drafted in the

disjunctive, the Debtor’s satisfaction of any one of its five requirements will be

sufficient to permit the sale of the Property free and clear of all liens, claims, and

encumbrances.     See Mich. Empl. Sec. Comm'n v. Wolverine Radio Co. (In re

Wolverine Radio Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. Mich. 1991). The Debtor

believes that the primary entity holding a lien on the Property is Auxo, who is also

the proposed Stalking Horse Bidder that is credit bidding its debt to acquire the

Property.

      36.    Moreover, all holders of interests can be compelled to accept a money

satisfaction of their liens in legal or equitable proceedings in accordance with

Section 363(f)(5) of the Bankruptcy Code. Such legal or equitable proceedings

include proceedings to confirm a plan of reorganization, under which the holder of


                                           16
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 18 of 136
a lien may be compelled to accept payment in satisfaction of its lien pursuant to 11

U.S.C. § 1129(b)(2)(A).

      37.    Indeed, Section 1129(b)(2)(A) of the Bankruptcy Code specifically

allows a debtor-in-possession to sell property subject to a lien, free and clear of

such lien, if such lien attaches to the net proceeds of the sale, subject to any claims

and defenses the debtor may possess with respect thereto. The Debtor proposes

that any liens in the Property attach to the net proceeds of the proposed sale.

      C.     Assumption, Assignment and Rejection of Executory Contracts
             and Unexpired Leases Under Section 365 of the Bankruptcy Code

      38.    Section 365(a) of the Bankruptcy Code provides, in pertinent part, that

a debtor in possession “subject to the court’s approval, may assume or reject any

executory contract or [unexpired] lease of the debtor.” 11 U.S.C. § 365(a). The

standard governing bankruptcy court approval of a debtor’s decision to assume or

reject an executory contract or unexpired lease is whether the debtor’s reasonable

business judgment supports assumption or rejection. See, e.g., In re Stable Mews

Assoc., Inc., 41 B.R. 594, 596 (Bankr. S.D.N.Y. 1984). If the debtor’s business

judgment has been reasonably exercised, a court should approve the assumption or

rejection of an unexpired lease or executory contract. See Group of Institutional

Investors v. Chicago M. St. P. & P.R.R. Co. , 318 U.S. 523 (1943); Sharon Steel

Corp. v. Nat’l Fuel Gas Distrib. Corp. , 872 F. 2d 36, 39-40 (3d Cir. 1989). The


                                           17
23-43403-mlo   Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13    Page 19 of 136
business judgment test “requires only that the trustee [or debtor in possession]

demonstrate that [assumption or] rejection of the contract will benefit the estate.”

Wheeling-    Pittsburgh    Steel   Corp.    v.   West   Penn Power Co., (In re

Wheeling-Pittsburgh Steel Corp.) , 72 B.R. 845, 846 (Bankr. W.D. Pa. 1987)

(quoting In re Stable Mews Assoc., 41 B.R. 594, 596 (Bankr. S.D.N.Y 1984)). Any

more exacting scrutiny would slow the administration of a debtor’s estate and

increase costs, interfere with the Bankruptcy Code’s provision for private control of

administration of the estate, and threaten the court’s ability to control a case

impartially. See Richmond Leasing Co. v. Capital Bank, NA., 762 F.2d 1303, 1311

(5th Cir. 1985). Moreover, pursuant to Section 365(b)(1) of the Bankruptcy Code,

for a debtor to assume an executory contract, it must “cure, or provide adequate

assurance that the debtor will promptly cure,” any default, including compensation

for any “actual pecuniary loss” relating to such default. 11 U.S.C. § 365(b)(1).

      39.    Once an executory contract is assumed, the trustee or debtor in

possession may elect to assign such contract. See In re Rickel Home Center, Inc.,

209 F.3d 291, 299 (3d Cir. 2000) (“[t]he Code generally favors free assignability as

a means to maximize the value of the debtor’s estate”); see also In re Headquarters

Doge, Inc., 13 F.3d 674, 682 (3d Cir. 1994) (noting purpose of Section 365(f) is to

assist trustee in realizing the full value of the debtor’s assets). Section 365(f) of the

Bankruptcy Code provides that the “trustee may assign an executory contract...only
                                            18
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13    Page 20 of 136
if the trustee assumes such contract...and adequate assurance of future performance

is provided.” 11 U.S.C. § 365(f)(2). The meaning of “adequate assurance of future

performance” depends on the facts and circumstances of each case, but should be

given “practical, pragmatic construction.” See Carlisle Homes, Inc. v. Arrari (In re

Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1989); see also In re

Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (adequate assurance

of future performance does not mean absolute assurance that debtor will thrive and

pay rent). Among other things, adequate assurance may be given by demonstrating

the assignee’s financial health and experience in managing the type of enterprise or

property assigned. Accord In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr.

S.D.N.Y. 1986) (adequate assurance of future performance is present when

prospective assignee of lease from debtors has financial resources and has

expressed willingness to devote sufficient funding to business in order to give it

strong likelihood of succeeding).

      40.   Upon the Closing, Purchaser will have financial resources that are

sufficient to perform under any executory contracts or unexpired leases it seeks to

have assumed by the Debtor and assigned to Purchaser at the Closing. Moreover, if

necessary, the Debtor will adduce facts at the hearing on any objection

demonstrating the financial wherewithal of Purchaser or any Successful Bidder,


                                          19
23-43403-mlo   Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 21 of 136
and their willingness and ability to perform under the contracts to be assumed and

assigned to them.

      41.   The procedures for assumption and assignment of executory

contracts and unexpired leases set forth in the Sale Procedures Order are

appropriate and reasonably tailored to provide counterparties to Debtor

Contracts with adequate notice of the proposed assumption and assignment of

their applicable contract, as well as proposed Cure Costs, if applicable.

Further, to the extent that any defaults exist under any Debtor Contracts, the

Debtor will cure any such default as provided herein.

      D.    Good Faith Purchaser Finding and Immediate Effectiveness of
            Sale Order

      42.   The Successful Bidder should be afforded all protections under 11

U.S.C. § 363(m) as a good faith purchaser. Section 363(m) of the Bankruptcy

Code provides that “the reversal or modification on appeal of an authorization

under subsection (b) and (c) of this section of a sale or lease of property does not

affect the validity of a sale or lease under such authorization to an entity that

purchased or leased such property in good faith…” 11 U.S.C. § 363(m).

      43.   The Agreement with Auxo constitutes an arms’ length transaction that

was negotiated between unrelated parties. Additionally, the Bidding Procedures

have been designed to create a fair, open and level playing field to ensure that any

                                          20
23-43403-mlo   Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 22 of 136
party interested in acquiring the Property by making sure a competing bid has

every opportunity to do so.

        44.    Accordingly, the Debtor requests that the party submitting the

Successful Bid be determined to have acted in good faith and be entitled to the

protections of a good faith purchaser under Section 363(m) of the Bankruptcy

Code.

        45.    Further, because all parties have acted in good faith during this

process and, once a Successful Bidder is identified, it is critical to maximizing the

value of the Property that the sale be closed expeditiously, the Debtor respectfully

requests that any Sale Order entered by the Court approving the sale to the

Successful Bidder be immediately effective and any stay arising under Bankruptcy

Rule 6004(h) be waived.

        E.     Summary of Events

        46.    The following chart summarizes the proposed timeline for the sale

process contemplated in the Sale Procedures Order and Sale Order.


              Event                         Date                    Action
                                                              Required/Requested
 Sale Procedures                    June 29, 2023          Court enters Sale
                                                           Procedures Order




                                             21
23-43403-mlo     Doc 145   Filed 06/23/23    Entered 06/23/23 03:38:13   Page 23 of 136
           Event                            Date                    Action
                                                              Required/Requested
 Sale Notice and                    June 30, 2023          Deadline for Debtor to
 Assumption Notice                                         provide notice of sale
 Service Deadline                                          and assumption of
                                                           executory contracts.
 Objection Deadline                  July 27, 2023         Deadline for any party to
                                                           object to the sale or
                                                           assumption of contracts.
 Potential Bid Package        July 28 2023 at 4:00 p.m. Deadline to submit
 Deadline                         (prevailing time)     Deposit and materials
                                                        required to qualify as
                                                        bidder
 Auction Date                        July 31, 2023         Auction Sale held at
                                                           offices of Miller Johnson
                                                           in Detroit, Michigan
 Sale Hearing                       August 3, 2023         Court Approves Sale
 Closing Date                       August 4, 2023         Sale Closes

                                   CONCLUSION

      WHEREFORE, the Debtor respectfully requests that the Court enter orders

substantially in the forms annexed hereto: (i) approving the Bidding Procedures

and the form of the Purchase and Sale Agreement relating to the sale of the

Property; (ii) authorizing the Debtor’s sale of the Property free and clear of liens,

claims and encumbrances to Auxo subject to higher and better bids, (iii)

authorizing the assumption and assignment of executory contracts and unexpired

leases, and (iv) granting such other related relief.




                                             22
23-43403-mlo    Doc 145    Filed 06/23/23    Entered 06/23/23 03:38:13   Page 24 of 136
                                               Respectfully submitted;

                                               /s/ Robert Bassel
                                               Robert N. Bassel P48420
                                               PO BOX T
                                               CLINTON, MI 49236
                                               248.677.1234
                                               bbassel@gmail.com
                                               Counsel for Debtor
Dated: June 23, 2023




                                          23
23-43403-mlo   Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13      Page 25 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                              ASSET PURCHASE AGREEMENT


                                                             between


                                                   ARK LABORATORY, LLC


                                                               and


                                           AUXO INVESTMENT PARTNERS, LLC




                                                     Dated as of June 22, 2023




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            23-43403-mlo         Doc 145      Filed 06/23/23     Entered 06/23/23 03:38:13   Page 26 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                              ASSET PURCHASE AGREEMENT

            THIS ASSET PURCHASE AGREEMENT, is entered into on June 22, 2023, by and among ARK
            LABORATORY, LLC, dba Helix Diagnostics, a Michigan limited liability company (the "Seller")
            and AUXO INVESTMENT PARTNERS, LLC a Delaware limited liability company (the
            "Buyer").

            WHEREAS, the Seller is engaged in the Business (as defined below);

            WHEREAS, the Seller commenced a bankruptcy filing on April 13, 2023, pursuant to which Seller
            became a debtor and debtor in possession in such bankruptcy case chapter 11 of title 11 of the
            United States Code, 11 U.S.C. §§ 101 et seq. (the "Bankruptcy Code") to be filed in the United
            States Bankruptcy Court for the Eastern District of Michigan (the "Bankruptcy Court");

            WHEREAS, Buyer desires to purchase from the Seller, and the Seller desires to sell to Buyer,
            subject to the approval of the Bankruptcy Court pursuant to Sections 363 and 365 of the
            Bankruptcy Code, all of the assets of the Business (except specifically excluded assets), all on the
            terms and subject to the conditions set forth herein;

            NOW, THEREFORE, in consideration of the premises and the mutual promises herein made, and
            in consideration of the representations, warranties, and covenants herein contained, the parties
            agree as follows:

                                                             ARTICLE I

                                                             DEFINITIONS

            Definitions. The following terms shall have the following meanings for the purposes of this
            Agreement.

            "Acquisition Proposal" means a proposal to acquire all, substantially all or any portion of the assets
            of the Business involving any Third Party and Seller.

            "Affiliate" means, with respect to any specified Person, a Person that directly or indirectly, through
            one or more intermediaries, controls or is controlled by, or is under common control with, the
            Person specified.

            "Affiliated Group" means any affiliated group within the meaning of Code §1504(a) or any similar
            group defined under a similar provision of state, local or foreign Law.

            "Agreement" means this Asset Purchase Agreement, including all schedules hereto, as it may be
            amended from time to time.

            "Assignment and Assumption Agreement" means the Agreement to be set forth as Exhibit A hereto
            prior to Closing in a form to be mutually agreed upon by Buyer and Seller.

            "Assumed Contract" means any contract listed on Schedule C.




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                                    145 Filed                     Entered 06/23/23 03:38:13     Page 27 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            "Authority" means any governmental regulatory or administrative body, governmental agency,
            governmental subdivision or authority, any court or judicial authority, any governmental
            regulatory authority, whether foreign, national, federal, state or local or otherwise, or any Person
            lawfully empowered by any of the foregoing to enforce or seek compliance with any regulation.

            "Bankruptcy Code" has the meaning set forth in the preamble.

            "Bankruptcy Court" has the meaning set forth in the preamble.

            "Benefit Plans" has the meaning set forth in Section 3.19.

            "Bill of Sale" means that certain Bill of Sale, executed by the Seller, in a form to be mutually
            agreed upon by Buyer and Seller and attached as Exhibit B hereto prior to Closing.

            "Business" means the business of clinical laboratory testing including, but not limited to,
            toxicology testing, pathogen detection, blood testing, molecular testing, and pharmacogenomics
            testing.

            "Buyer" has the meaning set forth in the preface above.

            "Chapter 11 Case" means the case commenced by Seller under Chapter 11 of the Bankruptcy
            Code.

            "Closing Date" has the meaning set forth in Section 2.4.

            "Closing" has the meaning set forth in Section 2.4.

            "Code" means the Internal Revenue Code of 1986, as amended.

            "Confidential Information" means any technical and/or business information that relates to the
            Business, that is (i) not already available to the public, (ii) not available or known from a third
            party rightfully in possession of such information, (iii) not independently developed without use
            of the Confidential Information, and (iv) is currently in the possession of the Seller or its Affiliates.

            "Contract" means any contract, lease, commitment, understanding, sales order, purchase order,
            agreement, indenture, mortgage, note, bond, right, warrant, instrument, plan, permit or license,
            whether written or oral, that relates to the Business and to which Seller is a party.

            "Debtor" means the Seller.

            "Disclosure Schedule" has the meaning set forth in Article III.

            "Employee Benefit Plan" means any (a) Employee Pension Benefit Plan, (b) Employee Welfare
            Benefit Plan, (c) retirement or deferred compensation plan, incentive compensation plan, stock
            plan, retention plan or agreement, unemployment compensation plan, vacation pay, severance pay,
            bonus or benefit arrangement, insurance or hospitalization program or any other fringe benefit
            arrangements for any current or former employee, director, consultant or agent, whether pursuant
            to contract, arrangement, custom or informal understanding, which does not constitute an


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            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13           Page 28 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            employee benefit plan (as defined in Section 3(3) of ERISA), or (d) material fringe benefit or other
            retirement, bonus, or incentive plan or program.

            "Employee Pension Benefit Plan" has the meaning set forth in Section 3(2) of ERISA.

            "Employee Welfare Benefit Plan" has the meaning set forth in Section 3(1) of ERISA.

            "Environmental Laws" means all federal, state, local and foreign statutes, regulations, ordinances
            and other provisions having the force or effect of law, all judicial and administrative orders and
            determinations, all contractual obligations and all common law concerning public health and
            safety, worker health and safety, and pollution or protection of the environment, including without
            limitation all those relating to the presence, use, production, generation, handling, transportation,
            treatment, storage, disposal, distribution, labeling, testing, processing, discharge, release,
            threatened release, control, or cleanup of any Hazardous Substances, materials or wastes, chemical
            substances or mixtures, pesticides, pollutants, contaminants, toxic chemicals, petroleum products
            or byproducts, asbestos, polychlorinated biphenyls, noise or radiation, each as amended and as
            now or hereafter in effect, including (but not limited to) the Comprehensive Environmental
            Response, Compensation and Liability Act of 1980, the Superfund Amendments and
            Reauthorization Act of 1986, as amended, the Resource Conservation and Recovery Act of 1976,
            as amended, the Toxic Substances Control Act of 1976, as amended, the Federal Water Pollution
            Control Act Amendments of 1972, the Clean Water Act of 1977, as amended, any so-called
            "Superlien" law, and any other similar federal, state or local statutes.

            "ERISA Affiliate" means, with respect to any Person, any other Person who, together with the first
            Person, is a member of a controlled group of corporations or a group of trades or businesses under
            common control within the meaning of Section 414(b) or (c) of the Code, or is otherwise treated
            as a single employer with the first Person under Section 414 of the Code.

            "ERISA" means the Employee Retirement Income Security Act of 1974, as amended.

            "Excluded Assets" means the assets set forth on Schedule A.

            "Financial Statements" means the following:

            (a)     the financial statements of the Seller for the fiscal years ended December 31, 2022 and
            2023 (including all notes thereto), which are included in Schedule 3.5 consisting of the balance
            sheet at such dates and the related statements of earnings and cash flows for the twelve month
            periods then ended;

            (b)    the financial statements of the Seller as of April 30, 2023 (which shall include, for
            comparative purposes, financial statements as of April 30, 2022), which are included in
            Schedule 3.5, consisting of the balance sheet at such date and the related statement of earnings for
            six month period then ended prepared consistently with the financial statements.

            "GAAP" means United States generally accepted accounting principles as in effect from time to
            time.




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            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                Entered 06/23/23 03:38:13         Page 29 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            "Governmental Entity" means any supranational, national, federal, provincial, state, or local
            judicial, legislative, executive, administrative, or regulatory agency, or other governmental
            authority (or any department, agency, or political subdivision thereof).

            "Hazardous Substance" means any material or substance which (a) constitutes a hazardous
            substance, toxic substance or pollutant (as such terms are defined by or pursuant to any
            Environmental Laws) or (b) is regulated or controlled as a hazardous substance, toxic substance,
            pollutant or other regulated or controlled material, substance or matter pursuant to any
            Environmental Laws.

            "Healthcare Laws" means all Laws pertaining to the healthcare regulatory matters applicable to
            the operations of Seller (including the rendering of professional healthcare services and obtaining
            payment for the same), including (a) licensure, certification, or registration requirements of all
            Governmental Entity relating to the service conducted or provided by Seller, including the Federal
            Food, Drug, and Cosmetic Act (21 U.S.C. § 301 et seq.), the Federal Controlled Substances Act
            (21 U.S.C. § 801 et seq.) or any relevant applicable state Law, (b) the Medicare statute (Title XVIII
            of the Social Security Act, 42 U.S.C. § 1395 et seq.), the Medicaid statute (Title XIX of the Social
            Security Act, 42 U.S.C. § 1396 et seq.) and the regulations promulgated thereunder, including the
            Medicare Part D program and the Medicare Advantage program, the federal TRICARE statute (10
            U.S.C. § 1071 et seq.), and any other federal, state, or local governmental healthcare programs,
            including applicable program requirements, (c) any criminal Laws relating to healthcare, including
            all criminal false claims statutes (e.g., 18 U.S.C. Sections 287 and 1001), (d) the Civil Monetary
            Penalties Law, 42 U.S.C. §§ 1320a-7a and 1320a-7b, (e) HIPAA or Other Privacy Laws, (f) all
            Laws relating to health care fraud and abuse, including the civil False Claims Act of 1863 (31
            U.S.C. Section § 3729 et seq.) (the "False Claims Act"), the federal Anti-Kickback Statute (42
            U.S.C. § 1320a-7b(b) et seq.), the Stark Act (42 U.S.C. § 1395nn), and the Health Care Fraud
            Statute, 18 U.S.C. § 1347, (g) the Patient Protection and Affordable Care Act (Pub. L. 111-148)
            as amended by the Health Care and Education Reconciliation Act of 2010 (Pub. L. 111-152) and
            the regulations promulgated thereunder, (h) all federal and state self-referral prohibitions and state
            anti-kickback, illegal remuneration, fee-splitting, corporate practice, provider conflict of interest
            Laws, (i) all applicable federal and state Laws applicable to the practice of pharmacy or other
            federal, state, and local Laws, and the regulations promulgated pursuant to such Laws, concerning
            the handling, storage or distribution of legend and non-legend drugs and devices, (j) all applicable
            federal and state Laws applicable to controlled substances, (k) all other applicable quality, safety
            certification, and accreditation standards and requirements, (l) all applicable federal and state Laws
            specifically applicable to the establishment, operation and licensure of an ambulatory surgery
            center; (m) all applicable federal and state Laws specifically applicable to the establishment,
            operation and licensure of an independent diagnostic testing facility; (n) all applicable federal and
            state law specifically applicable to the practice of physical therapy; and (o) any and all federal,
            state, or local Laws promulgated pursuant to such Laws related to coding, coverage,
            reimbursement, claims submission, billing, and collections related to reimbursement from any
            third party insurance payor, including Federal Healthcare Programs or otherwise related to
            insurance fraud.

            "Intellectual Property" means (a) inventions (whether patentable or unpatentable and whether or
            not reduced to practice), improvements thereto, and patents, patent applications, and patent
            disclosures, together with reissues, continuations, continuations-in-parts, divisions, provisional


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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13         Page 30 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            applications, reexaminations, foreign related applications and foreign patents thereof,
            (b) trademarks, service marks, trade dress, logos, trade names, domain names and corporate names,
            together with translations, adaptations, derivations, and combinations thereof and including
            goodwill associated therewith, and applications, registrations, and renewals in connection
            therewith, (c) copyrightable works, copyrights, and applications, registrations, and renewals in
            connection therewith, (d) mask works and applications, registrations, and renewals in connection
            therewith, (e) trade secrets and Confidential Information (including ideas, research and
            development, knowhow, formulas, compositions, manufacturing and production processes and
            techniques, technical data, designs, drawings, specifications, customer and supplier lists, pricing
            and cost information, and business and marketing plans and proposals), (f) computer software
            (including data and related documentation), (g) other proprietary rights, including without
            limitation all rights to recover for past infringements and (h) copies and tangible embodiments
            thereof (in whatever form or medium).

            "IRS" means the Internal Revenue Service.

            "Knowledge of the Seller" means to the Knowledge of the directors of the Seller including James
            A. Grossi.

            "Knowledge" means actual knowledge after reasonable commercial inquiry.

            "Latest Balance Sheet" means the balance sheet of the Seller dated as of April 30, 2023.

            "Law" means any law, statute, regulation, ordinance, rule, order, decree, judgment, consent decree,
            settlement agreement or governmental requirement enacted, promulgated, entered into, agreed,
            enforced or imposed by any Authority.

            "Liability" means any liability (whether known or unknown, whether asserted or unasserted,
            whether absolute or contingent, whether accrued or unaccrued, whether liquidated or unliquidated,
            and whether due or to become due), including, without limitation, any liability for Taxes,
            environmental claims, pension liabilities, retiree health plans, breaches of any employment
            agreements, unfair labor practices or any breach of any other Law or agreement applicable to
            employment.

            "Lien" means any mortgage, lien, charge, pledge, security interest, claim, right of any third party,
            easement, encroachment, encumbrance or restriction of any kind, whether voluntary or
            involuntary.

            "Major Customer" means the 20 largest customers of the Business in terms of purchases during
            the twelve (12) months prior to Closing.

            "Major Supplier" means the 10 largest suppliers of the Business in terms of purchases during the
            twelve (12) months prior to Closing.

            "Material Adverse Effect" shall mean any circumstances, developments or matters whose effect
            on the Seller, properties, assets, results, operations and financial condition of the Business, either
            alone or in the aggregate, is or would reasonably expected to be materially adverse.



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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13         Page 31 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            "Multiemployer Plan" has the meaning set forth in Section 3(37) of ERISA.

            "Order" means any decree, order, injunction, rule, judgment, consent of or by an Authority.

            "Ordinary Course of Business" means the ordinary course of business consistent with custom and
            practice of the Business from January 1, 2023 to the date hereof.

            "Overbid Auction" means an auction held pursuant to and in accordance with the Sales Procedures
            Order.

            "Permits" has the meaning set forth in Section 3.21.

            "Person" means an individual, a partnership, a corporation, an association, a joint stock company,
            a trust, a joint venture, an unincorporated organization, or a governmental entity (or any
            department, agency, or political subdivision thereof).

            "Purchase Price" is defined in Section 2.2(a).

            "Purchased Assets" is defined in Section 2.1.

            "Sale Order" means an order of the Bankruptcy Court, in a form reasonably satisfactory to Buyer,
            under Sections 105, 363 and 365 of the Bankruptcy Code (i) approving this Agreement and the
            transactions contemplated hereby, (ii) approving the sale of the Purchased Assets to Buyer free
            and clear of all liens, claims and encumbrances pursuant to Section 363(f) of the Bankruptcy Code,
            (iii) approving the assumption and assignment to Buyer of the Assumed Contracts pursuant to
            Section 365 of the Bankruptcy Code, and (iv) finding that Buyer is a good faith purchaser entitled
            to the protections of Section 363(m) of the Bankruptcy Code. The "Sale Order" shall include the
            terms and conditions as set forth in the form of Exhibit C hereto.

            "Sale Procedures Order" is the Order entered on or before June 29, 2023 by the Bankruptcy Court
            regarding sale procedures for the sale of Seller's assets.

            "Schedules" means the disclosure schedules accompanying this Agreement.

            "Seller Benefit Plan" means any Benefit Plan which is sponsored or maintained by the Seller.

            "Seller" is defined in the Preamble.

            "Subsidiary" means any corporation, partnership or limited liability company with respect to which
            the Seller (or a Subsidiary thereof) owns a majority of the common stock or has the power to vote
            or direct the voting of sufficient securities to elect a majority of the directors.

            "Tax Return" means any return, declaration, report, claim for refund, or information return or
            statement relating to Taxes, including any Schedule or attachment thereto, and including any
            amendment thereof.

            "Tax" means any federal, state, local, or foreign income, gross receipts, license, payroll,
            employment, excise, severance, stamp, occupation, premium, windfall profits, environmental


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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                Entered 06/23/23 03:38:13       Page 32 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (including taxes under Code §59A), customs duties, capital stock, franchise, profits, withholding,
            social security (or similar), unemployment, disability, real property, personal property, sales, use,
            transfer, registration, value added, alternative or addon minimum, estimated, or other tax of any
            kind whatsoever, including any interest, penalty, or addition thereto, whether disputed or not.

            "Topping Offer" means an Acquisition Proposal in which the amount bid for the Seller or the
            Purchased Assets exceeds the Purchase Price to be paid pursuant to this Agreement by at least
            $200,000.

            "Transaction Documents" means this Agreement, the Assignment and Assumption Agreement, the
            Bill of Sale, and any document executed in conjunction with or ancillary to the foregoing.

                                                             ARTICLE II

                                             PURCHASE AND SALE OF ASSETS

            SECTION II.1.          Basic Transaction. At the Closing, on and subject to the terms and
            conditions of this Agreement, the Buyer agrees to purchase from Seller, and Seller agrees to sell,
            assign, transfer, convey and deliver to the Buyer, except for the Excluded Assets, all of the assets
            of the Seller, wherever located, including without limitation assets of the types described on
            Schedule B hereto (the "Purchased Assets").

            SECTION II.2.             Purchase Price.

            (a)    In consideration for the Purchased Assets, the Buyer shall pay in cash, an amount equal to
            the sum of Six Million Four Hundred and Ten Thousand Dollars ($6,376,908.51), plus amounts
            necessary to make all Cure Payments (as set forth herein in Section V.13) and to fund the Carve-
            Out (as defined in the Stipulated Final Order Authorizing Use of Cash Collateral and Granting
            Adequate Protection at DN __), and the waiver of any remaining claims Buyer acquired from
            Comerica Bank, N.A. (“Comerica”) and/or Peninsula Fund VII Limited Partnership (“Peninsula”)
            (the "Purchase Price"). The Purchase Price shall be paid to Seller by means of wire transfer of
            immediately available funds to an account or accounts designated by Seller.

            SECTION II.3.             Payment of the Purchase Price.

            (a)    The Purchase Price shall be paid via a credit in the amount of the Purchase Price against
            the Debtor-in-Possession financing Buyer obtained from Comerica, the full debt, secured and
            unsecured, of Peninsula and/or the transfer of the Purchase Price (or a portion thereof) in
            immediately available funds.

            SECTION II.4.         The Closing. The closing of the transactions contemplated by this
            Agreement (the "Closing") will take place remotely by the electronic exchange of executed
            Transaction Documents and will occur concurrently with the execution of this Agreement and each
            Transaction Document. The date on which Closing occurs is referred to as the "Closing Date" for
            tax and corporate purposes, Closing will be deemed effective as of the close of business on the
            Closing Date, unless otherwise agreed in writing by Buyer and Seller.




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            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13    Page 33 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION II.5.            Assumed Contracts; No Other Liabilities Assumed. Subject to the terms
            and conditions set forth in this Agreement, Seller will assign and transfer to Buyer, effective as of
            the Closing Date, all of Seller's right, title and interest in and to, and Buyer will take assignment
            of and assume, the Assumed Contracts, each of which shall be deemed included in the term
            "Purchased Assets" as used herein; provided, however, (i) Buyer shall not assume or otherwise be
            liable or responsible for any Liability arising from, or related in any way to, any Assumed Contract
            during the period prior to the effective date of the assignment of such Assumed Contract to Buyer
            and (ii) prior to the assignment by Seller and the assumption by Buyer of any Assumed Contract,
            any and all payment defaults and material non-payment defaults under any such contract shall have
            been fully and completely cured by Buyer. Seller acknowledges and agrees that pursuant to the
            terms and provisions of this Agreement, Buyer will not assume any obligation or Liability of Seller
            other than the Assumed Contracts. Without limiting the foregoing, Buyer will not assume any
            collective bargaining agreements, pension liabilities, retiree health plans or any environmental
            liabilities of Seller.

                                                             ARTICLE III

                                       REPRESENTATIONS AND WARRANTIES OF
                                                  THE SELLER

            Seller hereby represents and warrants to the Buyer that the statements contained in this Article III
            relating to Seller are correct and complete as of the date of this Agreement, and, except as amended
            pursuant to Section 5.8, will be correct and complete as of the Closing Date (as though made then
            and as though the Closing Date were substituted for the date of this Agreement throughout this
            Article III), except as set forth in the disclosure Schedule attached to this Agreement (the
            "Disclosure Schedule"), which shall be deemed to be representations and warranties as if made
            hereunder. The Disclosure Schedule will be arranged in paragraphs and/or sections corresponding
            to the Section numbers of this Agreement. An item disclosed in any Schedule shall be deemed
            disclosed for purposes of all Schedules, provided that reasonably particular cross references have
            been included. Seller hereby disclaims all warranties not specifically set forth in this Agreement,
            express or implied, including the implied warranties of merchantability or fitness for a particular
            purpose.

            SECTION III.1.         Authorization of Transaction. The Seller has full power and authority
            (including full corporate and authority) to execute and deliver this Agreement and the other
            Transaction Documents and to perform its obligations hereunder and thereunder, subject to
            Bankruptcy Court approval. This Agreement constitutes the valid and legally binding obligation
            of the Seller, enforceable in accordance with its terms and conditions, subject to issuance of the
            Sale Order and approval of the Bankruptcy Court.

            SECTION III.2.            Title to Purchased Assets.

            (a)      Ownership. At the time of the conveyance of the Purchased Assets and upon entry of an
            Order of the Bankruptcy Court providing for the Sale free and clear of all liens, claims, interests
            and encumbrances, the Seller is the sole and exclusive owner of and holds good and marketable
            title thereto, free of any Lien; and upon execution and delivery of the Bill of Sale, Buyer shall have
            all of the right, title and interest of the Seller in and to the Purchased Assets, free of any Lien.


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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13     Page 34 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (b)     Files. The Seller will deliver to Buyer on the Closing Date all documents, certificates,
            agreements, instruments and files in its or its Subsidiaries' possession relating to each Purchased
            Asset (the "Asset Files").

            SECTION III.3.           Organization, Qualification, and Corporate Power. Seller is a limited
            liability company duly organized, validly existing, and in good standing under the Laws of its
            jurisdiction of organization listed on Schedule 3.3. Seller is duly authorized to conduct business
            and is in good standing under the Laws of each jurisdiction listed on Schedule 3.3 except where
            the failure to be so qualified would not have a Material Adverse Effect on Seller. No Subsidiaries
            or Affiliates of the Seller conduct any operations related to the Business or own, or have the right
            to use, assets related to the Business.

            SECTION III.4.          Noncontravention. Neither the execution and the delivery of this
            Agreement and the Transaction Documents, nor the consummation of the transactions
            contemplated hereby and thereby, will (i) violate in any material respect any applicable
            constitution, Law, settlement agreement, regulation, rule, injunction, judgment, order, decree,
            ruling, charge, or other restriction of any government, governmental agency, or court to which
            Seller is subject or any provision of the articles of incorporation or bylaws of Seller, or (ii) except
            as set forth on Schedule 3.4 or except to the extent that such of the following occurrences would
            be pursuant to a provision in any agreement or applicable Law that is unenforceable as a result of
            the application of Section 365(f) of the Bankruptcy Code, as determined by the Bankruptcy Court,
            conflict with, result in a breach of, constitute a default under, result in the acceleration of, create
            in any party the right to accelerate, terminate, modify, or cancel, or require any notice under any
            material Contract, lease, license, instrument, or other arrangement to which Seller is a party or by
            which Seller is bound or to which any of its assets is subject (or result in the imposition of any
            Lien upon any of its assets). Except as set forth on Schedule 3.4, except for the issuance of the
            Sale Order or except to the extent that such of the following obligations would be pursuant to a
            provision in any agreement or applicable Law that is unenforceable as a result of the application
            of Section 365(f) of the Bankruptcy Code, as determined by the Bankruptcy Court, Seller does
            not need to give any notice to, make any filing with, or obtain any authorization, consent, or
            approval of any government or governmental agency in order for the parties to consummate the
            transactions contemplated by this Agreement.

            SECTION III.5.          Financial Statements. The Financial Statements of the Business and of the
            Seller are set forth on Schedule 3.5. The Financial Statements have been prepared in accordance
            with GAAP consistently applied and present fairly in all material respects the financial position,
            assets and Liabilities of the Business and of the Seller as of the dates thereof and the revenues,
            expenses, results of operations of the Business and of the Seller for the periods covered thereby.
            Since December 31, 2023, there have been no changes in the accounting policies of Seller with
            respect to the Business. To the Knowledge of the Seller, neither Seller nor any of its directors,
            officers, employees or accountants has received or been made aware of any material complaint,
            allegation, assertion or claim regarding fraudulent or deficient accounting or auditing practices,
            procedures, methodologies or methods of Seller (with respect to the Business) or its internal
            accounting controls or any inaccuracy in the Financial Statements, except for suggestions
            contained in audit management letters received by Seller and disclosed and made available to
            Buyer.



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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13          Page 35 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION III.6.         Events Subsequent to Latest Balance Sheet. Since the date of the Latest
            Balance Sheet, other than the actions taken in connection with this Agreement and the Chapter 11
            Case, there has not been any change in the business, financial condition, operations, or results of
            operations, which would have a Material Adverse Effect on the Business, provided, however, that
            for purposes of determining whether there has been any such Material Adverse Effect, any adverse
            change resulting from the taking of any action contemplated by this Agreement or set forth on
            Schedule 3.6 of the Disclosure Schedule shall be disregarded. Without limiting the generality of
            the foregoing, since that date:

            (a)      neither the Seller nor its Subsidiaries has sold, leased, transferred, or assigned any of their
            assets, tangible or intangible, other than for a fair consideration in the Ordinary Course of Business;

            (b)    except as set forth on Schedule 3.6(b), neither the Seller nor its Subsidiaries has not entered
            into any Contract, lease, or license (or series of related Contracts, leases, and licenses) involving
            more than $25,000 or outside the Ordinary Course of Business;

            (c)     no party (including the Seller and its Subsidiaries) has accelerated, terminated, modified,
            or canceled any agreement, Contract, lease or license (or series of related Contracts, leases and
            licenses) to which the Seller or its Subsidiaries is a party or by which it or they are bound outside
            the Ordinary Course of Business;

            (d)     neither the Seller nor its Subsidiaries has cancelled, compromised, waived, or released any
            right or claim (or series of related rights and claims) either involving more than $25,000 or outside
            the Ordinary Course of Business;

            (e)    neither the Seller nor its Subsidiaries has granted any license or sublicense of any rights
            under or with respect to any Intellectual Property;

            (f)   there has been no change made or authorized in the articles of organization or operating
            agreement of the Seller or its Subsidiaries;

            (g)     except for hourly employees, neither the Seller nor its Subsidiaries have granted any
            increase in the base compensation of any of its directors, officers, and employees or made any
            other change in employment terms for any of its directors, officers, and employees, in each case,
            with respect to those directors, officers and employees, whose annual compensation, including any
            bonuses, equals or exceeds $50,000. Except as set forth on Schedule 3.6(g), no hourly employee
            wages have been increased.;

            (h)    neither the Seller nor its Subsidiaries have adopted, amended, modified, or terminated any
            bonus, profitsharing, incentive, severance, or other plan, Contract, or commitment for the benefit
            of any of its directors, officers, and employees (or taken any such action with respect to any other
            Employee Benefit Plan);

            (i)    there has not been any other occurrence, event, incident, action, failure to act, or transaction
            outside the Ordinary Course of Business involving the Seller or its Subsidiaries having a Material
            Adverse Effect; and

            (j)      neither the Seller nor its Subsidiaries have committed to any of the foregoing.


                                                              10
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13          Page 36 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION III.7.            Legal Compliance.

            (a)     Except as set forth on Schedule 3.7(a), Seller and each Subsidiary has (i) complied in all
            material respects with and are not in material violation of all Laws of federal, state, local, and
            foreign governments (and all agencies thereof) to which the Purchased Assets are subject,
            including but not limited to those Laws whose application does or could result from consummation
            of the transaction contemplated by this Agreement and (ii) maintains, and during all applicable
            statute of limitation periods has maintained, in full force and effect any Permits necessary to the
            conduct of the Business as conducted as of such time. The Permits necessary to the conduct of the
            Business are set forth on Schedule 3.7(a). Seller has not received any written or, to the Knowledge
            of Seller, oral notification from any Governmental Entity that has not yet been fully resolved
            asserting that Seller or the Purchased Assets is or may not be in compliance with any Law or Order
            in any material respect. Seller is in compliance in all material respects with all Permits set forth
            or required to be set forth on Schedule 3.7(a). The consummation of the Sale will not violate or
            result in a default under, violation of or loss of a benefit under any such Permits. Seller has filed
            all material reports required to be filed by it pursuant to such Permits, and all such reports were
            complete and correct in all material respects when filed. There are no Actions pending or
            threatened in writing or, to the Knowledge of Seller, orally that seek the revocation, cancellation
            or adverse modification of any such Permit. During the past five (5) years, Seller has not received
            or been subject to any notice, claim or assertion alleging any violations of such Permits nor has
            any such notice, claim or assertion been threatened in writing or, to the Knowledge of Seller, orally
            during such period.

            (b)     Neither Seller nor any of its managers, directors, officers or employees or, to the
            Knowledge of Seller, any of its consultants or agents, is or has been under: (i) any administrative,
            civil or criminal indictment or other Action by any Governmental Entity in connection with the
            Business; or (ii) any audit by any Governmental Entity in connection with the Business, other than
            as disclosed herein: [intentionally blank].
            (c)     Seller is, and has at all times during the last six (6) years been, in compliance with all
            Healthcare Laws. To the Knowledge of Seller, Seller has not been subject to any audit,
            investigation, litigation, action, proceeding, or order by any Governmental Entity, other than as
            disclosed herein [intentionally blank]. No investigation or review by any Governmental Entity
            related to Healthcare Laws with respect to the Purchased Assets or the Business is pending or, to
            the Knowledge of Seller, threatened, nor, to the Knowledge of Seller, has any Governmental Entity
            indicated an intention to conduct the same, nor has Seller, nor any of the directors, officers,
            employees, agents, or contractors of Seller, received notice from any Governmental Entity of any
            pending or, to the Knowledge of Seller, threatened investigations, other than as disclosed herein:
            _[intentionally blank].
            (d)     Except as set forth on Schedule 3.7(d), neither Seller, nor any of its managers, directors,
            officers, or employees, is or has been subject to any Proceeding or Order by any Governmental
            Entity.
            (e)    Seller (i) enrolled in, is qualified for participation in, and has all requisite provider names,
            group numbers, or authorizations to bill for services provided to patients of all Federal Healthcare
            Programs, (ii) is and has been in compliance in all material respects with the conditions of



                                                              11
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13         Page 37 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            participation of such programs, (iii) has submitted all required filings and documentation to such
            programs, and (iv) has received all approvals or qualifications necessary for reimbursement.


            SECTION III.8.            Tax Matters.

            (a)      All Tax Returns with respect to the Purchased Assets or income attributable therefrom that
            are required to be filed before the Closing Date have been timely filed or will be timely filed prior
            to the Closing Date, the information provided on such Tax Returns is or will be prior to the Closing
            Date complete and accurate in all material respects, and all Taxes whether or not shown to be due
            on such Tax Returns have been or will be prior to the Closing Date paid in full, to the extent that
            a failure to file such Tax Returns or pay such Taxes, or an inaccuracy in such Tax Returns, could
            result in the Buyer being liable for such Taxes or could give rise to a Lien on the Purchased Assets.

            (b)    Neither Seller nor any Subsidiary thereof is transferring to the Buyer a "United States real
            property interest" as defined in Section 897(c) of the Code or is a "foreign person" as defined in
            Section 1445(f)(3) of the Code.

            (c)     Except as set forth on Schedule 3.8, the Seller (A) has not been a member of an Affiliated
            Group filing a consolidated federal income Tax Return or (B) will not be required to pay the Taxes
            of any Person (other than the Seller) under Treas. Reg. §1.15026 (or any similar provision of state,
            local, or foreign Law), as a transferee or successor, by Contract, or otherwise.

            SECTION III.9.            Real Property.

            (a)      Other than as set forth on Schedule A, the Seller does not own any real property.

            (b)     Schedule 3.9(b) lists and describes briefly all real property leased or subleased to the Seller
            (the "Leased Property"). Seller has delivered to the Buyer correct and complete copies of the
            leases and subleases and other agreements for occupancy, including all amendments, extensions
            and other modifications thereto ("Leases") with respect to each Leased Property, as listed in
            Schedule 3.9(b) (as amended to date). Except as otherwise set forth in Schedule 3.9(b) of the
            Disclosure Schedule, with respect to each Lease listed in Schedule 3.9(b):

            (i)     the lease or sublease is legal, valid, binding, enforceable, and in full force and effect except
            as such enforcement may be limited or prohibited by bankruptcy, insolvency, reorganization,
            moratorium or similar laws affecting the enforcement of rights generally and by general principles
            of equity (whether applied in a proceeding, at law or in equity);

            (ii)    the lease or sublease will continue to be legal, valid, binding, enforceable, and in full force
            and effect on identical terms following the consummation of the transactions contemplated hereby
            except as such enforcement may be limited or prohibited by bankruptcy, insolvency,
            reorganization, moratorium or similar laws affecting the enforcement of rights generally and by
            general principles of equity (whether applied in a proceeding, at law or in equity) and except as
            may result from actions of Buyer or its Affiliates;




                                                              12
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13          Page 38 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (iii)   to the Knowledge of the Seller, no party to the lease or sublease is in breach or default, and
            no event has occurred which, with notice or lapse of time, would constitute a breach or default or
            permit termination, modification, or acceleration thereunder;

            (iv)   to the Knowledge of the Seller, no party to the lease or sublease has repudiated any
            provision thereof;

            (v)    there are no disputes, oral agreements, or forbearance programs in effect as to the lease or
            sublease;

            (vi)    with respect to each sublease, the representations and warranties set forth in subsections
            (i) through (v) above are true and correct with respect to the underlying lease;

            (vii) neither the Seller nor a Subsidiary thereof has assigned, transferred, conveyed, mortgaged,
            deeded in trust, or encumbered any interest in the leasehold or subleasehold;

            (viii) all facilities leased or subleased thereunder have received all approvals of governmental
            Authorities (including licenses and permits) required in connection with the operation thereof and
            have been, in all material respects, operated and maintained in accordance with applicable Laws,
            rules, and regulations; and

            (ix)   all facilities leased or subleased thereunder are supplied with utilities and other services
            necessary for the operation of said facilities in connection with the Business.

            SECTION III.10.         Intellectual Property. Seller owns, or is licensed or otherwise has the right
            to use all Intellectual Property used in or necessary for the conduct of the Business as currently
            conducted, (b) no claims are pending or, to the Knowledge of Seller, threatened in writing that
            Seller is infringing on or otherwise violating the rights of any Person with regard to any Intellectual
            Property and (c) to the Knowledge of Seller, no Person is infringing on or otherwise violating any
            right of Seller with respect to any Intellectual Property owned by and/or licensed to any Seller.
            Schedule 3.10 identifies (a) patents, patent applications, all registered and unregistered trademarks,
            and all licenses, agreements or other permissions of Seller, (b) each material license, agreement or
            other permission which Seller has granted to any third party with respect to any Intellectual
            Property used in the Business and (c) each material item of Intellectual Property that any third
            party owns and that Seller uses in connection with the Business. Any exclusive right to use any
            of the Intellectual Property used in or necessary for the conduct of the Business as currently
            conducted is valid and enforceable.

            SECTION III.11.         Tangible Assets. Each tangible asset included in the Purchase Assets has
            been maintained in accordance with normal industry practice, (taking into account the value and
            age of such tangible asset and the current condition and actual use of the same), is in good operating
            condition and repair (subject to normal wear and tear), is suitable for the purposes for which it
            presently is used and, to the Knowledge of Seller, is free from material defects (patent and latent).
            The Purchased Assets will be sufficient to permit the Buyer to operate the Business in substantially
            the same manner as conducted prior to and on the date hereof.

            SECTION III.12.         Inventory. The Inventory included in the Purchased Assets consists of items
            of a quality and quantity useable or saleable in the Ordinary Course of Business. All items included

                                                              13
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13         Page 39 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            in such Inventory are the property of Seller. Other than as set forth in Schedule 3.8, no items
            included in such Inventory are held on consignment from or bailment for third parties.

            SECTION III.13.        Contracts.    Schedule 3.13 lists the following Contracts and other
            agreements to which the Seller is a party other than real estate leases and subleases which are set
            forth on Schedule 3.9(b) of the Disclosure Schedule and contracts relating to Intellectual Property
            rights listed on Schedule 3.10:

            (a)    any Contract (or group of related Contracts) for the lease of personal property to or from
            any Person providing for lease payments in excess of $25,000 per annum;

            (b)      any Contract (or group of related contracts) between the Seller and any Major Supplier;

            (c)      any capitalized lease, pledge, conditional sale or title retention agreement;

            (d)      any Contract concerning a partnership or joint venture;

            (e)     any Contract with an employee, sales representative, manufacturer's representative,
            distributor, dealer, broker, sales agency, advertising agency or other Person engaged in sales,
            distributing or promotional activities, or any agreement to act as one of the foregoing on behalf of
            any Person;

            (f)    any form of Contract concerning confidentiality or noncompetition or otherwise
            prohibiting the Seller from freely engaging in any business;

            (g)      any Contract between Seller or any Affiliate thereof;

            (h)      any license, royalty or other Contract relating to any material item of Intellectual Property;

            (i)      any collective bargaining agreement;

            (j)    any Contract for the employment of any individual on a fulltime, parttime, consulting, or
            other basis (other than for temporary contract employees);

            (k)     any Contract, whether or not fully performed, relating to any acquisition or disposition of
            the Seller or any predecessor in interest or any acquisition or disposition of any subsidiary,
            division, line of business, or real property;

            (l)   any Contract under which either Seller or a Subsidiary thereof has advanced or loaned any
            amount to any of its directors, officers, and employees;

            (m)     any Contract under which the consequences of a default or termination could have a
            Material Adverse Effect on the business, financial condition, operations, results of operations, or
            future prospects of the Business;

            (n)    any other Contract (or group of related Contracts) the performance of which involves
            consideration in excess of $25,000;

            (o)      any commitment to do any of the foregoing.

                                                              14
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13         Page 40 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            Seller has delivered to the Buyer a correct and complete copy of each written Contract listed in
            Schedule 3.13 (as amended to date) and a written summary setting forth the terms and conditions
            of each oral Contract referred to in Schedule 3.13. Except as set forth on Schedule 3.13, with
            respect to each such Contract: (A) the Contract is legal, valid, binding, enforceable, and in full
            force and effect except as such enforcement may be limited or prohibited by bankruptcy,
            insolvency, reorganization, moratorium or similar laws affecting the enforcement of rights
            generally and by general principles of equity (whether applied in a proceeding, at law or in equity);
            (B) the Contract will continue to be legal, valid, binding, enforceable, and in full force and effect
            on identical terms following the consummation of the transactions contemplated hereby except (i)
            as may result from actions of Buyer or its Affiliates, or (ii) as modification of terms set forth herein
            is required by an express provision of this Agreement; (C) neither Seller nor its Subsidiaries is in
            breach or default of, and to the Knowledge of Seller, no third party, is in breach or default of, and
            no event has occurred which with notice or lapse of time would constitute a breach or default of,
            or permit termination, modification, or acceleration under, the Contract; and (D) to the Knowledge
            of Seller, no party has repudiated any provision of the Contract.

            SECTION III.14.        Notes and Accounts Receivable. All notes and accounts receivable of the
            Seller arose from bona fide transactions in the Ordinary Course of Business. All notes and
            accounts receivable are valid receivables and are current and collectible, subject only to the reserve
            for bad debts reflected in the Latest Balance Sheet (and noted on Schedule 3.14) as adjusted for
            operations and transactions through the Closing Date in accordance with the past custom and
            practices of the Seller, and to the Knowledge of the Seller, are not subject to any setoffs or
            counterclaims.

            SECTION III.15.       Insurance. Schedule 3.15 sets forth the following information with respect
            to each insurance policy (including policies providing property, casualty, Liability, and workers'
            compensation coverage and bond and surety arrangements) to which Seller or Subsidiaries thereof
            has been a party, a named insured, or otherwise the beneficiary of coverage relating to the
            Business:

            (a)      the name, address, and telephone number of the agent;

            (b)    the name of the insurer, the name of the policyholder, and the name of each covered
            insured;

            (c)      the policy number and the period of coverage;

            (d)      the scope and amount of coverage; and

            (e)      a description of any retroactive premium adjustments or other losssharing arrangements.

            With respect to each such insurance policy: (A) the policy is legal, valid, binding, enforceable, and
            in full force and effect except as such may be limited or prohibited by bankruptcy, insolvency,
            reorganization, moratorium or similar laws affecting the enforcement of rights generally and by
            general principles of equity (whether applied in a proceeding, at law or in equity); (B) neither the
            Seller, any Subsidiary thereof, nor, to the Knowledge of the Seller, any other party to the policy is
            in breach or default (including with respect to the payment of premiums or the giving of notices),
            and no event has occurred which, with notice or the lapse of time, would constitute such a breach

                                                              15
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13          Page 41 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            or default, or permit termination, modification or acceleration under the policy; and (C) to the
            Knowledge of the Seller, no party to the policy has repudiated any provision thereof.
            Schedule 3.15 describes any selfinsurance arrangements affecting the Seller. Schedule 3.15 sets
            forth all claims, if any, made against the Seller that are covered by insurance other than health
            insurance claims. Such claims have been disclosed to and accepted by the appropriate insurance
            companies and are being defended by such appropriate insurance companies. Except as set forth
            on Schedule 3.15, no claims have been denied coverage during the last five years.

            SECTION III.16.          Litigation. Schedule 3.16 sets forth each instance in which the Seller or a
            Subsidiary thereof (i) is subject to any outstanding injunction, judgment, order, decree, ruling, or
            charge, (ii) within the past three (3) years was a party to any action, suit, proceeding, hearing, or
            investigation of, in, or before any court or quasijudicial or administrative agency of any federal,
            state, local, or foreign jurisdiction or before any arbitrator, or (iii) is a party or, to the Knowledge
            of Seller, is threatened to be made a party to any action, suit, proceeding, hearing, or investigation
            of, in, or before any court or quasijudicial or administrative agency of any federal, state, local, or
            foreign jurisdiction or before any arbitrator. Neither Seller nor any Subsidiary thereof has any
            Liability with respect to any claims or, to the Knowledge of Seller, threatened claims by third
            parties relating to any sale or proposed sale of the Seller (whether structured as a sale of stock, a
            sale of assets, a merger or otherwise) or any division or Subsidiary of the Seller. Neither Seller
            nor any Subsidiary thereof is a party to any litigation relating to such claims and, to the Knowledge
            of Seller, no such litigation is threatened.

            SECTION III.17.         Product Warranty. Except as set forth on Schedule 3.17, each product
            manufactured, sold, leased, or delivered by the Seller or a Subsidiary thereof in conducting the
            Business has been in conformity with all applicable contractual commitments and all express and
            implied warranties, and neither the Seller nor any Subsidiary thereof has any Liability for
            replacement or repair thereof or other damages in connection therewith, in excess of the warranty
            reserves reflected in the Financial Statements. Schedule 3.17 sets forth the terms and conditions
            of Seller's warranties.

            SECTION III.18.        Employees. Schedule 3.18 contains a true, complete and accurate list of the
            names, annual compensation for the 2022 fiscal year and all bonuses and similar payments made
            for the 2022 fiscal year for all directors, officers, employees and consultants of the Business.
            Except as set forth on Schedule 3.18, within the past three (3) years neither the Seller nor any
            Subsidiary thereof is a party to or bound by any collective bargaining agreement, nor have they
            experienced any strikes, unresolved grievances, unresolved claims of unfair labor practices, or
            other unresolved collective bargaining disputes. Except as set forth on Schedule 3.18, neither the
            Seller nor any Subsidiary thereof has, within the past three years, violated any obligations to any
            employee or any labor organization under any individual contract or any collective bargaining
            agreement or under any federal, state or local Laws relating to employee rights or employer duties,
            included but not limited to committing any unfair labor practice or any unlawful employment
            discrimination. Seller has timely paid all wages, salaries, commissions and other compensation
            due to any of its employees, except as listed as unpaid on Schedule 3.18, and those which were
            delayed in payment due to the timing of the Bankruptcy Court Orders authorizing the payment of
            prepetition wages, and prepetition circumstances relating to Debtor’s cash flow and the use of
            funds in its bank accounts.



                                                              16
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13          Page 42 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            Seller shall timely provide any and all notices which may be required under the Worker
            Adjustment and Retraining Notification Act of 1988, which notices may be made conditional upon
            closure and upon non-closure of the transaction contemplated by this agreement.

            SECTION III.19.           Employee Benefits.

            (a)     General. Except as set forth on Schedule 3.19(a), neither the Seller nor any of its ERISA
            Affiliates is a party to, does not participate in and does not have any Liability with respect to any
            Employee Benefit Plan or any employment or consulting agreement.

            (b)     Plan Documents and Reports. A true and correct copy of each of the plans, programming
            policies, arrangements, and agreements listed on Schedule 3.19(a) (referred to hereinafter as
            "Benefit Plans"), and all Contracts relating thereto, or to the funding thereof, including, without
            limitation, all trust agreements, insurance Contracts, administration Contracts, investment
            management agreements, subscription and participation agreements, and recordkeeping
            agreements, each as in effect on the date hereof, has been supplied to the Buyer. In the case of any
            Benefit Plan which is not in written form, the Buyer has been supplied with an accurate description
            of such Benefit Plan as in effect on the date hereof. A true and correct copy of the most recent
            annual report, actuarial report, accountant's opinion of the plan's financial statements, summary
            plan description and Internal Revenue Service determination letter with respect to each Benefit
            Plan, to the extent applicable, and a current Schedule of assets (and the fair market value thereof
            assuming liquidation of any asset which is not readily tradable) held with respect to any funded
            Benefit Plan has been supplied to the Buyer, and there have been no material changes in the
            financial condition in the respective plans other than market gains or losses to date from that stated
            in the annual reports and actuarial reports supplied.

            (a)           Compliance with Employee Benefit Laws; Liabilities. Except as provided in
            Schedule 3.19(c):

            (i)     To the Knowledge of Seller, all Benefit Plans comply and have been administered in form
            and in operation in all material respects with all applicable requirements of Law, and no event has
            occurred which will or could cause any such Employee Benefit Plan to fail to comply with such
            requirements and no notice has been issued by any governmental Authority questioning or
            challenging such compliance.

            (ii)    Each Employee Pension Benefit Plan which is intended to be a qualified plan under Section
            401(a) of the Code is the subject of a favorable current determination letter issued by the IRS with
            respect to the qualified status of such plan under Section 401(a) of the Code and the tax-exempt
            status of any trust which forms a part of such plan under Section 501(a) of the Code; all
            amendments to any such plan for which the remedial amendment period (within the meaning of
            Section 401(b) of the Code and applicable regulations) has expired are covered by a favorable
            current IRS determination letter; and no event has occurred which will or could give rise to
            disqualification of any such plan under such sections or to a tax under Section 511 of the Code.

            (iii)  None of the assets of any Benefit Plan is invested in employer securities or employer real
            property.



                                                             17
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13         Page 43 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (iv)    To the Knowledge of Seller, there have been no "prohibited transactions" (as described in
            Section 406 of ERISA or Section 4975 of the Code) with respect to any Benefit Plan and neither
            the Seller nor any of its ERISA Affiliates has engaged in any prohibited transaction.

            (v)    To the Knowledge of Seller, there have been no acts or omissions which have given rise to
            or may give rise to fines, penalties, taxes or related charges under Section 502 of ERISA or
            Chapters 43, 47, 68 or 100 of the Code for which the Seller may be liable.

            (vi)   There are no actions, suits or claims (other than routine claims for benefits) pending or, to
            the Knowledge of Seller, threatened involving any Benefit Plan or the assets thereof and, to the
            Knowledge of Seller, no facts exist which could give rise to any such actions, suits or claims (other
            than routine claims for benefits).

            (vii) There is no minimum funding deficiency under Section 302 of ERISA or Section 412 of
            the Code

            (viii)   With respect to each Employee Pension Benefit Plan that is subject to Title IV of ERISA:

            (A)      no steps have been taken to terminate any such plan;

            (B)    there has been no withdrawal (within the meaning of Section 4063 of ERISA) of a
            "substantial employer" (as defined in Section 4001(a)(2) of ERISA);

            (C)  no event or condition has occurred which would constitute grounds under Section 4042 of
            ERISA for the termination of or the appointment of a trustee to administer any such plan; and

            (D)  all required contributions to such plan have been made as required by Section 302 of
            ERISA and Section 412 of the Code.

            (ix)    Neither the Seller nor any of its ERISA Affiliates have any Liability or contingent Liability
            for providing, under any Benefit Plan or otherwise, any post-retirement medical or life insurance
            benefits, other than statutory Liability for providing group health plan continuation coverage under
            Part 6 of Title I of ERISA and Section 4980B of the Code.

            (x)    There has been no act or omission by the Seller or any of its ERISA Affiliates that would
            impair the ability of the Seller (or any successor thereto) to unilaterally amend or terminate (in
            compliance with and subject to applicable Laws) any Seller Benefit Plan.

            (b)    Multiemployer Plans. The Seller does not contribute to, has not contributed to, and does
            not have any Liability or contingent Liability with respect to any Multiemployer Plan.

            SECTION I.2.            Environmental Matters. In connection with the conduct of the Business,
            except as set forth in Schedule 3.20 of the Disclosure Schedule:

            (a)    Each of Seller and its Subsidiaries are in compliance (and have been for the past three (3)
            years) with all Environmental Laws which compliance includes, but it is not limited to, the
            possession by Seller and its Subsidiaries of all Permits required under all applicable Environmental
            Laws, and compliance with the terms and conditions thereof.


                                                             18
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13        Page 44 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (b)     Neither Seller nor any Subsidiary of Seller has received any written communication,
            whether from an Authority or Person, that alleges that Seller or any of its Subsidiaries is not in
            compliance with any Environmental Laws or Permits, which has not been resolved, and to the
            Knowledge of Seller, there are no conditions existing that could reasonably be expected to prevent
            or interfere with such full compliance in the future.

            (c)    To the Knowledge of Seller, there are no past or present facts, circumstances or conditions,
            including the release of Hazardous Substances, that could reasonably be expected to result in a
            claim under Environmental Laws against Seller or any Subsidiary of Seller.

            (d)    Seller has made available to Buyer prior to the execution of this Agreement all
            environmental audits, assessments and documentation in Seller's possession regarding
            environmental matters pertaining to, or the environmental condition of, the Purchased Assets or
            the compliance (or non-compliance) by Seller or any of its Subsidiaries with any Environmental
            Laws.

            SECTION I.3.           Permits. Schedule 3.21 is a true and accurate list of all licenses, certificates,
            permits, franchises, rights, code approvals (collectively, "Permits") held by the Seller or any
            Subsidiary thereof used in the conduct of the Business. Except for the Permits listed on
            Schedule 3.21 of the Disclosure Schedule, there are no Permits, whether federal, state, local or
            foreign, which are necessary for the lawful operation of the Business of the Seller, including the
            Subsidiaries thereof, as such is presently conducted.

            SECTION I.4.           Bank Accounts. Schedule 3.22 sets forth the names and locations of each
            bank or other financial institution at which the Seller or any Subsidiary thereof has accounts
            (giving the account numbers) or safe deposit box and the names of all Persons authorized to draw
            thereon or have access thereto, and the names of all Persons, if any, now holding powers of attorney
            or comparable delegation of authority from the Seller and a summary statement thereof.

            SECTION I.5.              Customers and Suppliers. Schedule 3.23 sets forth:

            (i)    A list of the Major Customers of the Seller and the Business, showing the total revenue
            received in the twelve (12) months prior to Closing; and

            (ii)    A list of the Major Suppliers of the Seller and the Business and showing the approximate
            total purchases in the twelve (12) months prior to Closing.

            SECTION I.6.              Improper and Other Payments. To the Knowledge of the Seller:

            (a)    Neither Seller, the Subsidiaries thereof, nor any director, officer, employee, agent or
            representative of the Seller, their respective Affiliates nor any Person acting on behalf of any of
            them, has made, paid or received any bribes, kickbacks or other similar payments to or from any
            Person, whether lawful or unlawful, relating to the Business;

            (b)     no contributions have been made, directly or indirectly, to a domestic or foreign political
            party or candidate by any of the foregoing; and




                                                              19
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                  Entered 06/23/23 03:38:13          Page 45 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (c)   no improper foreign payment (as defined in the Foreign Corrupt Practices Act) has been
            made by any of the foregoing.

            SECTION I.7.            Brokers. Neither Seller, any officer, member, director or employee of
            Seller, nor any Affiliate of Seller has employed any broker, finder or investment banker or incurred
            any liability for any investment banking fees, financial advisory fees, brokerage fees or finders’
            fees in connection with the transactions contemplated hereby.

            SECTION 3.26. Billing. Schedule 3.26 sets forth all Targeted Probe and Educate ("TPE") results
            of review for the past three (3) years.


                                                             ARTICLE II

                               REPRESENTATIONS AND WARRANTIES OF THE BUYER

            The Buyer represents and warrants to Seller that the statements contained in this Article IV are
            correct and complete as of the date of this Agreement and will be correct and complete as of the
            Closing Date (as though made then and as though the Closing Date were substituted for the date
            of this Agreement throughout this Article IV).

            SECTION II.1.          Organization of the Buyer. The Buyer is a limited liability company duly
            organized, validly existing, and in good standing under the laws of the State of Delaware and under
            the Laws of each jurisdiction in which it is required to be so qualified except where the failure to
            be so qualified would not have a Material Adverse Effect on the Buyer. The Buyer is not in default
            under or in violation of any provision of its articles of incorporation or bylaws.

            SECTION II.2.          Authorization of Transaction; Consents. The Buyer has full power and
            authority (including full corporate power and authority) to execute and deliver this Agreement and
            the other Transaction Agreements and to perform its obligations hereunder and thereunder. This
            Agreement constitutes the valid and legally binding obligation of the Buyer, enforceable in
            accordance with its terms and conditions, subject to issuance of the Sale Order and approval of the
            Bankruptcy Court. The Buyer need not give any notice to, make any filing with, or obtain any
            authorization, consent, or approval of any government or governmental agency in order to
            consummate the transactions contemplated by this Agreement.

            SECTION II.3.           Noncontravention. Neither the execution and the delivery of this
            Agreement, nor the consummation of the transactions contemplated hereby, will (i) violate any
            constitution, Law, settlement agreement regulation, rule, injunction, judgment, order, decree,
            ruling, charge, or other restriction of any government, governmental agency, or court to which the
            Buyer is subject or any provision of its charter or bylaws or (ii) conflict with, result in a breach of,
            constitute a default under, result in the acceleration of, create in any party the right to accelerate,
            terminate, modify, or cancel, or require any notice or consent under any agreement, Contract, lease,
            license, instrument, or other arrangement to which the Buyer is a party or by which it is bound or
            to which any of its assets is subject.




                                                                 20
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13       Page 46 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION II.4.           Brokers. Neither Buyer, any officer, member, director or employee of
            Buyer, nor any Affiliate of Buyer has employed any broker, finder or investment banker or
            incurred any liability for any investment banking fees, financial advisory fees, brokerage fees or
            finders’ fees in connection with the transactions contemplated hereby.

            SECTION II.5.         Sufficient Funds. Buyer has, and on the Closing Date will have, sufficient
            funds to pay the Purchase Price and satisfy its other obligations under this Agreement. If so
            requested by Seller, Buyer shall deliver to Seller reasonably satisfactory evidence establishing its
            compliance with this Section 4.5.

                                                             ARTICLE III

                                                             COVENANTS

            SECTION III.1.            General. Each of the parties will use his or its reasonable best efforts to take
            all action and to do all things necessary in order to consummate and make effective the transactions
            contemplated by this Agreement (including satisfaction of the closing conditions set forth in
            Articles VII and VIII), subject to Seller's fiduciary duties as a debtor-in-possession under the
            Bankruptcy Code.

            SECTION III.2.        Notices and Consents. The Seller will give any notices to third parties, and
            will use commercially reasonable efforts to obtain any third party consents necessary to
            consummate the transactions contemplated hereby, in each case as necessary to the extent such
            consents are not provided for or satisfied by the Sale Order. Each of the parties will give any
            notices to, make any filings with, and use its reasonable best efforts to obtain any authorizations,
            consents, and approvals of governments and governmental agencies in connection with the matters
            referred to in Section 3.4 and Section 4.3 above, in each case as necessary to the extent such
            authorizations, consents and approvals are not provided for or satisfied by the Sale Order.

            SECTION III.3.            Operation of Business.

            (a)       Ordinary Course. Except as otherwise provided in this Agreement, from the date of this
            Agreement until the Closing Date, the Business shall be operated in the Ordinary Course of
            Business and Seller shall use commercially reasonable efforts to preserve intact the present
            business organization of the Business (other than as permitted by Section 5.3(b)), preserve the
            business relationships of the Seller with other Persons material to the operation of the Seller.
            Without limiting the generality of the foregoing, except as set forth in Schedule 5.3 or as
            contemplated by this Agreement or as ordered by the Bankruptcy Court, prior to the Closing, the
            Seller will not, and will not permit any Subsidiary thereof to, without the prior written consent of
            the Buyer: (i) enter into any contract, agreement or transaction other than in the Ordinary Course
            of Business and consistent with past practice and other than in accordance with this Agreement;
            (ii) sell or otherwise dispose of any assets or inventory of the Seller or such Subsidiary other than
            in the Ordinary Course of Business and consistent with past practice; (iii) waive, release or cancel
            any claims against third parties or debts owing to it, or any rights which have any value involving
            more than $25,000 and outside of the Ordinary Course of Business; (iv) make any changes in its
            accounting systems, policies, principles or practices; (v) other than in the Ordinary Course of
            Business, enter into, authorize, or permit any transaction with or any Affiliate of Seller, or enter


                                                                  21
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                      Entered 06/23/23 03:38:13       Page 47 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            into any Contract relating to compensation or benefits with any Person, or, modify any
            compensation amounts or levels of any officer or employee (other than as permitted by
            Section 5.3(b)); (vi) make any loans, advances (other than expense advances in the Ordinary
            Course of Business) or capital contributions to, or investments in, any other Person; (vii) amend
            any employment agreements, trusts, plans, funds or other arrangements for the benefit or welfare
            of any current or former director, manager, officer or employee, or increase in any manner the
            fringe benefits of any current or former director, manager, officer or employee or pay any benefit
            not required by any existing plan and arrangement or enter into any Contract, agreement,
            commitment or arrangement to do any of the foregoing; (viii) acquire, lease, encumber or
            otherwise impose a Lien on any Purchased Assets or assets of the Seller, whether tangible or
            intangible other than Liens imposed pursuant to Seller's current debt facilities; or (ix) terminate,
            modify, amend or otherwise alter or change any of the terms or provisions of any agreement with
            a Major Customer or, other than in the Ordinary Course of Business, any other agreement.

            (b)     Employees and Benefit Plans. No later than the Closing Date, Seller shall (i) take all
            actions necessary to terminate the employment of all of its employees whose continued
            employment is not essential to any "winding down" activities or operations of Seller which will
            continue beyond the Closing Date; (ii) Seller shall terminate all Seller Benefit Plans; however,
            with regard to any Employee Pension Benefit Plan that is subject to Title IV of ERISA, Seller shall
            adopt Board resolutions to terminate the Employee Pension Benefit Plan before the Closing Date
            but the actual termination date may be later than the Closing Date; and (iii) Seller shall pay all
            postpetition wages, salaries, commissions and other compensation due to any of its employees as
            of termination of employment subject to any applicable cash collateral or postpetition financing
            agreements and budgetary constraints. Subsequent to the Closing Date, Seller shall obtain a
            favorable IRS determination letter with respect to the termination of each Employee Pension
            Benefit Plan and related trust that is terminated pursuant to clause (ii) above in this subsection (b)
            and is, or was at any time, intended to satisfy the requirements for tax-qualification under Sections
            401(a) and 501(a) of the Code, except that a favorable IRS determination letter is not required if
            the Employee Pension Benefit Plan is subject to Title IV of ERISA and terminates in a "distress"
            termination under regulations published by the Pension Benefit Guaranty Corporation.

            (c)     Cash Proceeds. Through the Closing Date, Seller shall have access to the cash proceeds
            generated as a result of collecting its receivables, subject to the terms of the cash collateral
            agreement with Seller's pre-petition secured lenders, the terms and conditions of such cash
            collateral agreement to be reasonably satisfactory to Buyer.

            (d)    Baseline Environmental Assessment. As soon as reasonably possible, Seller shall
            undertake a Baseline Environmental Assessment ("BEA"), with respect to its facility located in
            Waterford, Michigan, for the benefit of, addressed to and in the name of, the Buyer. Buyer will
            reimburse Seller for the expense of the BEA.

            SECTION III.4.            Bankruptcy Actions.

            (a)    Seller shall use best efforts to procure the entry of the Sale Order and supporting papers, in
            form and substance satisfactory to Buyer and attached hereto as Exhibit C and to not have such
            Sale Order stayed prior to Closing.



                                                             22
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13         Page 48 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (b)     If required, as promptly as practicable, Seller will provide Buyer with copies of all motions,
            applications, and supporting papers prepared by Seller in connection with this Agreement
            (including forms of Orders and notices to interested parties) for Buyer's review.

            (c)    Seller shall immediately notify Buyer of any order of the Bankruptcy Court entered in the
            Chapter 11 Case that affects or will affect the operation of the Business or the Purchased Assets
            and promptly deliver a copy of any such order to Buyer.

            SECTION III.5.         Adequate Assurance Data. Buyer agrees that it shall use commercially
            reasonably efforts to deliver to Seller written evidence of its ability to provide adequate assurance
            of future performance in accordance with Section 365(f)(B) of the Bankruptcy Code in the event
            of an objection on such grounds by any Person that is party to an Assumed Contract. In addition,
            Buyer agrees to cooperate with reasonable requests for additional evidence thereof that are made
            by any Person who is a party to any Assumed Contract.

            SECTION III.6.         Full Access. From and after the date hereof, Seller will permit and cause
            the Subsidiaries to permit, representatives of the Buyer to have full access to all premises,
            properties, personnel, books, records (including Tax records), Contracts, and documents of or
            pertaining to the Seller, any Subsidiaries thereof or the Business and shall make the officers and
            employees of the Seller, and Subsidiaries thereof available to the Buyer and its representatives as
            the Buyer and their representatives shall from time to time reasonably request, in each case to the
            extent that such access and disclosure would not obligate the Seller to take any actions that would
            disrupt the normal course of its business or violate the terms of any agreement to which the Seller
            and the Business is bound or any applicable Law or regulation. From and after the date hereof,
            Seller shall provide such access to Buyer and its representatives as may be necessary for Buyer to
            conduct any environmental due diligence and such testing and investigation as may be necessary
            to prepare a Baseline Environmental Assessment (as defined pursuant to the laws of the State of
            Michigan) or similar assessment at any property owned, leased or used by Seller wherever located.

            SECTION III.7.        Maintenance of Insurance. Seller will continue to carry its existing
            insurance pertaining to the Business, including its existing insurance on the Purchased Assets
            through the Closing Date, subject to any cash collateral or debtor in possession Orders and
            budgetary constraints and shall not allow any material breach, default or cancellation (other than
            expiration and replacement of policies in the Ordinary Course of Business) of such insurance
            policies or agreements to occur or exist.

            SECTION III.8.         Notice and Supplemental Information. Seller and the Buyer shall give
            prompt notice to the other parties of any material adverse development causing a breach of any of
            its own representations and warranties in Articles III and IV respectively. In addition, Seller will
            (i) immediately notify Buyer in writing of any development that would have a Material Adverse
            Effect on the Business, including without limitation, any loss of the Purchased Assets, and (ii) by
            notice in accordance with the terms of this Agreement, supplement or amend the Schedules,
            including one or more supplements or amendments to correct any matter which would constitute
            a breach of any representation, warranty, agreement or covenant contained herein.

            SECTION III.9.          Transition. Other than the filing of the Chapter 11 Case and actions incident
            thereto, Seller will not, without previously consulting Buyer, take any action that is designed or


                                                             23
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13         Page 49 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            intended to have the effect of discouraging any lessor, licensor, customer, supplier, or other
            business associate of the Business from maintaining the same business relationships with the
            Business after the Closing as it maintained with the Business prior to the Closing, if such action
            would have a Material Adverse Effect. Seller will refer all customer inquiries relating to the
            Business to the Buyer from and after the Closing.

            SECTION III.10.        Confidentiality. Seller will treat and hold as such all of the Confidential
            Information, refrain from using any of the Confidential Information except in connection with this
            Agreement, and, in the event of a Closing, deliver promptly to the Buyer or destroy, at the request
            and option of the Buyer, all tangible embodiments (and all copies) of the Confidential Information
            which are in their possession other than Confidential Information solely related to Excluded
            Assets. In the event that Seller or any Subsidiary thereof is requested or required (by oral question
            or request for information or documents in any legal proceeding, interrogatory, subpoena, civil
            investigative demand, or similar process) to disclose any Confidential Information, Seller will
            notify the Buyer promptly of the request or requirement so that the Buyer may seek an appropriate
            protective order or waive compliance with the provisions of this Section 5.10. If, in the absence
            of a protective order or the receipt of a waiver hereunder, a party is, on the advice of counsel,
            compelled to disclose any Confidential Information to any tribunal or else stand liable for
            contempt, Seller or such Subsidiary may disclose the Confidential Information to the tribunal;
            provided, however, that Seller or such Subsidiary shall use its best efforts to obtain, at the request
            of the Buyer, an order or other assurance that confidential treatment will be accorded to such
            portion of the Confidential Information required to be disclosed as the Buyer shall designate.

            SECTION III.11.           [intentionally deleted].

            SECTION III.12.        Major Customers and Suppliers. Except as set forth on Schedule 5.12, since
            January 1, 2023, Seller has not received written or, to the Knowledge of Seller, oral notice that any
            Major Customer or Major Supplier intends to, or has threatened to, terminate, cancel, or materially
            and adversely modify its Contracts or relationship with Seller. Since January 1, 2023, no Major
            Customer or Major Supplier has threatened in writing or, to the Knowledge of Seller, orally to
            materially and adversely alter the amount of business that it is presently doing with Seller, nor has
            any Major Customer or Major Supplier alleged in writing or, to the Knowledge of Seller, orally
            that Seller has breached or defaulted under any applicable Contract.

            SECTION III.13.        Post-Closing Covenants. Seller and the Buyer agree as follows with respect
            to the period following the Closing:

            (a)     In case at any time after the Closing any further action is necessary or desirable to carry
            out the purposes of this Agreement, each of the parties will take such further action (including the
            execution and delivery of such further instruments and documents) as any other party hereto
            reasonably may request, all at the sole cost and expense of the requesting party.

            (b)     In the event and for so long as any party hereto actively is contesting or defending against
            any charge, complaint, action, suit, proceeding, hearing, investigation, claim, or demand in
            connection with (i) any transaction contemplated under this Agreement or (ii) any fact, situation,
            circumstance, status, condition, activity, practice, plan, occurrence, event, incident, action, failure
            to act, or transaction on or prior to the Closing Date involving the Business, each of the other


                                                                 24
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13      Page 50 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            parties hereto will cooperate with him or it and his or its counsel in the contest or defense, make
            available their personnel, and provide such testimony and access to their books and records as shall
            be reasonably necessary in connection with the contest or defense, all at the sole cost and expense
            of the contesting or defending party.

            (c)     Following the Closing, the Buyer shall give to the Seller, without charge, reasonable access
            upon reasonable notice and during business hours to (and the right to make copies at the expense
            of the Seller of) the books, files and records of the Seller, the Subsidiaries thereof and the Business
            to the extent that such relate to the business and operations of the Business on or prior to the
            Closing Date and are in the Buyer's possession on the Closing Date or subsequently come into the
            Buyer's possession, but any access pursuant to this Section 5.13(c) shall be conducted by the Seller
            in good faith, with a reasonable purpose and in such manner as not to interfere unreasonably with
            the operations of the Buyer following the Closing. For a period of six (6) years after the closing,
            the Buyer shall maintain such books, files and records tax returns and thereafter, prior to destroying
            or disposing of any of them, the Buyer shall give, or shall cause the Business to give thirty (30)
            days' advance notice to the Seller of their intended destruction or disposition, and during such
            thirty (30) day period the Seller shall have the right to take possession of the same or to make
            copies of the same, all at the Seller's expense. Notwithstanding the foregoing, in the event there
            is a conflict between the provisions of this Section 5.13(c) and those of Section 10.3 and
            Section 10.4, then Section 10.3 and Section 10.4 shall control.

            (d)     Buyer shall reserve the right to require that, subject to Bankruptcy Court approval, for a
            period of forty-five (45) days after the Closing, the trustee appointed by the Bankruptcy Court (or
            if no trustee has been appointed, the Seller) shall assume and assign to Buyer any additional
            contracts of Seller or a Subsidiary thereof identified by Buyer that are necessary for or used and
            useful in the Business.
            (e)     Buyer shall reserve the right to credit bid to the extent that Buyer completes the purchase
            of the Comerica credit position prior to the Closing. Following the Closing, the Seller shall enter
            into a management agreement to the extent necessary to allow the Business to continue operations
            for a period until the Certification for Clinical Laboratory ("CLIA") operating license is transferred
            to Buyer or Buyer is granted a new CLIA operating license.


                                                             ARTICLE IV

                                                    OVERBID PROCEDURES

            SECTION IV.1.          Overbid Procedures. This Agreement and the enforceability of the
            provisions hereof are subject to Bankruptcy Court approval. Promptly, but in no event later than
            three (3) Business Days following the full execution and delivery of this Agreement, Seller shall
            file with the Bankruptcy Court a motion which may be part of the Sale Motion (in form and
            substance reasonably satisfactory to Buyer, the "Sale Motion"), notices and proposed orders, each
            in form and substance satisfactory to Buyer, seeking the Bankruptcy Court’s issuance of:

            (a)    an Order in the form of Exhibit E hereto (the "Sale Procedures Order") which shall include,
            without limitation:


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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13      Page 51 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            (i)   a Topping Offer threshold of $200,000 for any initial competing bid, and any incremental
            competing bids of $200,000 thereafter;

            (ii)    a requirement that qualified bidders make a refundable deposit of $200,000 in order to
            enter the bidding;

            (iii)   reimbursement of all of Buyer’s out-of-pocket costs and expenses incurred in connection
            with the transactions contemplated hereby including without limitation legal fees not to exceed
            $250,000 which shall be paid to Buyer if the Buyer is not the successful bidder for the Purchased
            Assets;

            (iv)   a requirement that any Topping Offer be substantially similar to this Agreement in all
            material respects;

            (v)      such other bidding procedures for the Auction as shall be required by the Buyer.

            (b)      an Order, in form of Exhibit C hereto, approving this agreement and granting related relief.

            A Third Party interested in acquiring the assets of the Business may submit to Seller an Acquisition
            Proposal in compliance with the provisions of Exhibit E.

                                                             ARTICLE V

                                         CONDITIONS TO OBLIGATION OF BUYER

            The obligation of the Buyer to consummate the transactions to be performed by it in connection
            with the Closing is subject to satisfaction of the following conditions:

            SECTION V.1.            Representations and Warranties True as of Closing Date.                  The
            representations and warranties set forth in Article III shall have been accurate, true and correct in
            all material respects on and as of the date of this Agreement, and shall also be accurate, true and
            correct in all material respects on and as of the Closing Date with the same force and effect as
            though made on and as of the Closing Date.

            SECTION V.2.            Compliance by Seller; Consents. Seller shall have performed and complied
            with all of the covenants, agreements and conditions contained herein in all material respects on
            or prior to the Closing. All material consents, approvals, waivers and permits from third parties
            and governmental and regulatory authorities required to consummate the transactions set forth
            herein, if any, shall have been obtained. Failure to obtain any required consent with respect to any
            Assumed Contract shall not entitle Buyer to terminate this Agreement or to decline to purchase
            the Purchased Assets if (i) such failure is due to Buyer's inability to satisfy commercially
            reasonable conditions customarily imposed by the licensor or other counter-party under any such
            Assumed Contract, (ii) if such failure would not cause a Material Adverse Effect on the Business
            or the Purchased Assets, or (iii) if such failure results from the Bankruptcy Court not approving
            the assumption of such Assumed Contract because of Buyer's failure to give adequate assurance
            of future performance pursuant to this Agreement.




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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13     Page 52 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION V.3.            Sale Order. The sale hearing providing for the approval of the Sale Order
            (the "Sale Hearing") substantially in the form attached hereto as Exhibit C, shall occur on or before
            August 3, 2023, the Sale Order shall have been entered on or before August 7, 2023, and the
            closing of the transactions contemplated hereby shall occur on August 10, 2023, provided that the
            Sale Order has not been stayed.

            SECTION V.4.            No Injunction; Material Adverse Effect.          No action, proceeding,
            investigation, regulation, or legislation shall be pending or threatened which seeks to enjoin,
            restrain, or prohibit Buyer, or to obtain substantial damages from Buyer, in respect of the
            consummation of the transactions contemplated hereby, or which seeks to enjoin the operation of
            all or a material portion of the Business which, in the reasonable judgment of Buyer, would make
            it inadvisable to consummate the transactions contemplated by this Agreement. There shall have
            been no Material Adverse Effect on the Business.

            SECTION V.5.           Bankruptcy Filing. Buyer shall be satisfied, in its sole discretion, that Seller
            shall have filed for bankruptcy protection under Chapter 11 of the Bankruptcy Code, the Auction
            shall have occurred and Buyer shall be entitled to purchase the Purchased Assets pursuant to this
            Agreement, and all Purchased Assets will be transferred to Buyer free and clear of all liens, claims,
            interests, indebtedness and restrictions on transfer under Section 363(f) of the Bankruptcy Code.

            SECTION V.6.              [intentionally deleted].

            SECTION V.7.             FIRPTA Certificate. The Buyer shall have received from the Seller and any
            other Seller that is a "United States person" within the meaning of Section 7701(a)(30) of the Code
            a duly executed certificate in the form specified by Treasury Regulation § 1.1445-2(b)(2).

            SECTION V.8.           Purchased Assets. There shall have been no damage to the Purchased
            Assets by fire, flood, casualty, act of God or public enemy or other cause, or condemnation or
            public taking of the Purchased Assets, of value greater than $300,000, regardless of insurance
            coverage for such damage.

            SECTION V.9.           Documents. All actions to be taken by Seller in connection with
            consummation of the transactions contemplated hereby and all certificates, opinions, instruments,
            and other documents required to effect the transactions contemplated hereby will be reasonably
            satisfactory in form and substance to the Buyer. Seller shall deliver to Buyer an opinion of Seller's
            counsel, addressed to Buyer, reasonably satisfactory to Buyer.

            SECTION V.10.       Transaction Documents. Seller and Buyer shall have entered into the
            Transaction Documents.

            SECTION V.11.         Release of Liens. Seller shall have caused all Liens on the Purchased Assets
            to be discharged and extinguished and Buyer shall be satisfied that all Liens have been discharged
            and extinguished in connection with the Chapter 11 case.

            SECTION V.12.          Leases. Seller shall assume and assign to Buyer the lease for Seller's facility
            and shall deliver a lease, in the form of Exhibit D attached hereto or as otherwise reasonably
            acceptable to Buyer, of the real estate located in Waterford, Michigan for a minimum period of



                                                                 27
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13      Page 53 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            twelve months with two three month renewal options, for an annual rent of not greater than
            $378,756.63 per annum.

            SECTION V.13.         Cure Payments. Buyer shall make available from the Purchase Price, in
            cash, to make, cure payments on all executory contracts which Buyer requires Seller to assign and
            Buyer to assume. To the Knowledge of Seller, all such cure payments as of the date of this
            Agreement are set forth on Schedule 7.13.

            SECTION V.14.         Benefit Plans. Seller shall have terminated all Seller Benefit Plans to the
            extent provided in Section 5.3(b) hereof.

            SECTION V.15.          Environmental. Buyer shall have been provided with a completed Baseline
            Environmental Assessment (as defined pursuant to the laws of the State of Michigan) or a similar
            assessment for all of Seller's properties leased or owned in Michigan.

            SECTION V.16.          Termination of Seller's Employees. On or before the Closing Date, Seller
            will terminate the employment of each employee, other than those employees required to "wind-
            down" the affairs of Seller after the Closing. Seller shall be solely responsible for terminating its
            employees as provided in Section 5.3(b) of this Agreement. Seller shall provide any notice of
            termination required by Law, including, but not limited to, the Worker Adjustment and Retraining
            Modification Act of 1988, or any contract between Seller and any Person, including, but not limited
            to, any collective bargaining agreement. Buyer shall have no obligation to hire any of Seller's
            former employees.

                                                             ARTICLE VI

                                        CONDITIONS TO OBLIGATION OF SELLER

            The obligation of Seller to consummate the transactions to be performed by Seller in connection
            with the Closing is subject to satisfaction of the following conditions:

            SECTION VI.1.          Representations and Warranties True as of Closing. The representations
            and warranties set forth in Article IV shall have been accurate, true and correct on and as of the
            date of this Agreement, and shall also be accurate, true and correct on and as of the Closing Date
            with the same force and effect as though made on and as of the Closing Date.

            SECTION VI.2.          Compliance with Covenants. The Buyer shall have performed and
            complied with all of its covenants hereunder in all material respects through the Closing.

            SECTION VI.3.          Actions or Proceedings. No action, suit, or proceeding shall be pending
            before any court or quasijudicial or administrative agency of any federal, state, local, or foreign
            jurisdiction wherein an unfavorable injunction, judgment, order, decree, ruling, or charge would
            (A) prevent consummation of any of the transactions contemplated by this Agreement or (B) cause
            any of the transactions contemplated by this Agreement to be rescinded following consummation
            (and no such injunction, judgment, order, decree, ruling, or charge shall be in effect).

            SECTION VI.4.             [intentionally deleted].



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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13    Page 54 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION VI.5.          Documents. All actions to be taken by the Buyer in connection with the
            consummation of the transactions contemplated hereby and all certificates, opinions, instruments,
            and other documents required to effect the transactions contemplated hereby will be reasonably
            satisfactory in form and substance to Seller.

            SECTION VI.6.       Transaction Documents. Sellers and the Buyer shall have entered into the
            Transaction Documents.

            SECTION VI.7.         Sale Order. The Sale Order shall have been entered in substantially the form
            attached as Exhibit C and shall not be subject to stay.

            SECTION 8.8. Employee Leasing Agreement. The Seller and Buyer shall have entered into a
            lease agreement for the employees of the Business.
            SECTION 8.9 Management Services Agreement. The Seller and Buyer shall have entered into a
            management services agreement.

                                                             ARTICLE VII

                                                              SURVIVAL

            SECTION VII.1.       Survival of Representations and Warranties. All of the warranties and
            representations contained herein or in any Transaction Documents or closing document
            contemplated hereby or thereby shall terminate on the Closing Date.

                                                       ARTICLE VIII

                                                             TAX MATTERS

            SECTION VIII.1.        Tax Matters. The following provisions shall govern the allocation of
            responsibility as between Buyer and Seller for certain tax matters following the Closing Date:

            SECTION VIII.2.         Proration of Taxes. Except to the extent otherwise provided in Section
            1146(C) of the Bankruptcy Code, liability for all real property taxes, personal property taxes and
            similar ad valorem obligations levied with respect to the Purchased Assets for a taxable period
            which includes (but does not end on) the Closing Date (the "Apportioned Obligations") shall be
            apportioned between the Seller and the Buyer based on the number of days of such taxable period
            included in the period ending on the Closing Date (the "Pre-Closing Tax Period") and the number
            of days of such taxable period included in the period after the Pre-Closing Tax Period (the "Post-
            Closing Tax Period"). The Seller shall be liable for the proportionate amount of such Apportioned
            Obligations that is attributable to the Pre-Closing Tax Period. The Buyer shall be liable for the
            proportionate amount of such Apportioned Obligations that is attributable to the Post-Closing Tax
            Period.

            SECTION VIII.3.       Tax Periods Beginning Before and Ending After the Closing Date. The
            Buyer shall prepare or cause to be prepared and file or cause to be filed any Tax Returns relating
            to the Purchased Assets for Tax periods which begin before the Closing Date and end after the
            Closing Date. The Buyer shall permit the Seller to review and comment on each such Tax Return


                                                                 29
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13   Page 55 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            described in the preceding sentence prior to filing for no more than five (5) business days. The
            Buyer and the Seller shall attempt in good faith to resolve any disagreements regarding such Tax
            Returns; provided, however, that the final decision regarding any such Tax Return shall rest with
            the Buyer. The Seller shall pay to the Buyer within fifteen (15) days after the date on which Taxes
            are paid with respect to such periods an amount equal to the portion of such Taxes that is
            attributable to the Pre-Closing Tax Period. The Buyer shall pay to the Seller the amount, if any,
            by which Taxes prepaid by the Seller exceeds the portion of such Taxes that is attributable to the
            Pre-Closing Tax Period.

            SECTION VIII.4.         Allocation of Purchase Price to Purchased Assets Transferred on or after the
            Closing Date. The Buyer and the Seller agree to allocate the Purchase Price (including the amount
            of all capitalizable costs) among the Purchased Assets for all purposes (including financial
            accounting and tax purposes) in accordance with the allocation Schedule attached as
            Schedule 10.4, which allocation shall be prepared by the Buyer within ninety (90) days after the
            Closing Date. The Buyer and the Seller, in connection with their respective U.S. federal, state and
            local Tax Returns and other filings (including without limitation Internal Revenue Service Form
            8594), shall not take any position inconsistent with such treatment and allocation. Any adjustment
            to the Purchase Price shall be allocated as provided in Treas. Regulation § 1.1060-1(c).

            SECTION VIII.5.           Cooperation on Tax Matters.

            (a)     The Buyer and the Seller shall cooperate fully, as and to the extent reasonably requested
            by the other party, in connection with the filing of Tax Returns and the application for Tax refunds
            and credits pursuant to this Article X and any audit, litigation or other proceeding with respect to
            Taxes relating to the Purchased Assets. Such cooperation shall include the retention and (upon the
            other party's request) the provision of records and information relating to the Purchased Assets
            which are reasonably relevant to any such audit, litigation or other proceeding relating to the
            Purchased Assets and making employees available on a mutually convenient basis to provide
            additional information and explanation of any material provided hereunder. The Seller agrees
            (A) to retain all books and records with respect to Tax matters pertinent to the Purchased Assets
            relating to any taxable period beginning before the Closing Date until the expiration of the statute
            of limitations (and, to the extent notified by the Buyer, any extensions thereof) of the respective
            taxable periods, and to abide by all record retention agreements entered into with any taxing
            Authority, and (B) to give the other party reasonable written notice prior to transferring, destroying
            or discarding any such books and records and, if the other party so requests, the Seller or Buyer,
            as the case may be, shall allow the other party to take possession of such books and records.

            (b)     The Buyer and the Seller further agree, upon request, to use their reasonable efforts to
            obtain any certificate or other document from any governmental Authority or any other Person as
            may be necessary to mitigate, reduce or eliminate any Tax relating to the Purchased Assets that
            could be imposed (including, but not limited to, with respect to the transactions contemplated
            hereby).

            SECTION VIII.6.      Certain Taxes. All transfer, documentary, sales, use, stamp, registration and
            other such Taxes and fees (including any penalties and interest) incurred in connection with this
            Agreement, shall be paid by the Seller when due, and the Seller will, at its own expense, file all
            necessary Tax Returns and other documentation with respect to all such transfer, documentary,


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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13         Page 56 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            sales, use, stamp, registration and other Taxes and fees, and, if required by applicable Law, Buyer
            will, and will cause its affiliates to, join in the execution of any such Tax Returns and other
            documentation.

                                                             ARTICLE IX

                                                             TERMINATION

            SECTION IX.1.       Termination of Agreement. Certain of the parties may terminate this
            Agreement as provided below:

            (a)     the Buyer and Seller may terminate this Agreement by mutual written consent at any time
            prior to the Closing;

            (b)     the Buyer may terminate this Agreement by giving written notice to Seller at any time prior
            to the Closing in the event (i) Seller has breached any representation, warranty, or covenant
            contained in this Agreement in any material respect and such breach remains uncured for a period
            of ten (10) days after receipt of such notice, or (ii) the Closing shall not have occurred on or before
            August 15, 2023;

            (c)     the Seller may terminate this Agreement by giving written notice to Buyer at any time prior
            to the Closing in the event Buyer has breached any representation or warranty contained in this
            Agreement in any material respect and such breach remains uncured for a period of ten (10) days
            after receipt of such notice, or if the Closing shall not have occurred on or before December 31,
            2023 due to an uncured breach of this Agreement by Buyer;

            (d)      [reserved];

            (e)    the Buyer may terminate this Agreement by giving written notice to Seller at any time prior
            to the Closing in the event Seller's Chapter 11 is converted to a case under Chapter 7 of the
            Bankruptcy Code; and

            (f)     the Seller may terminate this Agreement by giving written notice to Buyer in the event (x)
            all conditions to the obligation of Buyer to consummate the transactions contemplated hereby and
            set forth in this Agreement, including without limitation those conditions set forth in Article VII
            hereof, have been satisfied by Seller and (y) Buyer does not consummate such transactions within
            five (5) business days of such date.
            (g)     the Buyer (or Seller, provided it pays the amounts due Buyer pursuant to Section 12.1) may
            terminate this Agreement by giving written notice to the Seller at any time prior to the Closing in
            the event a qualified Acquisition Proposal (as provided in the Sale Procedures Order) has been
            timely submitted and Buyer (x) has not delivered a Topping Offer to Seller at any time prior to the
            deadline set forth in the Sale Procedures Order or (y) has delivered a Topping Offer to Seller at
            any time prior to the deadline set forth in the sale Procedures Order which Seller, in either case,
            has determined, in its sole and absolute discretion, not to be equal to or better than all Acquisition
            Proposals.
            SECTION IX.2.         Effect of Termination. If any party terminates this Agreement pursuant to
            Section 11.1 above, all rights and obligations of the parties hereunder shall terminate other than

                                                                 31
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13      Page 57 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            those set forth in Sections 5.10 (Confidentiality) and 12.1 (Expenses), without any Liability of any
            party to any other party (except for any Liability of any party then in breach).

                                                             ARTICLE X

                                                        MISCELLANEOUS

            SECTION X.1.             Expenses. Except as otherwise provided herein, each party will bear his or
            its own costs and expenses (including legal fees and expenses or expenses of other representatives
            and consultants) incurred in connection with this Agreement and the transactions contemplated
            hereby (whether consummated or not) other than as specifically set forth herein. Seller shall pay
            all transfer taxes arising as a result of the transactions contemplated hereby.

            SECTION X.2.             Press Releases and Public Announcements. No party shall issue any press
            release or make any public announcement relating to the subject matter of this Agreement without
            the prior written approval of the Buyer; provided, however, that any party may make any public
            disclosure it believes in good faith is required by applicable Law or any listing or trading agreement
            concerning its publicly traded        securities (in which case the disclosing party will use its best
            efforts to advise the other parties prior to making the disclosure).

            SECTION X.3.           No Third-Party Beneficiaries. Subject to the provisions of Section 12.5,
            this Agreement shall not confer any rights or remedies upon any Person other than the parties and
            their respective successors and permitted assigns.

            SECTION X.4.            Entire Agreement. This Agreement (including the Sale Order and all
            documents attached hereto) constitutes the entire agreement among the parties and supersedes any
            prior understandings, agreements, or representations by or among the parties, written or oral, to
            the extent they related in any way to the subject matter hereof.

            SECTION X.5.            Succession and Assignment. This Agreement shall be binding upon and
            inure to the benefit of the parties named herein and their respective successors and permitted
            assigns. No party may assign either this Agreement or any of his or its rights, interests, or
            obligations hereunder without the prior written approval of the Buyer and Seller; provided,
            however, that the Buyer may, upon prior written notice but without the consent of the Seller, (i)
            grant a security interest in respect of its rights hereunder to its lenders and (ii) transfer and assign
            this Agreement and its rights and obligations hereunder to a newly created corporation or other
            business entity, under the control of, or under common control with, Buyer. No such transfer or
            assignment shall relieve Alexander Enterprises, Inc. of its obligations hereunder.

            SECTION X.6.           Counterparts. This Agreement may be executed in one or more counterparts
            and by facsimile, each counterpart of which shall be deemed an original but all of which together
            will constitute one and the same instrument.

            SECTION X.7.        Headings. The Section headings contained in this Agreement are inserted
            for convenience only and shall not affect in any way the meaning or interpretation of this
            Agreement.




                                                                 32
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                     Entered 06/23/23 03:38:13       Page 58 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION X.8.           Notices. All notices, requests, demands, claims, and other communications
            hereunder will be in writing. Any notice, request, demand, claim, or other communication
            hereunder shall be deemed duly given or received (i) when delivered if delivery personally
            (including by courier); (ii) two business days after it is sent by registered or certified mail, return
            receipt requested, postage prepaid; (iii) on the day after mailing if sent by a nationally-recognized
            overnight delivery service which maintains records of the time, place and recipient of delivery,
            and in each case addressed to the intended recipient as set forth below:

            (a)      If to Buyer, addressed as follows:

            Auxo Investment Partners, LLC
            38 Commerce Ave SW
            Grand Rapids, Michigan 49503
            Attention: Jeff Helminski
            jhelminski@auxopartners.com
            Phone: (616) 980-9811

            with a copy to:

            Miller, Johnson, Snell & Cummiskey, PLC
            250 Monroe Ave., N.W.
            Suite 800
            Grand Rapids, Michigan 49503-2250
            Attention: Bob Wolford
            wolfordr@millerjohnson.com
            Phone: (616) 831-1726

            and

            (b)      If to the Seller, addressed as follows:

            Robert Bassel via email only bbassel@gmail.com


            Any party may send any notice, request, demand, claim, or other communication hereunder to the
            intended recipient at the address set forth above using any other means (including personal
            delivery, expedited courier, messenger service, telecopy, ordinary mail, or electronic mail), but no
            such notice, request, demand, claim, or other communication shall be deemed to have been duly
            given unless and until it actually is received by the intended recipient. Any party may change the
            address to which notices, requests, demands, claims, and other communications hereunder are to
            be delivered by giving the other parties notice in the manner herein set forth.

            SECTION X.9.            Governing Law. This Agreement shall be governed by and construed in
            accordance with the domestic Laws of the State of Michigan without giving effect to any choice
            or conflict of Law provision or rule that would cause the application of the Laws of any jurisdiction
            other than the State of Michigan.




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            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                   Entered 06/23/23 03:38:13        Page 59 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            SECTION X.10.          Amendments and Waivers. No amendment of any provision of this
            Agreement shall be valid unless the same shall be in writing and signed by the Buyer and Seller.
            No waiver by any party of any default, misrepresentation, or breach of warranty or covenant
            hereunder, whether intentional or not, shall be deemed to extend to any prior or subsequent default,
            misrepresentation, or breach of warranty or covenant hereunder or affect in any way any rights
            arising by virtue of any prior or subsequent such occurrence.

            SECTION X.11.           Severability. Except for any instance which would otherwise violate the
            Sale Order, any term or provision of this Agreement that is invalid or unenforceable in any
            situation in any jurisdiction shall not affect the validity or enforceability of the remaining terms
            and provisions hereof or the validity or enforceability of the offending term or provision in any
            other situation or in any other jurisdiction.

            SECTION X.12.          Construction. The parties have participated jointly in the negotiation and
            drafting of this Agreement. In the event an ambiguity or question of intent or interpretation arises,
            this Agreement shall be construed as if drafted jointly by the parties and no presumption or burden
            of proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the
            provisions of this Agreement. Any reference to any federal, state, local, or foreign statute or Law
            shall be deemed also to refer to all rules and regulations promulgated thereunder, unless the context
            requires otherwise. The word "including" shall mean including without limitation.

            SECTION X.13.          Incorporation of Exhibits and Schedules. The Exhibits and Schedules
            identified in this Agreement are incorporated herein by reference and made a part hereof.

            SECTION X.14.           Submission to Jurisdiction. Each of the parties submits to the jurisdiction
            of the Bankruptcy Court in any action or proceeding arising out of or relating to this Agreement
            and agrees that all claims in respect of the action or proceeding may be heard and determined in
            any such court; provided, however, if the Bankruptcy Court refuses to accept jurisdiction, then any
            state or federal court located in Michigan shall have jurisdiction. Each party also agrees not to
            bring any action or proceeding arising out of or relating to this Agreement in any other court. Each
            of the parties waives any defense of inconvenient forum to the maintenance of any action or
            proceeding so brought and waives any bond, surety, or other security that might be required of any
            other party with respect thereto. Any party may make service on any other party by sending or
            delivering a copy of the process to the party to be served at the address and in the manner provided
            for the giving of notices in Section 12.8 above. Nothing in this Section 12.14, however, shall affect
            the right of any party to bring any action or proceeding arising out of or relating to this Agreement
            in any other court or to serve legal process in any other manner permitted by law or at equity. Each
            party agrees that a final judgment in any action or proceeding so brought shall be conclusive and
            may be enforced by suit on the judgment or in any other manner provided by law or at equity.

            SECTION X.15.          Backup Bid. If Buyer submits the Backup Bid (as defined in an Exhibit to
            the Sale Order), Buyer shall keep its offer open under this Agreement for thirty (30) days after
            June 30, 2023, so long as a Closing with Buyer occurs within such 30-day period. This Section
            12.15 shall survive the termination of this Agreement.

            SECTION X.16.           Jury Trial Waiver. To the maximum extent permitted by Law, Buyer and
            Seller waive their respective rights, if any, to a jury trial of any claim, controversy, dispute or cause


                                                               34
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            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                   Entered 06/23/23 03:38:13          Page 60 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            of action directly or indirectly based upon or arising out of this Agreement or any of the
            transactions contemplated by this Agreement, including contract claims, tort claims, breach of duty
            claims, and all other common law or statutory claims. Buyer and Seller represent that each has
            reviewed this waiver and each knowingly and voluntarily waives its jury trial rights following
            consultation with legal counsel.




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            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13       Page 61 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




            IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first
            above written.

            AUXO INVESTMENT PARTNERS, LLC

            By:______________________________________
            Name: Brian Dora
            Title: Principal



            ARK LABORATORY, LLC


            By:______________________________________
            Name: James Grossi, subject to Bankruptcy Court approval and attachment of agreed Schedules
            and Exhibits
            Title:




                                                             36
            Error! Unknown document
            23-43403-mlo       Doc property name. 06/23/23
                                    145 Filed                 Entered 06/23/23 03:38:13   Page 62 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             EXHIBIT A




                                        Form of Assignment and Assumption Agreement




            Error! Unknown document property name.
            23-43403-mlo         Doc 145      Filed 06/23/23     Entered 06/23/23 03:38:13   Page 63 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             EXHIBIT B




                                                        Form of Bill of Sale




            Error! Unknown document property name.
            23-43403-mlo         Doc 145      Filed 06/23/23     Entered 06/23/23 03:38:13   Page 64 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             EXHIBIT C




                                                        Form of Sale Order




            Error! Unknown document property name.
            23-43403-mlo         Doc 145      Filed 06/23/23     Entered 06/23/23 03:38:13   Page 65 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             EXHIBIT D




                                                               Lease




            Error! Unknown document property name.
            23-43403-mlo         Doc 145      Filed 06/23/23     Entered 06/23/23 03:38:13   Page 66 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             EXHIBIT E




                                                       Sale Procedures Order




            Error! Unknown document property name.
            23-43403-mlo         Doc 145      Filed 06/23/23     Entered 06/23/23 03:38:13   Page 67 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             SCHEDULE A




                                                             Excluded Assets



                                                       None




            Error! Unknown document property name.
            23-43403-mlo         Doc 145      Filed 06/23/23        Entered 06/23/23 03:38:13   Page 68 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             SCHEDULE B




                                                             Purchased Assets




                       All assets owned by Debtor, including, but not
                       limited to, the attached:




            Error! Unknown document property name.
            23-43403-mlo         Doc 145      Filed 06/23/23        Entered 06/23/23 03:38:13   Page 69 of 136
Fill in this information to identify the case:

Debtor name          Ark Laboratory, LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF MICHIGAN

Case number (if known)        23-43403-MLO
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Comerica                                          checking                              5687                                 $100,272.30




           3.2.     Huntington                                        cnecking                              7845                                        $755.00



                    Comerica, gets swept to other
           3.3.     Comerica account daily                            checking                              5695                                           $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $101,027.30
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                      page 1


           23-43403-mlo             Doc 145         Filed 06/23/23            Entered 06/23/23 03:38:13                       Page 70 of 136
Debtor            Ark Laboratory, LLC                                                        Case number (If known) 23-43403-MLO
                  Name

           Description, including name of holder of prepayment


           8.1.     Newbsknob, 2 months prepaid                                                                                          $5,750.00




9.         Total of Part 2.                                                                                                           $5,750.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                  6,901,899.76      -                         3,582,142.30 = ....                $3,319,757.46
                                        face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                   10,178,570.27       -                        6,007,510.84 =....                  $4,171,059.43
                                        face amount                            doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                      $7,490,816.89
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last              Net book value of         Valuation method used   Current value of
                                              physical inventory            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies
           consumable supplies
           used in testing                    4/7/2023                              $581,697.89                                        $581,697.89




23.        Total of Part 5.                                                                                                        $581,697.89
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                        page 2

           23-43403-mlo                Doc 145        Filed 06/23/23            Entered 06/23/23 03:38:13               Page 71 of 136
Debtor       Ark Laboratory, LLC                                                            Case number (If known) 23-43403-MLO
             Name


           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                10,388.08 Valuation method        cost               Current Value                  10,388.08

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures
          office fixtures                                                          $54,872.03       Book Value/Stra                   $54,872.03



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          office equipment                                                           $6,619.79      Book Value/Stra                    $6,619.79



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $61,491.82
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3

          23-43403-mlo             Doc 145          Filed 06/23/23             Entered 06/23/23 03:38:13              Page 72 of 136
Debtor       Ark Laboratory, LLC                                                         Case number (If known) 23-43403-MLO
             Name

          General description                                          Net book value of             Valuation method used    Current value of
          Include year, make, model, and identification numbers        debtor's interest             for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                                (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          other machinery                                                    $2,375,750.53           Book value Strai                $2,375,750.53



51.       Total of Part 8.                                                                                                       $2,375,750.53
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. 6620 Highland Road,
                  leasehold
                  improvements                                                 $479,656.87                                             $479,656.87




56.       Total of Part 9.                                                                                                           $479,656.87
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 4

          23-43403-mlo             Doc 145         Filed 06/23/23           Entered 06/23/23 03:38:13                   Page 73 of 136
Debtor        Ark Laboratory, LLC                                                          Case number (If known) 23-43403-MLO
              Name


            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill
           good will, intellectual property, etc.                                        $0.00                                        Unknown



66.        Total of Part 10.                                                                                                 unknown$0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5

           23-43403-mlo             Doc 145          Filed 06/23/23          Entered 06/23/23 03:38:13               Page 74 of 136
Debtor          Ark Laboratory, LLC                                                                                 Case number (If known) 23-43403-MLO
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $101,027.30

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $5,750.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $7,490,816.89

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $581,697.89

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $61,491.82

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,375,750.53

88. Real property. Copy line 56, Part 9.........................................................................................>                        $479,656.87

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $0.00
                                                                                                                      unknown
90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                       $10,616,534.43             + 91b.              $479,656.87


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $11,096,191.30




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6

           23-43403-mlo                     Doc 145               Filed 06/23/23                    Entered 06/23/23 03:38:13                      Page 75 of 136
DocuSign Envelope ID: 7A32E6DA-2666-4B33-9382-58A5581A54DB




                                                             SCHEDULE C




                                                        Assumed Contracts




            Error! Unknown document property name.
            23-43403-mlo
            MJ_DMS 36398684v13Doc 145         Filed 06/23/23     Entered 06/23/23 03:38:13   Page 76 of 136
Lessor Name and Address                   Purpose (Reason for contract)     Ini al Term of Agreement   Term remaining (in months)   Monthly Contracted Amount
Abbo Laboratories INC., D-943, CP1-4
                                          IMS So ware - Ordering System for
100 Abbo Park Road                                                          10/8/2020                  29 Months                    $1,063.98
                                          Reagents (Serial RLQYY-58664)
Abbo Park, Illinois 60064-6095
Allscripts
305 Church at North Hills St              EMR Interface                     NA                         NA                           $1,200/year
Raleigh, NC 27609
Amazing Charts
1600 Division Rd, Suite 2000              EMR Interface                     NA                         NA                           $772.56/year
West Warwick, RI 02893
                                                                                                                                    $2,500 monthly minimum
Arkstone Medical Solu ons, LLC                                                                                                      Price Per Report
7000 W Palme o Park Road                  Molecular Reports                 NA                         NA                           500 or fewer = $25 per report
Boca Raton, FL 33433                                                                                                                1000 or fewer = $22.50 per report
                                                                                                                                    1500 or fewer = $20 per report
Atlassian, Inc.
                                                                                                                                    Es mated $600/month
350 Bush St. Floor 13                     Informa on Technology So ware     NA                         NA
San Francisco, CA 94104
Bio-Rad
                                          Bio-rad Unity So ware and Unity
2000 Alfred Nobel Drive                                                                                                             $2480.00 (Yearly subscrip on)
                                          Connect
Hercules, CA 94547
Comcast Business Agreement
                                                                                                                                    120.00/mo for mo. 1-24;
5728 Schaefer Rd. Ste 203 Dearborn MI     Internet for Dearborn Drawsta on 36 months
                                                                                                                                    150.00/mo for months 25-36.
48126                                                                                                  25 months
Comcast Business Agreement 6620
                                          Internet for Lab Building         36 months                  30 Months                    210.00/mo for mo. 1-24; Then 264.95/a er per mo.
HIghland Rd. STE 200 Waterford MI 48327
Data Innova ons, LLC                      EP Evaluator So ware - for COLA
PO Box 101978                             requirements (License             9/15/2022                  5 Months                     $1590.00 (Yearly subscrip on)
Atlanta, GA 30392-1978                    SUB-0017828)
Ellkay, LLC
200 Riverfront Blvd., 3rd Floor           EMR Interface                     NA                         NA                           $1,440/year
Elmwood Park, NJ 07407
eMDs, Inc.
10901 Stonelake Blvd #200                 EMR Interface                     NA                         NA                           $1,397.35/year
Aus n, TX 10901
LabSo Inc.                                                                                                                          $950 per year per customer,
2202 Westshore Blvd. Ste 115              EMR Interface                     NA                         NA                           which is paid up front OR
Tampa, FL 33607                                                                                                                     $95/month
                                                                                                                                    $125/month per client interface
                                                                                                                                    $200/month LP Results
Lifepoint Informa cs
                                                                                                                                    $250/month LP Orders
65 Harristown Rd.                         EMR Interface Middleware          NA                         NA
                                                                                                                                    $300/month LP hos ng fee
Glen Rock, NJ 07452
                                                                                                                                    $200/month implementa on fee
                                                                                                                                    $350/month ref lab fee
Medent Lab Clearinghouse Interface
15 Hulbert St. P.O. Box 980               EMR Interface                     NA                         NA                           $50/month
Auburn, NY 13021


                             23-43403-mlo             Doc 145         Filed 06/23/23       Entered 06/23/23 03:38:13                Page 77 of 136
Lessor Name and Address                      Purpose (Reason for contract)    Ini al Term of Agreement   Term remaining (in months)   Monthly Contracted Amount
                                                                                                                                      Azure = $1,405.72/month
                                                                                                                                      Azure Backup = $175.06/month
                                                                                                                                      Business Premium =
                                                                                                                                      $1,396.70/every 3 months
Microso Corpora on
                                                                                                                                      Power BI = $76.70/month
One Microso Way                              Oﬃce So ware/Interfaces          NA                         NA
                                                                                                                                      Visio = $57.24/month
Redmond, WA 98052
                                                                                                                                      365 F1 = $271.55/month
                                                                                                                                      Apps for Business =
                                                                                                                                      $230.19/every 3 months
                                                                                                                                      Exchange = $4/month
Netaly cs, LLC
                                                                                                                                      $100/clinic/month OR
52 Bobo St.                                  EMR Interface                    NA                         NA
                                                                                                                                      $750/month unlimited clinics
Greer, SC 29650
Orchard So ware Corpora on
701 Congressional Blvd. Ste 360 Carmel, IN   Laboratory Informa on System     3/13/2020                  29 Months                    $12,000.00
46032
Orchard So ware Corpora on
701 Congressional Blvd. Ste 360 Carmel, IN   Purple Squirrel
46032
Orchard So ware Corpora on
                                             Service Level Agreement (SLA)/
701 Congressional Blvd. Ste 360 Carmel, IN                                    7/28/2021                  40 Months                    $13,500.00
                                             System Administra on
46032
                                                                                                                                      $2,200/month portal subscrip on
                                                                                                                                      Price per report
Transla onal So ware Incorporated
                                                                                                                                      1-100 = $25 per report
7683 SE 27th Street #352                     Pgx Reports                      NA                         NA
                                                                                                                                      101-250 = $23 per report
Mercer Island, WA 98040
                                                                                                                                      251-500 = $20 per report
                                                                                                                                      501-1000 = $15.00 per report
Triarq Health
424 E 4th Street                             EMR Interface                    NA                         NA                           $948/year
Royal Oak, MI 48067




                              23-43403-mlo              Doc 145         Filed 06/23/23       Entered 06/23/23 03:38:13                Page 78 of 136
Lessor Name and Address           Purpose (Reason for contract)     Ini al Term of Agreement    Term remaining ( in months)        Monthly Contracted Amount
Dr. Fredric Neumann Sr.           Collec on Lease                   1 year ini al; Evergreen                                  10                         871.80
39880 VanDyke Rd Sterling
Heights, MI 48313


Easter Seals listed but has not
been paid since Sept. 2022
Li le Sonia Real Estate LLC       Collec on Lease                   3 years; Evergreen                                        30                        1698.75
9171 Lapeer Road, Suite 100,
Davison MI 48423
Medical Real Estate Group LLC
29580 Northwestern Hwy Suite
1000 Southﬁeld MI 48034           Space Lease; Lab Building         Laboratory                  19 months                                             16,542.46
Newbsknob, LLC
6310 Sashabaw Rd. Clarkston, MI
48346                             Collec on lease                   3 years ini al; Evergreen   Ini al term: 0. In 4th year now                         2875.00
Younis Enterprises
5728 Schaefer Rd. Dearborn MI
48126                             Collec on Lease                   3 years, Evergreen                                        25                        5001.95




                        23-43403-mlo          Doc 145         Filed 06/23/23     Entered 06/23/23 03:38:13          Page 79 of 136
Lessor Name and Address                  Purpose (Reason for contract)         Ini al Term of Agreement     Term remaining ( in months)   Monthly Contracted Amount
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT1 Service (BJ27141507)        10/1/2022                    5 Months                      $2,083.80
REDWOOD CITY, CA 94065-1217
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT2 Service (BB214211608)       10/1/2022                    5 Months                      $2,083.80
REDWOOD CITY, CA 94065-1218
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT3 Service (AU20440906?)       10/1/2022                    5 Months                      $2,083.80
REDWOOD CITY, CA 94065-1219
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT4 Service (AU10870902)        10/1/2022                    5 Months                      $2,083.80
REDWOOD CITY, CA 94065-1220
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT5 Service (AU215091405)       10/1/2022                    5 Months                      $2,083.80
REDWOOD CITY, CA 94065-1221
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT6 Service (BI25161411)        10/1/2022                    5 Months                      $3,129.11
REDWOOD CITY, CA 94065-1222
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT7 Service (BB24521208)        10/1/2022                    5 Months                      $2,083.80
REDWOOD CITY, CA 94065-1223
AB SCIEX LLC 1201 Radio Rd
                                         SciEx UT8 Service (
REDWOOD CITY, CA 94065-1224
Abbo Clinical Lab Solu ons
5990 142nd Ave. N                        Immunalysis Reagents on AU680
Clearwater, FL 33760                                                           8/31/2022                    4 Months                      Commi ed Tests Per Month: 130,000
Abbo Laboratories INC., D-942, CP1-4
100 Abbo Park Road                       Alinity c Service (AC03064)           3/24/2023                    23 Months                     $1,213
Abbo Park, Illinois 60064-6095
Abbo Laboratories INC., D-942, CP1-4
                                         Alinity i Service (2 instruments,
100 Abbo Park Road                                                             3/24/2023                    23 Months                     $2,426
                                         AI21541 and AI03890)
Abbo Park, Illinois 60064-6095
Abbo Laboratories INC., D-942, CP1-4
100 Abbo Park Road                       Architect c8000 Service (C804864)     3/24/2023                    23 Months                     $1,125
Abbo Park, Illinois 60064-6095
Abbo Laboratories INC., D-942, CP1-4
                                         Abbo Master Agreement (Reagents                                                                  Annual Product Commitment: $441,632
100 Abbo Park Road                                                             3/24/2023                    23 Months
                                         and Consumables)                                                                                 Consumable U liza on Es mate: $154,851
Abbo Park, Illinois 60064-6095
Abbo Laboratories, Inc., 1300 East
Touhy Avenue, Des Plaines, IL. 60018     Alinity m Master Agreement                               3/15/2023 4 years                       Annual Purchase Commitment: 1,291,679.69, Service: 3441.67 / month
Agena Bioscience, 4755 Eastgate Mall,
San Diego, CA 92121                      Service Agreement: PR20031657                            3/17/2023 12 months                     3036.67 (we have not formally renewed)
Beckman Coulter INC.
Mail Stop A2-SW-12
                                         Beckman Coulter AU680 Service
250 South Kraemer Blvd                                                         9/1/2022                     4 Months                      $1,638.88
                                         (2014103536, 7982698)
P.O. Box 8000
Brea, CA 92822-8000
Evoqua Water Technologies
                                         Service for Medica 120 Unit, Media 60
1451 East 9 Mile Road                                                          7/31/2022                    3 Months                      $1,508.83
                                         Unit and Flex 90 Unit
Hazel Park, MI 48030
Leasing Associates of Barrington, Inc.
220 North River Street, East Dundee, IL.
60118                                    Sysmex UN-3000 Lease                                     3/24/2021 60 Months                                                                                     2270
Life Technologies Corpora on, 5781
Van Allen Way Carlsbad, CA 92008         Quantstudio 5 Service Agreement                         11/25/2022 12 months                                                                                  1108.34
Med Water Systems, 2262 South 1200
West Suite 101, Woods Cross, UT.
84087                                    MW90 (HP) Lease                                           7/1/2022 12 months (auto renew)                                                                         355


                                 23-43403-mlo               Doc 145          Filed 06/23/23              Entered 06/23/23 03:38:13                    Page 80 of 136
Microgenics Corpora on
46500 Kato Road, Fremont, CA 94538    Thermo/Microgenics Reagents        3/1/2023                    23 Months        Monthly Est. Reagent Purchase Commitment: $3,665
Siemens Healthcare Diagnos cs, Inc.   Sysmex CA-620 and CA-660 Service
2089 Gregson Drive, Cary, NC. 27511   Agreement                                             6/3/2022 7 Years                                                             1190.03
Sysmex America, Inc., 577 Aptakisic
Road, Lincolnshire, IL. 60069         Sysmex XN-550 Service Agreement                      5/11/2022 12 Months                                                            580.13
Sysmex America, Inc., 577 Aptakisic
Road, Lincolnshire, IL. 60069         Sysmex UN-3000 Service Agreement                     6/25/2022 12 Months                                                           1835.53
                                      Alinity ci Lease
                                      Architect c8000 Owned?
                                      Alinity i Owned?
                                      SciEx UT1 (BJ27141507)             Owned or lease?
                                      SciEx UT2 (BB214211608)            Owned or lease?
                                      SciEx UT3 (AU20440906?)            Owned or lease?
                                      SciEx UT4 (AU10870902)             Owned or lease?
                                      SciEx UT5 (AU215091405)            Owned or lease?
                                      SciEx UT6 (BI25161411)             Owned or lease?
                                      SciEx UT7 (BB24521208)             Owned or lease?
                                      SciEx UT8 (Serial Number?)         Owned or lease?




                                23-43403-mlo             Doc 145         Filed 06/23/23            Entered 06/23/23 03:38:13      Page 81 of 136
Lessor Name and Address                 Purpose (Reason for contract)        Ini al Term of Agreement   Term remaining (in months)     Monthly Contracted Amount
Amro Almradi MDPC PLLC
612 Deauville Ln. Bloomﬁeld Hills, MI
48304                                   Laboratory Medical Director          Unknown                    Unknown                        $               3,000.00
                                                                                                                                       Unknown, based on hours
Avairis                                 IT Interface Consultant              1 year, Evergreen          Complete, month to month now   worked
The Sports Marke ng Agency              Laboratory Marke ng Agreement        1 year, Evergreen          12 months




                              23-43403-mlo         Doc 145            Filed 06/23/23      Entered 06/23/23 03:38:13         Page 82 of 136
Lessor Name and Address                     Purpose (Reason for contract)                            Ini al Term of Agreement Term remaining (in months) Monthly Contracted Amount
Cintas                                      Lab Coats and Rugs
Cintas Fire Protec on Services              Fire Protec on                                           1 year; Evergreen       2 months. Year to Year    Annually ~1200.00
                                                                                                                                                       Depends on test volume and
Clarity X                                   Referral Lab Agreement                                   Ongoing                 Month to Month            type
CoreBioLabs                                 Referral Lab Agreement
                                                                                                                             1 month, then month to
Great Lakes Express Delivery LLC            Courier Transport services                               1 year; Evergreen       month
iCare                                       Remote Temperature monitoring systems                    Unknown                 Unknown
iOpen
1101 Pennsylvania Avenue, NW
Washington DC 20004                         Marke ng Services Agreement                              2years; Evergreen       20 months                 Unknown
Iron Mountain
1101 Enterprise Dr. Royersford, PA
19468                                       Document Storage                                         1 year; Evergreen       Month to Month            Varies based on storage
Lab Path Consul ng                          Compliance Consul ng                                     1 year; Evergreen       Month to Month                                      3,000
LabCorp
531 South Spring Street Burlington,                                                                                                                    Depends on test vol. and
North Carolina 27215                        Reference Laboratory                                     1 year; Evergreen       Month to Month            type sent
McLaren Medical Laboratory                                                                           1 year and then 2                                 Depends on test volume and
4000 S. Saginaw St. Flint MI 48507          Reference Laboratory Agreement                           addi onal years         28 months                 type
MedCare MSO
150 Washington Avenue Suite #201                                                                                                                       Varies based on claims billed
Santa Fe New Mexico 87501                   Laboratory Billing                                       1 year; Evergreen       4 months                  and age of claims
MedSpeed LLC
140 Industrial Drive, Elmhusrt, Ill 60126   Courier Transport services                               3 years                 25 months                 Various
Solaris
110 Dewey Dr. Suite A, Nicholasville,
Kentucky 40356                              Reference Laboratory                                     1 year; Evergreen       Month to Month            Depends on test vol. sent
Stericycle                                  Liquid Waste Removal                                     Unknown                 Unknown                   Should be a set price
Superior Medical Waste Disposal LLC                                                                                                                    Varies based on service levels
P.O. BOx 700797 Plymouth, MI 48170          Biohazard Waste Removal                                  3 years; Evergreen      6 months                  and loca ons
UPS                                         Transporta on Agreement                                  NO term                 Month to Month            Varies based on shipments




                                 23-43403-mlo              Doc 145          Filed 06/23/23   Entered 06/23/23 03:38:13           Page 83 of 136
                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                    Case No. 23-43403-mlo
                                                        Chapter 11
          Debtor.                                       Hon, Maria L. Oxholm
____________________________________/

   ORDER (1) APPROVING BIDDING PROCEDURES AND OTHER
MATTERS RELATING TO THE SALE OF THE DEBTORS’ ASSETS AND
THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS
    AND UNEXPIRED LEASES ; (2) FORM OF ASSET PURCHASE
          AGREEMENT; AND (3) SCHEDULING A SALE
         HEARING; AND GRANTING RELATED RELIEF

        Upon preliminary consideration of the motion (the “Sale Motion”) of Ark

Laboratory, LLC, debtor-in-possession in this chapter 11 case (the “Debtor”), for

the entry of an order authorizing and approving (i) bidding procedures, attached to

the Sale Motion as Exhibit C, form of asset purchase agreement, and certain other

matters relating to the Debtor’s intended sale of substantially all of its assets (the

“Property”) as more fully defined in the Asset Purchase Agreement dated June 2,

2023 (the “Agreement”) between the Debtor and Auxo Investment Partners, LLC

(“Auxo”), which is attached to the Sale Motion as Exhibit A; (ii) the sale (the

“Sale”) of the Property free and clear of liens, claims, interests and encumbrances;

and (iii) the assumption and assignment of executory contracts and unexpired

leases; this Court having determined that granting the preliminary relief requested




4878-2110-1674.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 84 of 136
in the Sale Motion, as it pertains to the preliminary relief approved in this Order, is

in the best interests of the Debtors, the estate and the Debtors’ creditors; that

proper and adequate notice of the Sale Motion has been given and that the Court

has jurisdiction over this matter pursuant to 27 U.S.C. §§1334 and 157; a hearing

having been held, the Court having reviewed the Motion and the Court having

found that (i) the Court has jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334; (ii) venue is proper in

this District pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core proceeding

pursuant to 28 U.S.C. § 157(6); (iv) notice of the Motion was sufficient under the

circumstances; and after due deliberation the Court having determined that the

relief requested in the Motion is in the best interests of the Debtor, its estate and its

creditors; and good and sufficient cause having been shown;

        AND THE COURT FURTHER FINDING AND DETERMINING THAT:

A.      The Debtor’s proposed notice of the Bidding Procedures, the Notice of

        Assumption and Assignment, the Auction and the hearing to approve any

        sale of the Debtor's Property (the "Sale Hearing") is appropriate and

        reasonably calculated to provide all interested parties with timely and proper

        notice, and no other or further notice is required.




                                               2
4878-2110-1674.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 85 of 136
B.      The Bidding Procedures substantially in the form attached to the Sale

        Motion as Exhibit C are fair, reasonable, and appropriate and are designed

        to maximize the recovery from the Sale of the Debtor’s Property.

C.      The findings and conclusions set forth herein constitute the Court's findings

        of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made

        applicable to this proceeding pursuant to Bankruptcy Rule 9014.

D.      To the extent any of the following findings of fact constitute conclusions of

        law, they are adopted as such. To the extent any of the following conclusions

        of law constitute findings of fact, they are adopted as such.

        IT IS HEREBY ORDERED THAT:

        1.          The Motion is GRANTED in all respects.

        2.          The Bidding Procedures attached to the Motion as Exhibit C are

        APPROVED.

        3.          The Bid Deadline shall be July 28, 2023, at 4:00 p.m. (prevailing

Eastern Time).

        4.          The Debtor, in conjunction with the Creditors’ Committee, shall have

the exclusive right to determine whether a bid is a Qualified Bid and shall notify

bidders whether their bids have been recognized as such prior to the Auction.1


1
 All rights granted in favor of the Debtor in these Bidding Procedures shall be
exercised in accordance with its fiduciary obligations.

                                                 3
4878-2110-1674.v2
23-43403-mlo          Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 86 of 136
        5.          The Auction, if necessary, shall be held on July 31, 2023, beginning

at 10:00 a.m. (prevailing Eastern Time), at the offices of Miller Johnson, 500

Woodward Avenue, Suite 2800, Detroit MI 48226, or such later time or other place

as the Debtor shall notify all Qualified Bidders who have submitted Qualified Bids,

or at such other later date, time and place as may be designated in writing by the

Debtor, in consultation with the Creditors’ Committee, and served on Qualified

Bidders via electronic mail, facsimile transmission, or overnight mail delivery.

        6.          The Sale Approval Hearing shall be held on August 3, 2023 at 11:00

a.m. (prevailing Eastern Time) before this Court, the U.S. Bankruptcy Court for the

Eastern District of Michigan, in the courtroom of the Honorable Maria L Oxholm,

18th Floor, 211 W. Fort Street, Detroit, Michigan 48226. or as soon thereafter as

counsel may be heard. Anyone having an objection to the Sale or to the entry of an

order approving the Successful Bid must be present if the hearing is an in-person

hearing. The deadline for any party to file an objection to the Sale or assumption

of contracts is July 27, 2023 at 4:00 p.m. (prevailing Eastern Time).

        7.          The Sale Approval Hearing may be adjourned from time-to-time

without further notice to creditors or parties-in-interest other than by

announcement of the adjournment in open court on the date scheduled for the Sale

Approval Hearing, and the Debtor, in consultation with the Creditors’ Committee,




                                                 4
4878-2110-1674.v2
23-43403-mlo          Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 87 of 136
shall have the exclusive right, in the exercise of its fiduciary obligations and

business judgment, to cancel the Sale at any time.

        8.          The Buyer (as defined in the Agreement) is approved as the "stalking

horse" bidder for the purchase of the Property, including the assumption and

assignment of certain executory contracts and unexpired leases described in the

Agreement. The Buyer’s bid for the Assets set forth in the Agreement, plus the

minimum overbid increment of $200,000 shall be the floor bid against which any

and all other bids shall be considered by the Debtor.

        9.          The following forms of notice are approved: (a) Notice of Sale

Procedures, Auction Date, and Sale Approval Hearing, in the form substantially

similar to that attached to the Motion as Exhibit D (the "Procedures Notice") and

(b) Notice of Intent to Assume and Assign Executory Contracts and Unexpired

Leases (the "Assumption and Assignment Notice"), in the form substantially

similar to that attached to the Motion as Exhibit E.

        10.         The Debtors will serve a copy of the Procedures Notice, together with

this Bidding Procedures Order, on the following parties: (a) the U.S. Trustee, (b)

counsel for Creditors’ Committee, (c) any parties requesting notices in this Case,

(d) all creditors or their counsel known to the Debtor to have asserted a lien

(including a security interest), claim, right, interest or encumbrance of record

against all or any portion of the Assets, (e) all parties who have expressed an


                                                 5
4878-2110-1674.v2
23-43403-mlo          Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 88 of 136
interest in purchasing the Assets (the "Potential Bidders"), and (f) the Matrix

(collectively, the "Notice Parties"). Receipt of such Notice of Sale shall constitute

notice of the Auction and the Sale Hearing for all purposes.

        11.         The Debtor shall serve, or cause to be served, the Procedures Notice

within one (1) business day following entry of this Order, by first-class U.S. mail,

overnight mail delivery, electronic mail, facsimile transmission, or the Court's ECF

notice system.

        12.         The Debtor will serve the Motion and the Assumption and

Assignment Notice upon each counterparty to executory contracts, leases and the

Limited Franchise Agreement, and their counsel (if known). The Assumption and

Assignment Notice will state the date, time and place of the Sale Approval Hearing

as well as the date by which any objection to the proposed assumption and

assignment must be filed and served.

        13.         If any counterparty objects for any reason to the assumption and

assignment an executory contract or unexpired lease proposed to be assumed and

assigned, the counterparty must file the objection by no later than (i) 4:00 p.m.

(prevailing Eastern Time) on July 27, 2023 or (ii) such date and time agreed

upon between the Debtor and such counterparty.

        14.         The Court shall retain jurisdiction over all matters arising from or

related to the interpretation and implementation of this Order. This Order shall be


                                                 6
4878-2110-1674.v2
23-43403-mlo          Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 89 of 136
effective immediately upon its entry, and the 10-day stay provided by F.R.Bankr.P.

6004(g) and 6006(d) is waived.




                                               7
4878-2110-1674.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 90 of 136
                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                     Case No. 23-43403-mlo
                                                         Chapter 11
          Debtor.                                        Hon, Maria L. Oxholm
____________________________________/


                                      Bid Procedures

Set forth below are the bid procedures (the “Bid Procedures” or “Bidding Process”)
to be used with respect to the prospective sale (the “Sale”) of substantially all of
the assets (the “Property”) owned by Ark Laboratory, LLC (the “Debtor”). The
Debtor will seek entry of an order from the Bankruptcy Court authorizing and
approving the Sale of the Property to the Qualified Bidder (as hereinafter defined)
that the Debtor determines to have made the highest or otherwise best offer to
purchase the Property (the “Successful Bidder”) in the exercise of their business
judgment, and after consultation with its legal and financial advisors, and the
Official Committee of Unsecured Creditors (the “Creditors’ Committee”).

                                     Assets to be Sold

The Debtor is offering for sale the Property as more fully described in the Asset
Purchase Agreement dated June 22, 2023 (the “Agreement”) with Auxo
Investment Partners, LLC (the “Stalking Horse”).

                                     Excluded Assets

The proposed sale includes only the Property as described in the Agreement. All
other assets of the Debtor (collectively, the “Excluded Assets”), will remain part of
the bankruptcy estate and in all likelihood be liquidated in accordance with the
Bankruptcy Code and Rules, any approved Plan of Reorganization or Liquidation,
further motion to sell those Excluded Assets, and the further orders of the Court.




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4887-6822-9482.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 91 of 136
                                   The Bidding Process

                               Participation Requirements

To participate in the Bidding Process, each person (a “Potential Bidder”) must
deliver to the Debtor no later than July 28, 2023 at 4:00 p.m. (prevailing time), an
executed Confidentiality and Non-Disclosure Agreement in form and substance
reasonably acceptable to the Debtors, which such Confidentiality and
Non-Disclosure Agreement shall be substantially the same as the Confidentiality
Agreement (as defined in the Agreement) in all material respects (collectively, the
“NDA”). At the same time that the Potential Bidder executes the NDA, the Debtor
shall allow the Potential Bidder to conduct due diligence with respect to the
Property sought to be acquired as hereinafter provided.

                                       Due Diligence

The Debtor shall immediately afford each Potential Bidder due diligence access to
the Property, including, but not limited to, access to any data room set up for
Potential Bidders. The Debtor will designate a representative to coordinate all
reasonable requests for additional due diligence from such bidders. Potential
Bidders will have the opportunity to review such due diligence at a location
designated by the Debtor. Neither the Debtor nor any of its representatives are
obligated to furnish any information relating to the Property to any person except
to a Potential Bidder under this Bidding Process. Bidders are advised to exercise
their own discretion before relying on any information regarding the Property
provided by anyone other than the Debtor or its representatives.

                                       Bid Deadline

A Potential Bidder that desires to make a bid shall deliver a written copy of its bid
to Debtor and Debtor’s counsel, not later than July 28, 2023, at 4:00 p.m. Eastern
Time (the “Bid Deadline”) via email at bbassel@gmail.com (other than the Deposit
referenced below), and contemporaneously distribute copies of the bids via email
to (i) the United States Trustee, Ronna.G.Jackson@usdoj.gov; (ii) counsel to the
Creditors’ Committee, jgmiller@taftlaw.com and rkruger@taftlaw.com; and (iii)
counsel for the Stalking Horse, wolfordr@millerjohnson.com.            The Stalking
Horse, having already submitted a bid in the form of its entry into the Agreement,
shall not be required to submit a bid, but may submit an additional bid in response
to the bid of any other Potential Bidder on or before the Bid Deadline. To the
extent the Stalking Horse submits an additional bid in response to the bid of any
other Potential Bidder, the Debtor shall share the terms of such additional bid of

                                               2
4887-6822-9482.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 92 of 136
the Stalking Horse with other Potential Bidders and the Creditors’ Committee-.
The Debtor, in consultation with the Creditors’ Committee, may extend the Bid
Deadline once or successively, but is not obligated to do so.

                                    Bid Requirements

All bids must include the following documents (the “Required Bid Documents”):

●     A letter stating that the bidder’s offer is irrevocable until 30 days after the
Sale Hearing, currently scheduled for August 3, 2023, and that the Bidder agrees to
be bound by such offer if its bid is the Back Up Bid, as defined herein, until such
30- day period has passed;

●       An executed copy of an asset purchase agreement in a form substantially the
same as the Agreement. Any changes to the Agreement or to the proposed
structure of the transaction must be (a) made to and marked on such form of
agreement or otherwise provided in writing as part of the Required Bid Documents
and (b) agreed to by the Debtor. The asset purchase agreement must set forth a
cash bid at least $200,000 in excess of the Purchase Price, as defined in the
Agreement, cannot contain any consideration other than cash and assumption of
liabilities of the Debtor, and shall not be subject to any financing or other
conditions not set forth in the Agreement.

●      A good faith deposit (the “Deposit”) in the form of a cashier's check or wire
transfer (or other form acceptable to the Debtor in its sole discretion) payable to the
order of the Debtor’s Bankruptcy Estate, ℅ its financial advisor, O’Keefe &
Associates, (or such other party as the Debtors may designate) in the amount of
$200,000.

●     Written evidence of a commitment for financing or other evidence of ability
to consummate the proposed transaction satisfactory to the Debtor, after
consultation with the Creditors’ Committee.

●     Written acknowledgment that the bid is not subject to due diligence review,
board approval, obtaining financing, or the receipt of any non-governmental
consents.

Notwithstanding anything to the contrary herein, a Potential Bidder may submit a
proposal for an alternative transaction that includes economic terms that would
enable the Debtor, in consultation with the Creditors’ Committee, to make a
meaningful comparison of such bid with other Qualified Bids.


                                               3
4887-6822-9482.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 93 of 136
After reviewing all of the materials required above, the Debtor, in consultation
with the Creditors’ Committee, shall determine, and shall notify the Potential
Bidder whether it is a Qualified Bidder. The Debtor shall notify a Potential Bidder
if it is a Qualified Bidder by 11:59 p.m., July 28, 2023.

A Potential Bidder that timely delivers the Required Bid Documents, whose
financial information demonstrates the financial capability of the Potential Bidder
to consummate the Sale, has submitted a bona fide offer, and that the Debtor, after
consultation with the Creditors’ Committee, determines (based on availability of
financing, experience and other considerations) to be able to consummate the Sale
if selected as the Successful Bidder is deemed to be a “Qualified Bidder.” The
Stalking Horse shall automatically be considered as a Qualified Bidder by reason
of its willingness to act as a stalking horse bidder in connection with the Bidding
Process. If the Debtor wishes to disqualify any Potential Bidder who otherwise
timely submits an NDA and the Required Bid Documents, the Debtors shall first
consult with the Creditors’ Committee.

The Debtor will consider a bid only if the bid is on terms acceptable to the Debtor,
and the Creditors’ Committee, and not conditioned on other conditions
unacceptable to the Debtors, in consultation with the Creditors’ Committee. A bid
received from a Qualified Bidder that includes all of the Required Bid Documents
and meets all of the above requirements is a “Qualified Bid.”

                              The Auction and Sale Hearing

After all Qualified Bids have been received, the Debtor intends to conduct an
auction (the “Auction”) with respect to the Property if a Qualified Bid other than
that of Stalking Horse has been received. The Auction shall take place at the July
31, 2023, at 10:00 a.m. at the offices of Miller Johnson, 500 Woodward Avenue,
Suite 2800, Detroit, MI 48226, or, in consultation with the Creditors’ Committee,
such later time or other place as the Debtor shall notify all Qualified Bidders who
have submitted Qualified Bids. The Auction shall be conducted in the presence of
a certified court reporter, who shall transcribe the proceedings for purposes of
creating and preserving a record of the Auction. Only the Stalking Horse and any
other Qualified Bidders who have submitted the Required Bid Documents in form
and substance satisfactory to the Debtor by the Bid Deadline will be eligible to
participate in the Auction as bidders and all Qualified Bidders must have an
authorized representative present at the Auction. However, the Creditors’
Committee, and the Office of the United States Trustee, or counsel for any of the
aforementioned parties are authorized to attend the Auction and participate in the
process, if desired.

                                               4
4887-6822-9482.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 94 of 136
Based upon the terms of the Qualified Bids received, the level of interest expressed
as to the Property, and such other information as the Debtor, in consultation with
the Creditors’ Committee, determines is relevant, the Debtor, in consultation with
the Creditors’ Committee, will conduct the Auction in the manner they determine
will result in the highest or otherwise best offer for the Property. If there is not a
timely Qualified Bidder other than the Stalking Horse, no auction shall be
conducted and the Stalking Horse shall be deemed the Successful Bidder.

All bids at the Auction must satisfy the requirements for a Qualified Bid.

Upon the Auction’s conclusion, the Debtor, in consultation with its advisors and
representatives of the Creditors’ Committee, shall (i) review each Qualified Bid on
the basis of financial and contractual terms and the factors relevant to the sale
process, including those factors affecting the speed and certainty of consummating
the sale, and (ii) identify the highest and otherwise best offer (the “Successful
Bid”). At the Sale Hearing, the Debtor shall present the Successful Bid to the
Court for approval.

                              Post Sale Hearing Procedures

Unsuccessful bidders shall be entitled to return of their earnest money deposit
within 30 days of the Sale Hearing. If the Successful Bidder fails to consummate
the transaction by the Closing Date, as defined in the Agreement, the Debtors shall
(i) retain such bidder’s earnest money deposit; and (ii) be free to consummate the
proposed sale of the Property with the next highest and best bidder (the “Back Up
Bidder”) at the final price bid by the Back Up Bidder at the Auction (the “Back Up
Bid”) (or, if that competing bidder is unable to consummate the purchase of the
Property at that price, then the Debtor shall retain the Back Up Bidder’s earnest
money deposit and them may consummate the transaction with the next highest
and best competing bidder, and so forth) without the need for an additional hearing
or order of the Court. The Debtor shall, upon conclusion of the Auction and in
consultation the Creditors’ Committee, rank the Qualified Bids in order of its
determination of the highest and best Qualified Bids. The Successful Bid shall be
ranked first, the Back Up Bid shall be ranked second, and any other Qualified Bids
shall be ranked in order of preference by the Debtor, after consultation with the
Creditors’ Committee, as the next highest and best Qualified Bids. Additionally,
Qualified Bidders, including, but not limited to, the Stalking Horse Bidder, shall be
required to keep their offer open until 30 days after the Sale Hearing in the event
they are the Back-Up Bidder.



                                               5
4887-6822-9482.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 95 of 136
                         Summary Timeline of Critical Events


              Event                            Date                    Action
                                                                 Required/Requested
 Sale Procedures                       June 29, 2023          Court enters Sale
                                                              Procedures Order
 Sale Notice and                       June 30, 2023          Deadline for Debtor to
 Assumption Notice                                            provide notice of sale
 Service Deadline                                             and assumption of
                                                              executory contracts.
 Objection Deadline                    July 27, 2023          Deadline for any party to
                                                              object to the sale or
                                                              assumption of contracts.
 Potential Bid Package           July 28 2023 at 4:00 p.m. Deadline to submit
 Deadline                            (prevailing time)     Deposit and materials
                                                           required to qualify as
                                                           bidder
 Auction Date                          July 31, 2023          Auction Sale held at
                                                              offices of Miller Johnson
                                                              in Detroit, Michigan
 Sale Hearing                         August 3, 2023          Court Approves Sale
 Closing Date                         August 4, 2023          Sale Closes




                                                6
4887-6822-9482.v2
23-43403-mlo        Doc 145   Filed 06/23/23    Entered 06/23/23 03:38:13   Page 96 of 136
                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                    Case No. 23-43403-mlo
                                                        Chapter 11
          Debtor.                                       Hon, Maria L. Oxholm
____________________________________/

        NOTICE OF PROPOSED SALE OF SUBSTANTIALLY ALL OF
                        DEBTOR'S ASSETS

PLEASE TAKE NOTICE, that on August 3, 2023 at 11:00 a.m., a hearing (the
“Sale Hearing”) will be held before the Honorable Maria L. Oxholm, Bankruptcy
Judge, in the United States Bankruptcy Court for the Eastern District of Michigan,
Southern Division (Detroit), located at 211 W. Fort Street, Courtroom 1875,
Detroit, MI 48226 to consider the motion of Ark Laboratory LLC, the debtor and
debtor-in-possession (the “Debtor”) in the above-referenced proceedings, to sell
substantially all of the assets owned by the Debtor (the “Property”), free and clear
of all liens, claims, interests and encumbrances, to Auxo Investment Partners, LLC
(“Auxo”) pursuant to the terms of an Asset Purchase Agreement dated June 22,
2023 (the “Agreement”), or such other Purchaser who is the Successful Bidder for
the Property. A copy of the Debtor’s motion, including a copy of the Agreement,
is on file with the Clerk of the Bankruptcy Court and is available upon request
from the attorneys for the Debtors.

            PLEASE BE ADVISED that the Debtor is authorized to solicit
competitive bids for the Property. Auxo has been granted certain bid protections,
so that any competitive bid must be at least the Purchase Price as defined in the
Agreement plus $200,000.

             PLEASE BE FURTHER ADVISED that in order to review due
diligence materials interested parties must execute a Confidentiality and
Non-Disclosure Agreement in form and substance reasonably acceptable to the
Debtor, after consultation with the Creditors’ Committee, which such
Confidentiality and Non-Disclosure Agreement shall be substantially the same as
the Confidentiality Agreement (as that term is defined in the Agreement) in all
material respects (an “NDA”). In addition, the interested party must comply with
the Bid Procedures approved by the Court in this matter. A copy of the Bid
Procedures will be made available upon request to the Debtor’s counsel. To
participate as a bidder in the Auction, a party must first be determined to be a
4885-8518-6922.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 97 of 136
“Qualified Bidder.” Only “Qualified Bidders” will be entitled to participate in the
Auction. Interested parties must deliver to the Debtor not later than 4:00 p.m.
Eastern Time on July 28, 2023 the Required Bid Documents by the Bid Deadline
as defined in the Bid Procedures.

       PLEASE BE FURTHER ADVISED that any objections to the proposed
sale of the Purchased Assets shall be filed with the Clerk of the Bankruptcy Court,
211 West Fort Street, Detroit, Michigan 48226 and served upon: (i) the attorney for
the Debtor, at the address below (ii) Taft Stettinius & Hollister, LLP, 27777
Franklin Road, Suite 2500, Southfield, Michigan 48034, Attn: Judith Greenstone
Miller, jgmiller@taftlaw.com and Richard Kruger, rkruger@taftlaw.com, counsel
for the Official Committee of Unsecured Creditors; (iii) Miller Johnson, 45 Ottawa
Ave. SW, Suite 1100, Grand Rapids, Michigan 49503, Attn. Robert Wolford,
wolfordr@millerjohnson.com, counsel for Auxo, and (iv) the Office of the United
States Trustee, 211 West Fort Street, Suite 700, Detroit, Michigan 48226, Attn.
Ronna G. Jackson, Ronna.G.Jackson@usdoj.gov, on or before 4:00 p.m. (Eastern
Time) on July 27, 2023 and any objector must appear at the Sale Hearing to
present the objection, if the Court holds an in-person hearing on this matter.

To obtain further information regarding this matter, please contact the attorney for
the Debtor.

                                    Respectfully submitted;

                                    /s/ Robert Bassel
                                    Robert N. Bassel P48420
                                    PO BOX T
                                    CLINTON, MI 49236
                                    248.677/1234
                                    bbassel@gmail.com
                                    Counsel for Debtor
Dated: June 23, 2023




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4885-8518-6922.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 98 of 136
                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                    Case No. 23-43403-mlo
                                                        Chapter 11
          Debtor.                                       Hon, Maria L. Oxholm
____________________________________/

NOTICE OF (I) DEBTOR’S REQUEST FOR AUTHORITY TO ASSUME AND ASSIGN
      CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES,
               AND (II) DEBTOR’S PROPOSED CURE AMOUNTS


PLEASE TAKE NOTICE, that on June 23, 2023, Ark Laboratory, LLC
(“Debtor”), filed Debtor’s MOTION TO APPROVE (1) BIDDING PROCEDURES
AND FORM OF ASSET PURCHASE AGREEMENT RELATING TO SALE OF
SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS; (2) THE SALE OF
SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS FREE AND CLEAR OF
LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES PURSUANT TO 11
U.S.C. §§ 105(A) AND 363; (3) ASSUMPTION AND ASSIGNMENT OF
EXECUTORY CONTRACTS AND UNEXPIRED LEASES PURSUANT TO 11
U.S.C. § 365; AND (4) GRANTING RELATED RELIEF [ECF No. __] (the
“Motion”) with the Clerk of the Bankruptcy Court seeking, among other things,
entry of an order (the “Sale Order”) authorizing and approving: (a) the sale of
substantially all of its assets (collectively, the “Assets”) free and clear of liens,
claims, encumbrances and other interests, with all such liens, claims,
encumbrances and other interests attaching with the same validity and priority to
the sale proceeds, to one or more purchasers submitting the highest or otherwise
best offers therefor (the “Sale”); and (b) procedures for the assumption and
assignment of executory contracts and unexpired leases (collectively,
the “Contracts”)..

            PLEASE BE FURTHER ADVISED on [Date], the Court entered an
order (ECF No.__) (the “Bidding Procedures Order”) granting certain of the relief
sought in the Motion, including, among other things, approving the bidding
procedures for the Sale of the Assets and procedures for the assumption and
assignment of Contracts.

PLEASE TAKE FURTHER NOTICE that the Debtor will seek approval of the
Sale at a hearing presently scheduled to take place on August 3, 2023 at 11:00 a.m.

4881-3470-7306.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 99 of 136
(prevailing Eastern Time), or as soon thereafter as counsel may be heard, before
the U.S. Bankruptcy Court for the Eastern District of Michigan, in the courtroom
of the Honorable Maria L Oxholm, 18th Floor, 211 W. Fort Street, Detroit,
Michigan 48226 (the “Sale Hearing”).

PLEASE TAKE FURTHER NOTICE that at the Sale Hearing, the Debtor may
seek to assume and assign to one or more Successful Bidder(s) for the Assets (each
an “Assignee”) some or all of the Contracts and any modifications thereto set forth
on Exhibit A hereto (collectively, the “Assumed and Assigned Contracts”). In
addition, the Debtors’ calculation of the cure amounts, if any, necessary for the
assumption and assignment of the Assumed and Assigned Contracts (the “Cure
Amounts”) are set forth on Exhibit A

       PLEASE BE FURTHER ADVISED that any objections to the assumption
and assignment of any Contract, including without limitation any objection to the
Debtor’s proposed Cure Amount or the provision of adequate assurance of future
performance under any Contract pursuant to Section 365 of the Bankruptcy Code
(“Adequate Assurance”) shall be filed with the Clerk of the Bankruptcy Court, 211
West Fort Street, Detroit, Michigan 48226 and served upon: (i) the attorney for the
the Debtor, at the address below (ii) Taft Stettinius & Hollister, LLP, 27777
Franklin Road, Suite 2500, Southfield, Michigan 48034, Attn: Judith Greenstone
Miller, jgmiller@taftlaw.com and Richard Kruger, rkruger@taftlaw.com, counsel
for the Official Committee of Unsecured Creditors; (iii) Miller Johnson, 45 Ottawa
Ave. SW, Suite 1100, Grand Rapids, Michigan 49503, Attn. Robert Wolford,
wolfordr@millerjohnson.com, counsel for Auxo, and (iv) the Office of the United
States Trustee, 211 West Fort Street, Suite 700, Detroit, Michigan 48226, Attn.
Ronna G. Jackson, Ronna.G.Jackson@usdoj.gov, on or before 4:00 p.m. (Eastern
Time) on July 27, 2023 and any objector must appear at the Sale Hearing to
present the objection, if the Court holds an in-person hearing on this matter. The
objection must identify the Contract to which the objector is a party, describe with
particularity any cure the claimant contends is required under Section 365 of the
Bankruptcy Code (the “Cure Claim”), identify the basis of the alleged Cure Claim
under the Contract, attach all documents supporting or evidencing the Cure Claim;
and if the response contains an objection to Adequate Assurance, state with
specificity what the objecting party believes is required to provide Adequate
Assurance.

                    CONSEQUENCES OF FAILING TO TIMELY FILE
                           AND SERVE AN OBJECTION



                                               2
4881-3470-7306.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 100 of 136
ANY COUNTERPARTY TO AN ASSUMED AND ASSIGNED CONTRACT
WHO FAILS TO TIMELY FILE AND SERVE AN OBJECTION TO THE
PROPOSED ASSUMPTION AND ASSIGNMENT OF AN ASSUMED AND
ASSIGNED CONTRACT AND/OR THE CURE AMOUNT SET FORTH ON
EXHIBIT A IN ACCORDANCE WITH THE BIDDING PROCEDURES
ORDER, THE ASSUMPTION AND ASSIGNMENT PROCEDURES AND THIS
NOTICE SHALL BE FOREVER BARRED FROM ASSERTING ANY
OBJECTION TO THE ASSUMPTION AND ASSIGNMENT OF THE
ASSUMED AND ASSIGNED CONTRACT AND/OR THE CURE AMOUNT
SET FORTH ON EXHIBIT A, INCLUDING ASSERTING ADDITIONAL
CURE AMOUNTS WITH RESPECT TO THE ASSUMED AND ASSIGNED
CONTRACT RELATING TO ANY PERIOD PRIOR TO THE TIME OF
ASSUMPTION AND ASSIGNMENT.

To obtain further information regarding this matter, please contact the attorney for
the Debtor.

                                     Respectfully submitted;

                                     /s/ Robert Bassel
                                     Robert N. Bassel P48420
                                     PO BOX T
                                     CLINTON, MI 49236
                                     248.677/1234
                                     bbassel@gmail.com
                                     Counsel for Debtor
Dated: June __, 2023




                                               3
4881-3470-7306.v2
23-43403-mlo        Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 101 of 136
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                 Case No. 23-43403-mlo
                                                     Chapter 11
          Debtor.                                    Hon, Maria L. Oxholm
____________________________________/


  ORDER: (I) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF
        THE DEBTOR’S ASSETS PURSUANT TO § 363 OF THE
  BANKRUPTCY CODE, FREE AND CLEAR OF ALL LIENS, CLAIMS,
     INTERESTS AND ENCUMBRANCES; (II) AUTHORIZING AND
   APPROVING THE TERMS OF THE DEBTOR’S ASSET PURCHASE
   AGREEMENT AND RELATED AGREEMENTS AND AUTHORIZING
    CONSUMMATION OF THE TRANSACTIONS CONTEMPLATED
   THEREIN INCLUDING THE ASSUMPTION AND ASSIGNMENT OF
  CERTAIN SPECIFIED EXECUTORY CONTRACTS AND UNEXPIRED
          LEASES; AND (III) GRANTING RELATED RELIEF


      Ark Laboratory, LLC. (the “Debtor”), having filed on June 23, 2023 its

MOTION TO APPROVE (1) BIDDING PROCEDURES AND FORM OF ASSET

PURCHASE AGREEMENT RELATING TO SALE OF SUBSTANTIALLY ALL OF

THE DEBTOR’S ASSETS; AND (2) THE SALE OF SUBSTANTIALLY ALL OF

THE DEBTOR’S ASSETS FREE AND CLEAR OF LIENS, CLAIMS, AND

ENCUMBRANCES          PURSUANT        TO    11     U.S.C. §§ 105(A) AND 363;

ASSUMPTION          AND    ASSIGNMENT         OF    UNEXPIRED          LEASES    AND

EXECUTORY CONTRACT PURSUANT TO 11 U.S.C. § 365; AND RELATED




23-43403-mlo   Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13    Page 102 of 136
RELIEF (the “Sale Motion”)1, seeking, pursuant to §§ 105(a), 363, and 365 of title

11 of the United States Code (the “Bankruptcy Code”) and Rules 2002, 6004,

9007, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), authorization to sell substantially all its operating assets and assign certain

executory contracts and unexpired leases (the “Transaction” or “Transactions”);

and this Court having entered on June __, 2023, its ORDER (1) APPROVING

BIDDING PROCEDURES AND OTHER MATTERS RELATING TO THE SALE

OF THE DEBTOR’S ASSETS; (2) FORM OF ASSET PURCHASE AGREEMENT;

AND (3) SCHEDULING A SALE HEARING (the “Bidding Procedures Order”)

approving, among other things, the Bidding Procedures with respect to, and notice

of, the Transaction; and the Auction having been conducted in all material respects

in accordance with the Bidding Procedures Order on July 31, 2023; and Debtor,

having determined that Purchaser has submitted the highest or otherwise best bid

for the Purchased Assets and has been designated as the Successful Bidder

pursuant to the Bidding Procedures Order; and a hearing having been held on

August 3, 2023 (the “Sale Hearing”) to consider approval of the sale of the

Purchased Assets to Purchaser (as well as the assumption by Purchaser of the

1
 Capitalized terms used but not defined herein have the meanings ascribed to them
in the Asset Purchase Agreement (the “Agreement”) by and between the Debtor
and Auxo Investment, LLC, (the “Purchaser”), dated as of June 22, 2023 (a copy of
which was attached as Exhibit A to the Sale Motion), the Sale Motion, or the
Bidding Procedures Order, as the case may be, in that order of priority, unless the
context clearly requires otherwise.
                                           2
23-43403-mlo   Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13    Page 103 of 136
Assigned Contracts and Assumed Liabilities) pursuant to the terms and conditions

of the Agreement, and adequate and sufficient notice of the Bidding Procedures,

the Agreement, and the Transaction having been given to parties in interest in this

case; and such parties having been afforded an opportunity to be heard with respect

to the Sale Motion and all relief requested therein; and the Court having reviewed

and considered: (i) the Sale Motion; (ii) the objections to the Sale Motion; and

(iii) the arguments of counsel made, and the evidence proffered or adduced, at the

Sale Hearing, after due deliberation thereon; and good and sufficient cause

appearing therefor, and it appearing that the relief requested in the Sale Motion,

insofar as it pertains to this Order, is in the best interests of the Debtor, its estate, its

creditors, and other parties in interest; and the Court being fully advised in the

premises;

       IT HEREBY IS FOUND AND DETERMINED THAT:2

       A.      This Court has jurisdiction over the Sale Motion under 28 U.S.C.

       §§ 157 and 1334, and this matter is a core proceeding under 28 U.S.C.

       § 157(b)(2)(A), (N), and (O). Venue of this case and the Sale Motion in this

       district is proper under 28 U.S.C. §§ 1408 and 1409.




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  Findings of fact shall be construed as conclusions of law and conclusions of law
shall be construed as findings of fact when appropriate. See Fed. R. Bankr. P.
7052.
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23-43403-mlo    Doc 145    Filed 06/23/23    Entered 06/23/23 03:38:13      Page 104 of 136
      B.       The statutory bases for the relief sought in the Sale Motion are

      §§ 105(a), 363, and 365 of the Bankruptcy Code, together with Bankruptcy

      Rules 2002, 6004, 9007, and 9014.

      C.       This Order constitutes a final order within the meaning of 28 U.S.C. §

      158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any

      extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal

      Rules of Civil Procedure, as made applicable by Bankruptcy Rule 7054, the

      Court expressly finds that there is no just reason for delay in the

      implementation of this Order, and expressly directs entry of judgment as set

      forth herein.

      D.       As evidenced by the proofs of service on file with this Court, due,

      proper, timely, adequate, and sufficient notice and a reasonable opportunity

      to object or be heard with respect to the Sale Motion and the relief requested

      therein, the Sale Hearing, the Transaction, and the Auction, have been

      provided in accordance with §§ 102(1), 105(a), 363, and 365 of the

      Bankruptcy Code and Bankruptcy Rules 2002, 6004, 9007, and 9014, and in

      compliance with the Bidding Procedures and the Purchase Agreement, to

      interested persons and entities, including, but not limited to: (1) the Office of

      the United States Trustee; (2) Purchaser and its counsel; (3) the Creditors’

      Committee and its counsel; (4) all entities, known to Debtor that assert any


                                            4
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 105 of 136
      Liens against or other interests in the Purchased Assets (or any portion

      thereof); (5) all parties known to the Debtor who expressed in writing to

      Debtor an interest in purchasing all or a portion of the Purchased Assets;

      (6) all non-Debtor parties to any Purchased Contracts; (7) all relevant taxing

      and regulatory authorities; and (8) all entities required to receive notice

      pursuant to Bankruptcy Rule 2002, including, without limitation, those

      entities that have filed a notice of appearance and request for service of

      papers in these cases.

      E.       Such notice with respect to the Sale Motion and the relief requested

      therein, the Sale Hearing, the Transaction, and the Auction was (i)

      reasonably calculated to provide all interested parties with timely and proper

      notice of the Sale, Sale Hearing and Auction, and (ii) good, sufficient, and

      appropriate under the circumstances. Accordingly, no other or further notice

      of the Sale Motion, the Sale Hearing, the Transaction, the Bidding

      Procedures, the Sale Notice, or the Auction is or shall be required.

      F.       As demonstrated by the testimony and other evidence, if any,

      proffered or adduced at the Sale Hearing, the Debtor has conducted the sale

      process in compliance, in all material respects, with the Bidding Procedures

      Order.




                                           5
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 106 of 136
      G.       No consents or approvals are required for the Debtor to consummate

      the Transaction other than the consent and approval of this Court and those

      set forth in the Agreement. Neither the execution of the Agreement nor the

      consummation of the Transaction in accordance with its terms will constitute

      a violation of any provision of the Debtor’s organizational documents or any

      other instrument, law, regulation, or ordinance by which the Debtor is

      bound.

      H.       The bidding and related procedures established by the Bidding

      Procedures Order have been complied with in all material respects by the

      Debtor and Purchaser. The Debtor received a Qualifying Bid from Auxo

      Investment Partners, LLC, an Auction for the Purchased Assets was held in

      material compliance with the Bid Procedures Order, and Debtor has selected

      Purchaser as the Successful Bidder.

      I.       The Debtor is the legal and equitable owner of the Purchased Assets

      and, upon entry of this Sale Order, the Debtor shall have full authority to

      consummate the Transaction contemplated by the Agreement. The

      Agreement and the Transaction have been duly and validly authorized by all

      necessary corporate action, as the case may be, of the Debtor.

      J.       Approval of the Agreement and consummation of the Transaction is in

      the best interests of the Debtor, its estate, creditors, and other parties in


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23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 107 of 136
      interest, and the Debtor has demonstrated (i) good, sufficient, and sound

      business purpose and justification, (ii) compelling circumstances for the Sale

      pursuant to § 363(b) of the Bankruptcy Code prior to, in contemplation of,

      and outside of, a plan of reorganization in that, among other things, the

      immediate consummation of the sale to the Purchaser is necessary and

      appropriate to maximize the value of the Debtor’s estate, and (iii) the sale

      will provide the means for the Debtor to maximize distributions to creditors.

      To maximize the value of the Purchased Assets, it is essential that the

      Transaction occur within the time constraints set forth in the Agreement.

      Time is of the essence in consummating the Transaction.

      K.       The Debtor, with the assistance of its professionals, diligently and in

      good faith marketed the Purchased Assets to secure the highest and best

      offer therefor by, among other things, making its books and records and the

      Purchased Assets available to potential buyers for due diligence and

      providing potential buyers with access to management. In addition, the

      Debtor served the Bidding Procedures Order, the Sale Motion, and the

      Agreement on each of the entities that had previously expressed an interest

      in some or all of the Purchased Assets and published notice of the sale in the

      Detroit News and Crain’s Detroit.




                                            7
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 108 of 136
      L.       The procedures set forth in the Bidding Procedures Order, including

      the Auction, were designed to and achieved a fair and reasonable purchase

      price constituting the highest and best offer obtainable for the Purchased

      Assets.

      M.       A sale of the Purchased Assets at this time pursuant to § 363(b) of the

      Bankruptcy Code will preserve the existing value of the Purchased Assets

      and maximize the Debtor’s estate for the benefit of all constituencies.

      N.       The Agreement between the Debtor and the Purchaser was negotiated,

      proposed and entered into by the Debtor and the Purchaser in good faith and

      from arm’s-length bargaining positions and without collusion, fraud, or

      unfair advantage.

      O.       At the Sale Hearing on August 3, 2023, no evidence was presented

      that either the Debtor or the Purchaser engaged in any conduct that would

      cause or permit the Purchase Agreement to be avoided under section 363(n)

      of the Bankruptcy Code. Specifically, no evidence was presented that the

      Purchaser acted in a collusive manner with any person and no evidence was

      presented that the aggregate price paid by the Purchaser for the Purchased

      Assets was controlled by any agreement among the bidders.

      P.       The Successful Bidder is purchasing the Purchased Assets in good

      faith and is a good faith purchaser for value within the meaning of section


                                            8
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 109 of 136
      363(m) of the Bankruptcy Code, and is therefore entitled to all of the

      protections afforded by that provision, and otherwise has proceeded in good

      faith in all respects in connection with this proceeding in that, inter alia: (a)

      the Purchaser recognized that the Debtor was free to deal with any other

      party interested in acquiring the Purchased Assets; (b) the Purchaser

      complied with the provisions in the Bid Procedures Order; (c) the Purchaser

      agreed to subject its bid to the competitive bidding procedures set forth in

      the Bid Procedures Order; (d) the Purchaser in no way induced or caused the

      chapter 11 filing by the Debtor; (e) the negotiation and execution of the

      Agreement was at arm’s-length and in good faith, and at all times each of the

      Purchaser and the Debtor were represented by competent counsel of their

      choosing, (f) the Purchaser has not acted in a collusive manner with any

      person, and (g) all payments to be made by the Purchaser in connection with

      the sale have been disclosed. The Purchaser will be acting in good faith

      within the meaning of section 363(m) of the Bankruptcy Code in closing the

      Transactions contemplated by the Agreement.

      Q.       The consideration to be provided by Purchaser, in this case being a

      credit bid of the Purchaser’s indebtedness owed by the Debtor to it, pursuant

      to the Agreement: (i) is valid, due and outstanding by the Debtor to the

      Purchaser, (ii) is fair and reasonable; (iii) is the highest or otherwise best


                                           9
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 110 of 136
      offer for the Purchased Assets; (iv) will provide a greater recovery for the

      Debtor’s creditors than would be provided by any other practical available

      alternative; and (v) constitutes reasonably equivalent value and fair

      consideration under the Bankruptcy Code. No other person or entity or

      group of entities has offered to purchase the Purchased Assets for greater

      economic value to the Debtor’s estate.

      R.       The Agreement was not entered into for the purpose of hindering,

      delaying, or defrauding creditors under the Bankruptcy Code.

      S.       The Purchaser is not a mere continuation of the Debtor or its estate

      and there is no continuity of enterprise between the Purchaser and the

      Debtor. The Purchaser is not holding itself out to the public as a continuation

      of the Debtor. The Purchaser is not a successor to the Debtor or its estate and

      the Transaction does not amount to a consolidation, merger or de facto

      merger of the Purchaser and the Debtor.

      T.       Subject to the terms of this Order, the transfer of the Purchased Assets

      to the Purchaser will be a legal, valid, and effective transfer of the Purchased

      Assets, and, except as expressly provided in the Purchase Agreement, will

      vest the Purchaser with all right, title, and interest of the Debtor to the

      Purchased Assets free and clear of all: (i) Liens; (ii) all debts arising under,

      relating to, or in connection with any act of the Debtor or claims (as that


                                            10
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 111 of 136
      term is defined in section 101(5) of the Bankruptcy Code), liabilities,

      obligations, demands, guaranties, options, rights, contractual commitments,

      restrictions, interests and matters of any kind and nature, whether arising

      prior to or subsequent to the commencement of these cases, and whether

      imposed by agreement, understanding, law, equity or otherwise (collectively,

      “Claims”); (iii) encumbrances and (iv) interests of any kind, including,

      without limitation, the following: (A) interests that purport to give to any

      party or entity a right or option to effect any forfeiture, modification, right of

      first refusal, or termination of the Debtor’s or the Purchaser’s interest in the

      Purchased Assets, or any similar rights; (B) interests relating to taxes arising

      under or out of, in connection with, or in any way relating to the operation of

      the Business prior to the Closing Date; and (C) interests relating to Liens,

      claims, and encumbrances on the Purchased Assets or against the Debtor

      (collectively (ii)-(iv) from time to time herein “Interests”); provided,

      however, that all such Interests shall attach to the proceeds of the Sale, in

      order of priority as set forth under applicable law unless modified by this

      Order.

      U.       The Purchaser would not have entered into the Agreement and would

      not consummate the transactions contemplated thereby, thus adversely

      affecting the Debtor, its estate, and its creditors, if the sale of the Purchased


                                           11
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13    Page 112 of 136
      Assets to the Purchaser and the assignment of the Purchased Contracts to the

      Purchaser were not free and clear of all Liens and Interests of any kind or

      nature whatsoever, or if the Purchaser would, or in the future could, be liable

      for any of the Liens or Interests not expressly assumed by the Purchaser.

      V.       Subject to the provisions of this Order, the Debtor may sell the

      Purchased Assets free and clear of all Liens and other Interests of any kind

      or nature whatsoever because, in each case, one or more of the standards set

      forth in §§ 363(f)(1) through (5) of the Bankruptcy Code has been satisfied.

      Those (i) holders of Interests and (ii) non-debtor parties to Purchased

      Contracts who did not object, or who withdrew their objections, to the Sale

      or the Sale Motion are deemed to have consented pursuant to § 363(f)(2) of

      the Bankruptcy Code.       Those (i) holders of Interests and (ii) non-debtor

      parties to Purchased Contracts who did object fall within one or more of the

      other subsections of § 363(f) of the Bankruptcy Code and are adequately

      protected by having their Interests, if any, attach to the proceeds of the Sale

      attributable to the property against or in which they claim Interests.

      W.       Under §363 of the Bankruptcy Code, unless otherwise expressly

      included in Permitted Encumbrances under the Purchase Agreement, the

      Purchaser shall not be responsible for any Liens or Interests, including in

      respect of the following: (1) any labor or employment agreements; (2) all


                                           12
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 113 of 136
      mortgages, deeds of trust and security interests; (3) intercompany loans and

      receivables between the Debtor and any non-Debtor affiliate, (4) any

      pension, welfare, compensation or other employee benefit plans,

      agreements, practices and programs, including, without limitation, any

      pension plan of the Debtor; (5) any other employee, worker’s compensation,

      occupational disease or unemployment or temporary disability related claim,

      including, without limitation, claims that might otherwise arise under or

      pursuant to (a) the Employee Retirement Income Security Act of 1974, as

      amended, (b) the Fair Labor Standards Act, (c) Title VII of the Civil Rights

      Act of 1964, (d) the Federal Rehabilitation Act of 1973, (e) the National

      Labor Relations Act, (f) the Worker Adjustment and Retraining Act of 1988,

      (g) the Age Discrimination and Employee Act of 1967 and Age

      Discrimination in Employment Act, as amended, (h) the Americans with

      Disabilities Act of 1990, (i) the Consolidated Omnibus Budget

      Reconciliation Act of 1985, (j) state discrimination laws, (k) state

      unemployment compensation laws or any other similar state laws, or (l) any

      other state or federal benefits or claims relating to any employment with the

      Debtor or any of their respective predecessors; (6) Claims or Interests arising

      under any Environmental Laws with respect to any assets owned or operated

      by Debtor or any corporate predecessor at any time prior to the Closing


                                          13
23-43403-mlo   Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 114 of 136
      Date; (7) any liabilities of the Debtor other than the Assumed Liabilities; (8)

      as defined in the Agreement, the “Excluded Liabilities”; (9) any bulk sales

      or similar law; (10) any tax statutes or ordinances, including, without

      limitation, the Internal Revenue Code of 1986, as amended; and (11) any

      theories of successor liability.

      X.       Under 11 U.S.C. § 363(f), the (i) transfer of the Purchased Assets to

      the Purchaser and (ii) assumption and assignment to the Purchaser of the

      Assigned Contracts will not deem the Purchaser to be a “successor,” or

      subject the Purchaser to any liability whatsoever with respect to, or on

      account of, the operation of the Business prior to the Closing Date or by

      reason of such transfer under any applicable laws, whether based, in whole

      or in part, directly or indirectly, on any theory of law or equity, including,

      without limitation, any theory of equitable law, any theory of implied

      assumption of any liabilities other than the Assumed Liabilities, any theory

      of constructive consolidation or merger of the Purchaser and the Debtor, any

      theory that Purchaser’s acquisition is a mere continuation or reincarnation of

      the Debtor’s business, any theory that the Transaction is fraudulent or lacks

      good faith, or any other theory of antitrust, vicarious, successor, or transferee

      liability.




                                              14
23-43403-mlo       Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 115 of 136
      Y.       The Debtor has demonstrated that it is an exercise of its sound

      business judgment to enter into the Transaction, consummate the Sale, and

      assume and assign the Assigned Contracts to the Purchaser in connection

      with the consummation of the Sale, and the assumption and assignment of

      the Purchased Contracts is in the best interests of the Debtor, its estate, and

      its creditors. The Assigned Contracts being assumed and assigned to the

      Purchaser are an integral part of the assets being purchased by the Purchaser

      and, accordingly, such assumption and assignment of the Assigned Contracts

      are reasonable, enhance the value of the Debtor’s estate, and do not

      constitute unfair discrimination.

      Z.       The consummation of the Transaction (the “Closing”) pursuant to the

      Agreement and the terms of this Order will be a legal, valid, and effective

      transfer of the Purchased Assets to Purchaser, and will vest Purchaser with

      all right, title, and interest in and to the Purchased Assets and the Assigned

      Contracts, free and clear of all Liens and Interests, other than Permitted

      Encumbrances (as such term is defined in the Purchase Agreement) in

      accordance with § 363(f) of the Bankruptcy Code.

      AA. The Agreement is a valid and binding contract between the Debtor

      and Purchaser, which is and shall be enforceable according to its terms.




                                           15
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 116 of 136
      BB. All of the provisions of the Agreement are non-severable and

      mutually dependent.

      CC. Notice of the Sale Motion has been provided to each non-debtor party

      to an Assigned Contract, together with a statement from the Debtor with

      respect to the amount, if any, to be paid by the Purchaser to such non-debtor

      party to cure any defaults under, and to otherwise comply with the

      requirements of § 365(b) of the Bankruptcy Code with respect to the

      Assigned Contract to which such non-debtor is party (the “Cure Amounts”).

      As to each Assigned Contract, payment of the Cure Amount by the

      Purchaser as determined in accordance with the procedures provided in the

      Bidding Procedures Order will be sufficient for the Debtor to comply fully

      with the requirements of § 365(b) of the Bankruptcy Code.

      DD. Purchaser has provided adequate assurance of its ability to perform its

      obligations under each of the Assigned Contracts within the meaning of

      § 365(f) of the Bankruptcy Code.

NOW, THEREFORE IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:

      1.       The Sale Motion is GRANTED on the basis set forth herein (other

than with respect to matters already addressed by the Bidding Procedures Order).




                                           16
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 117 of 136
      2.       Any objections to the entry of this Sale Order or the relief granted herein and

requested in the Sale Motion that have not been withdrawn, waived or settled, and all

reservations of rights included therein, hereby are DENIED and OVERRULED.


                           Approval Of The Agreement,
                       Transaction And Ancillary Agreements

               3.     The Agreement and all other ancillary documents, and all of the

terms and conditions thereof, are hereby approved.

               4.     Pursuant to sections 363(b) and (f) of the Bankruptcy Code and

subject to the terms of this Order, the Debtor is authorized and empowered to take

any and all actions necessary or appropriate to (i) consummate the Sale of the

Purchased Assets to the Purchaser pursuant to and in accordance with the terms

and conditions of the Agreement, (ii) close the Sale as contemplated in the

Agreement and this Order, and (iii) execute and deliver, perform under,

consummate, implement, and close fully the Agreement, including the assumption

and assignment to the Purchaser of the Assumed Contracts, together with all

additional instruments and documents that may be reasonably necessary to

implement the Agreement and the Sale. The Purchaser shall not be required to seek

or to obtain relief from the automatic stay under section 362 of the Bankruptcy

Code to enforce any of its remedies under the Purchase Agreement or any other

Sale related document. The automatic stay imposed by section 362 of the



                                             17
23-43403-mlo     Doc 145    Filed 06/23/23    Entered 06/23/23 03:38:13      Page 118 of 136
Bankruptcy Code is modified solely to the extent necessary to implement the

preceding sentence and the other provisions of this Order.

               5.   This Order shall be binding in all respects upon the Debtor, its

estate, all creditors of, and holders of equity interests in, the Debtor, any holders of

Liens or Interests in, against or on all or any portion of the Purchased Assets

(whether known or unknown), the Purchaser and all successors and assigns of the

Purchaser, the Purchased Assets and any trustee, if any, subsequently appointed in

the Debtor’s chapter 11 case or upon a conversion to chapter 7 under the

Bankruptcy Code of the Debtor’s case, and all parties in interest and those

otherwise bound by applicable law. This Order and the Agreement shall inure to

the benefit of the Debtor, its estate, creditors, the Purchaser and the respective

successors and assigns of each of the foregoing.

               6.   Upon the Closing, pursuant to sections 105(a), 363(b), and

363(f) of the Bankruptcy Code, the Debtor is authorized to transfer the Purchased

Assets to the Purchaser and such transfer shall constitute a legal, valid, binding,

and effective transfer of such Purchased Assets and shall vest Purchaser with title

to the Purchased Assets and, upon the Debtor’s receipt of the Purchase Price, other

than Permitted Encumbrances and Assumed Liabilities, shall be free and clear of

all Liens or Interests of any kind or nature whatsoever, including but not limited to,

successor or successor-in-interest liability and Claims and Interests in respect of


                                           18
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13    Page 119 of 136
the Purchased Assets, with all such Liens or Interests to attach to the cash proceeds

ultimately attributable to the property against or in which such Liens or Interests

are asserted, subject to the terms thereof, with the same validity, force and effect,

and in the same order of priority, which such Liens or Interests now have against

the Purchased Assets, subject to any rights, claims and defenses the Debtor or its

estate, as applicable, may possess with respect thereto. Upon the Closing, the

Purchaser shall take title to and possession of the Purchased Assets subject only to

the Permitted Encumbrances and Assumed Liabilities.

               7.   Except with respect to Permitted Encumbrances and Assumed

Liabilities, all persons and entities that are in possession of some or all of the

Purchased Assets on the Closing Date are directed to surrender possession of such

Purchased Assets to the Purchaser or its assignee at the Closing. Upon Closing or

as soon as possible thereafter, subject to the terms of this Order, each of the

Debtor’s creditors is authorized and directed, and the Purchaser is hereby

authorized, on behalf of each of the Debtor’s creditors, to execute such documents

and take all other actions as may be reasonably necessary to release such creditor’s

Liens or Interests in the Purchased Assets, if any, as such Liens or Interests may

have been recorded or may otherwise exist.

               8.   The Debtor is hereby authorized to take any and all actions

necessary to consummate the Agreement, including any actions that otherwise


                                           19
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 120 of 136
would require further approval by its members or its board of directors without the

need of obtaining such approvals.

               9.    Upon Closing, this Order shall be construed and shall constitute

for any and all purposes a full and complete general assignment, conveyance and

transfer of the Debtor’s interests in the Purchased Assets or a bill (or bills) of sale

transferring good and marketable title in such Purchased Assets to the Purchaser.

Upon Closing, this Order also shall be construed as, and constitute for any and all

purposes, a complete and general assignment of all right, title, and interest of the

Debtor and its bankruptcy estate to the Purchaser in the Purchased Assets. Each

and every federal, state, and local governmental agency or department is hereby

directed to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Purchase

Agreement.

               10.   A certified copy of this Order may be filed with the appropriate

clerk and/or recorded with the recorder, which, once filed, registered, or otherwise

recorded, shall constitute conclusive evidence of the release of all obligations, and

the cancellation of any liens and other encumbrances of any kind whatsoever

except those assumed as Assumed Liabilities or Permitted Encumbrances.

               11.   If any person or entity which has filed statements or other

documents or agreements evidencing Liens on, or interests in, all or any portion of


                                           20
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 121 of 136
the Purchased Assets (other than statements or documents with respect to

Permitted Encumbrances) shall not have delivered to the Debtor prior to the

Closing, in proper form for filing and executed by the appropriate parties,

termination statements, instruments of satisfaction, releases of liens and easements,

and any other documents necessary for the purpose of documenting the release of

all liens or interests which the person or entity has or may assert with respect to all

or any portion of the Purchased Assets, the Purchaser is hereby authorized, on

behalf of the Debtor and each of the Debtor’s creditors, to execute and file such

statements, instruments, releases and other documents on behalf of such person or

entity with respect to the Purchased Assets.

               12.   This Order is and shall be effective as a determination that,

upon Closing, all Liens or Interests of any kind or nature whatsoever existing as to

the Purchased Assets prior to the Closing Date, other than Permitted Encumbrances

and Assumed Liabilities, shall have been unconditionally released, discharged and

terminated, and that the conveyances described herein have been effected. This

Order is and shall be binding upon and govern the acts of all persons and entities,

including, without limitation, all filing agents, filing officers, title agents, title

companies, recorders of mortgages, recorders of deeds, registrars of deeds,

administrative agencies, governmental departments, secretaries of state, federal,

state and local officials, and all other persons and entities who may be required by


                                           21
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 122 of 136
operation of law, the duties of their office, or contract, to accept, file, register or

otherwise record or release any documents or instruments, or who may be required

to report or insure any title or state of title in or to any lease; and each of the

foregoing persons and entities is hereby directed to accept for filing any and all of

the documents and instruments necessary and appropriate to consummate the

transactions contemplated by the Purchase Agreement..

                           Distribution of Sale Proceeds

               13.   Upon Closing, any cash sale proceeds, plus the carve out (the

“Carve Out”) consisting of (a) all fees required to be paid to the Clerk of the Court

and to the U.S. Trustee pursuant to 28 U.S.C. § 1930(a) calculated at $111,000

based on the valuation of the Debtor’s assets in Schedule A/B, and (b) amounts due

to the Debtor’s Professionals and the Committee’s Professionals under the

Stipulated Final Order Authorizing Use of Cash Collateral and Granting Adequate

Protection (the “Final Cash Collateral Order”) [Doc. No. 144], shall be remitted

directly to the Debtor, as follows: (i) the Carve Out will be transferred to and held

in the DIP Professionals Account as defined under the Final Cash Collateral Order;

and (ii) the balance will be transferred to and held in a segregated DIP account for

which Debtor’s financial advisor, Russell Long of O’Keefe & Associates, will be

made an additional signatory (the “DIP Sale Proceeds Account”). All distributions

and withdrawals from the DIP Sale Proceeds Account will require 2 signatures.


                                           22
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 123 of 136
               Assumption And Assignment Of Assigned Contracts

               14.   The Purchaser shall be responsible for curing all allowed

pre-petition monetary and non-monetary defaults relating to the Assigned

Contracts. Pursuant to Section 365 of the Bankruptcy Code, the Debtor is

authorized to assume the Assigned Contracts designated in the Agreement, cure the

same (in the Cure Amounts set forth in the notice relating to such contracts or by

further order of the Court) and assign the same to Purchaser.

      15.      The Assigned Contracts, consistent with the provisions contained

herein, shall be transferred to, and remain in full force and effect for the benefit of,

Purchaser in accordance with their respective terms, notwithstanding any provision

in any such Assigned Contract (including those of the type described in section

365(b)(2) of the Bankruptcy Code) that prohibits, restricts, or conditions such

assignment or transfer and, pursuant to section 365(k) of the Bankruptcy Code, the

Debtor shall be relieved from any further liability with respect to the Assigned

Contracts after such assignment to and assumption by the Purchaser.

      16.      All defaults or other obligations of the Debtor under the Assigned

Contracts arising or accruing prior to the Closing Date (without giving effect to any

acceleration clauses or any default provisions of the kind specified in section

365(b)(2) of the Bankruptcy Code) shall be deemed cured, subject to the

satisfaction of the provisions of Paragraph 14 (relating to payment by the Purchaser


                                           23
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13    Page 124 of 136
of the applicable Cure Amounts), above, and Purchaser shall have no liability or

obligation arising or accruing under the Assigned Contracts prior to the Closing

Date, except as otherwise expressly provided in the Agreement.

      17.      Under §365 of the Bankruptcy Code, provided that the Purchaser pays

the applicable Cure Amount, each nondebtor party to an Assigned Contract hereby

is forever barred from asserting against Purchaser or the Purchased Assets, any

default existing as of the Closing Date or any counterclaim, defense, setoff, or any

other claim asserted or assertable against the Debtor as of the Closing Date.

      18.      The failure of the Debtor or Purchaser to enforce at any time one or

more terms or conditions of any Assigned Contract shall not be a waiver of such

terms or conditions, or of the Debtor’s and Purchaser’s rights to enforce every term

and condition of the Assigned Contracts.

                   Prohibition of Actions Against the Purchaser

      19.      The Transaction has been, and is undertaken by the Debtor and

Purchaser in good faith, as that term is used in § 363(m) of the Bankruptcy Code

and, accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate the Transaction shall not affect the validity of the

sale of the Purchased Assets to Purchaser, unless such authorization is duly stayed

pending such appeal. Purchaser is in all respects a good-faith purchaser of the




                                           24
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 125 of 136
Purchased Assets and is entitled to all of the benefits and protections afforded by

§ 363(m) of the Bankruptcy Code..

      20.      Under § 363 of the Bankruptcy Code, except for the Permitted

Encumbrances and Assumed Liabilities, or as otherwise expressly provided for in

this Order or the Purchase Agreement, the Purchaser shall not have any liability or

other obligation of the Debtor arising under or related to any of the Purchased

Assets. Without limiting the generality of the foregoing and subject to § 363 of the

Bankruptcy Code, the Purchaser shall not be liable for any Claims or Interests

against the Debtor or any of its predecessors or affiliates, other than the Assumed

Liabilities, and the Purchaser shall have no successor or vicarious liabilities of any

kind or character, including, but not limited to, under any theory of antitrust,

environmental, successor or transferee liability, labor law, de facto merger, mere

continuation, or substantial continuity, whether known or unknown as of the

Closing Date, now existing or hereafter arising, whether fixed or contingent,

whether asserted or unasserted, whether legal or equitable, whether liquidated or

unliquidated, including, but not limited to, liabilities on account of warranties,

intercompany loans and receivables between the Debtor and any non-Debtor

affiliate, liabilities relating to or arising from any Environmental Laws, and any

taxes arising, accruing or payable under, out of, in connection with, or in any way

relating to the operation of any of the Purchased Assets prior to the Closing.


                                           25
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 126 of 136
Neither the purchase of the Purchased Assets by the Purchaser nor the fact that the

Purchaser is using any of the Purchased Assets previously operated by the Debtor

will cause the Purchaser to be deemed a successor in any respect to the Debtor’s

businesses or incur any liability derived therefrom within the meaning of any

foreign, federal, state, or local revenue, pension, ERISA, tax, labor, employment,

environmental, or other law, rule or regulation (including, without limitation, filing

requirements under any such laws, rules or regulations), or under any products

liability law or doctrine with respect to the Debtor’s liability under such law, rule,

or regulation or doctrine.

      22.      Under § 363 of the Bankruptcy Code, except with respect to Permitted

Encumbrances and Assumed Liabilities, all persons and entities, including, but not

limited to, all debt security holders, equity security holders, unions, governmental,

tax and regulatory authorities, lenders, trade creditors, litigation claimants and

other creditors, holding Liens or Interests of any kind or nature whatsoever against

or in all or any portion of the Purchased Assets (whether legal or equitable, secured

or unsecured, matured or unmatured, contingent or non-contingent, liquidated or

unliquidated, senior or subordinate), arising under or out of, in connection with, or

in any way relating to the Debtor, the Purchased Assets, the operation of the

Debtor’s business prior to the Closing Date or the transfer of the Purchased Assets

to the Purchaser, hereby are forever barred from asserting against the Purchaser,


                                              26
23-43403-mlo    Doc 145      Filed 06/23/23   Entered 06/23/23 03:38:13   Page 127 of 136
any of its affiliates, its successors or assigns, their property or the Purchased

Assets, such persons’ or entities’ Liens or Interests in and to the Purchased Assets,

including, without limitation, the following actions: (i) commencing or continuing

in any manner any action or other proceeding against the Purchaser, any of its

affiliates, its successors, assets or properties; (ii) enforcing, attaching, collecting, or

recovering in any manner any judgment, award, decree, or order against the

Purchaser, any of its affiliates, its successors, assets or properties; (iii) creating,

perfecting, or enforcing any Lien or other Claim against the Purchaser, any of its

affiliates, its successors, assets, or properties; (iv) asserting any setoff, right of

subrogation, or recoupment of any kind against any obligation due the Purchaser,

any of its affiliates or its successors; (v) commencing or continuing any action, in

any manner or place, that does not comply or is inconsistent with the provisions of

this Order or other orders of the Court, or the agreements or actions contemplated

or taken in respect thereof; (vi) revoking, terminating or failing or refusing to

transfer or renew any license, permit or authorization to operate any of the

Purchased Assets or conduct any of the businesses operated with the Purchased

Assets or (vii) any action seeking to hold the Purchaser liable as a successor under

any collective bargaining agreement of the Debtor. On the Closing Date, or as soon

as possible thereafter, each creditor is authorized and directed, and the Purchaser is

hereby authorized, on behalf of each of the Debtor’s creditors, to execute such


                                            27
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13     Page 128 of 136
documents and take all other actions as may be necessary to release Liens or

Interests in or on the Purchased Assets (except Permitted Encumbrances and

Assumed Liabilities), if any, as provided for herein, as such Liens may have been

recorded or may otherwise exist.

         23.   Except to the extent expressly included in the Assumed Liabilities, or

by applicable law or statue, the Purchaser and its affiliates shall have no liability,

obligation or responsibility under the WARN Act (29 U.S.C. §§ 210 et seq.),

CERCLA or any foreign, federal, state or local labor, employment or

Environmental Law by virtue of the Purchaser’s purchase of the Purchased Assets

or assumption of the Assumed Liabilities.

         24.   Under §363 of the Bankruptcy Code, all persons and entities are

hereby forever barred from taking any action that would adversely affect or

interfere with the ability of the Debtor to sell and transfer the Purchased Assets to

the Purchaser in accordance with the terms of the Purchase Agreement and this

Order.

         25.   Based on the evidence provided at the Sale Hearing on July __, 2023,

the Purchaser has given substantial consideration under the Agreement for the

benefit of the Debtor, its estate, and creditors. Under §§363(f), (n), and (m) of the

Bankruptcy Code, the consideration given by the Purchaser shall constitute valid

and valuable consideration for the releases of any potential Claims and Liens


                                            28
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 129 of 136
pursuant to this Order, which releases shall be deemed to have been given in favor

of the Purchaser by all holders of Liens against or interests in, or Claims against

the Debtor or any of the Purchased Assets, other than holders of Liens or Claims

relating to the Assumed Liabilities. Based on the evidence provided at the Sale

Hearing on August 3, 2023,         the Purchaser is a good faith purchaser of the

Purchased Assets and the consideration provided by the Purchaser for the

Purchased Assets under the Agreement is fair and reasonable.

      26.      For the avoidance of doubt, nothing in this Order shall limit, modify,

or in any way affect the Secretary (the “Secretary”) of the U.S. Department of

Health and Human Services’ authority to regulate Debtor’s or the Purchaser’s

enrollment or participation as a Medicare provider (to the extent the Purchaser

enrolls or participates as a Medicare provider) or the right and authority of the

Secretary, the Centers for Medicare & Medicaid Services (“CMS”) or its

contractors to review, approve, deny, or pay Medicare claims in the ordinary course

of business in accordance with the provisions of, and regulations, policies and

procedures promulgated under Title XVIII of the Social Security Act, 42 U.S.C. §§

1395–1395kkk (collectively, the “Medicare Program”). The United States takes no

position with respect to, and nothing herein shall be construed as, the Secretary’s

consent to, or acceptance of, the Asset Purchase Agreement or any underlying

transactions described in or supporting the [Asset Purchase Agreement].


                                            29
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 130 of 136
      27.      For the avoidance of doubt, notwithstanding anything to the contrary

in this Order or the Asset Purchase Agreement, (i) Debtor shall not assume and

assign or otherwise transfer any national provider identifier, provider transaction

access number or Medicare enrollment agreement to the Purchaser; (ii) Debtor

shall not loan or otherwise permit the Purchaser to use or submit claims under

Debtor’s provider transaction access number or Medicare enrollment agreement

except in accordance with the Medicare Program and with the approval of CMS;

and (iii) nothing shall restrict or limit the United States’ rights of setoff and

recoupment.

                                Additional Provisions

      28.This Court retains jurisdiction, subject to the terms of this Order, to:

               (a)   Interpret, implement, and enforce the terms and provisions of

               this Order and the terms of the Agreement, all amendments thereto,

               and any waivers and consents thereunder, and of each of the

               agreements executed in connection therewith to which the Debtor is a

               party or which has been assigned by the Debtor to Purchaser;

               (b)   Protect Purchaser or any of the Assigned Contracts or

               Purchased Assets against any of the Liens or Interests (other than the

               Permitted Encumbrances), as provided herein, with respect to the




                                            30
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 131 of 136
               commencement or continuation of any action seeking to impose

               successor or other liability upon the Purchaser;

               (c)   Enter orders in aid or furtherance of the Sale and the

               Transaction;

               (d)   Compel delivery of all Purchased Assets to Purchaser;

               (e)   Adjudicate any and all remaining issues concerning the

               Debtor’s right and authority to assume and assign the Assigned

               Contracts and the rights and obligations of Purchaser with respect to

               such assignment and the existence of any default (including any Cure

               Amounts) under any such Assigned Contract;

               (f)   Adjudicate all issues concerning any actual or alleged Liens or

               Interests in and to the Purchased Assets, including the extent, validity,

               enforceability, priority, and nature of all such actual or alleged Liens

               or Interests; and

               (g)   Except as expressly provided for herein, adjudicate any and all

               issues and/or disputes relating to the Debtor and title or interest in the

               Purchased Assets and the proceeds of the Sale, the Sale Motion,

               and/or the Agreement.




                                            31
23-43403-mlo     Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13    Page 132 of 136
      29.      The consideration provided by the Purchaser to the Debtor pursuant to

the Agreement for the Purchased Assets constitutes reasonably equivalent value

and fair consideration under the Bankruptcy Code.

      30.      There are no brokers involved in consummating the Sale and no

brokers’ commissions are due.

      31.      No bulk sales law or any similar law of any state or other jurisdiction

applies in any way to the Sale.

      32.      The terms and provisions of the Agreement, the ancillary agreements,

and this Sale Order shall be binding in all respects upon, and shall inure to the

benefit of, the Debtor and Purchaser and their respective affiliates, successors and

assigns, and any affected third parties, notwithstanding any subsequent

appointment of any trustee(s) under any chapter of the Bankruptcy Code or

conversion of this case to a case under chapter 7, as to which trustee(s) such terms

and provisions likewise shall be binding. The Agreement and the Transaction may

be specifically enforced against, and shall not be subject to rejection or avoidance

by, the Debtor or any Chapter 7 or Chapter 11 trustee of the Debtor.

      33.      The Agreement and any related agreements, documents, or other

instruments may be modified, amended, or supplemented by the parties thereto, in

a writing signed by such parties, and in accordance with the terms thereof, without

further order of the Court, provided that any such modification, amendment, or


                                            32
23-43403-mlo    Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 133 of 136
supplement does not have a material adverse effect on the Debtor or the Debtor’s

estate.

          34.   The failure specifically to include any particular provisions of the

Agreement or the ancillary agreements in this Sale Order shall not diminish or

impair the effectiveness of such provisions, it being the intent of the Court that the

Agreement and the ancillary agreements be authorized and approved in their

entirety.

          35.   To the extent of any inconsistency between the provisions of this Sale

Order, the Agreement, and any documents executed in connection therewith, the

provisions contained in this Sale Order and the Agreement and any documents

executed or delivered in connection therewith shall govern, in that order.

          36.   Nothing contained in any chapter 11 plan confirmed in this chapter 11

case or any order of this Court confirming such plan or any other order entered in

this chapter 11 case (or any converted chapter 7 case) shall conflict with or

derogate from the provisions of the Agreement, to the extent modified by this

Order, or the terms of this Order.

          37.   In the event that this chapter 11 case is dismissed or converted to a

chapter 7 case, or a trustee is appointed (whether under chapter 11 or 7), neither the

dismissal or conversion of this case, nor the appointment of such a trustee, shall

affect, in any manner the rights of Purchaser under the Agreement or this Sale


                                             33
23-43403-mlo     Doc 145    Filed 06/23/23   Entered 06/23/23 03:38:13   Page 134 of 136
Order, or any other agreements executed by the Debtor in conjunction with the

Sale and the Transaction, and all of the rights and remedies of Purchaser under this

Sale Order, and such agreements shall remain in full force and effect as if the case

had not been dismissed or converted or a trustee had not been appointed.

      39.      The provisions of this Sale Order are non-severable and mutually

dependent.

      40.      To the extent that the Purchaser obtains the business records of the

Debtor as part of the Agreement, the Purchaser shall maintain the business records

of the Debtor and shall reasonably cooperate with and provide the records upon

request to the Debtor, the Creditor’s Committee, and any subsequently appointed

liquidation agent and/or trustee.

      41.      Pursuant to Bankruptcy Rules 7062, 9014, 6004(h), and 6006(d), this

Order shall be effective immediately upon entry and the Debtor and Purchaser are

authorized to close the Sale immediately upon entry of this Order.

Notwithstanding the provisions of Bankruptcy Rules 6004 and 6006 or any

applicable provisions of the Local Rules, this Order shall not be stayed for fourteen

(14) days after the entry hereof, but shall be effective and enforceable immediately

upon entry, and the fourteen (14) day stay provided in such rules is hereby

expressly waived and shall not apply. Any party objecting to this Order must

exercise due diligence in filing an appeal and pursuing a stay within the time


                                           34
23-43403-mlo    Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 135 of 136
prescribed by law and prior to the Closing Date, or risk its appeal being foreclosed

as moot.




                                          35
23-43403-mlo   Doc 145   Filed 06/23/23   Entered 06/23/23 03:38:13   Page 136 of 136
